       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 1 of 193




LAWRENCE G. WASDEN
Attorney General

DARRELL G. EARLY
Deputy Attorney General
Chief, Natural Resources Division

MICHAEL C. ORR (ISB # 6720)
JOY M. VEGA (ISB #7887)
SHANE M. BELL (ISB #10832)
Deputy Attorneys General
P.O. Box 83720
Boise, Idaho 83720-0010
Telephone: 208-334-2400
Facsimile: 208-854-8072
Michael.Orr@ag.idaho.gov
Joy.Vega@ag.idaho.gov
Shane.Bell@ag.idaho.gov

Attorneys for the Defendants the State of Idaho, the Idaho Department of Water Resources, and
Gary Spackman, in his official capacity as Director of the Idaho Department of Water Resources

                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                         Case No. 1:22-cv-00236-DKG

                       Plaintiff,
                                                   DEFENDANTS’ ANSWER TO FIRST
 v.                                                AMENDED COMPLAINT FOR
                                                   DECLARATORY AND INJUNCTIVE
 STATE OF IDAHO; the IDAHO                         RELIEF
 DEPARTMENT OF WATER
 RESOURCES, an agency of the State of Idaho;
 and GARY SPACKMAN,
 in his official capacity as the Director of the
 Idaho Department of Water Resources,

                       Defendants.




DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 1 OF 37
         Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 2 of 193




        Defendants the State of Idaho, the Idaho Department of Water Resources, and Gary

Spackman, in his official capacity as Director of the Idaho Department of Water Resources

(collectively, “the State”), by and through their attorneys of record, hereby answer the allegations

of the First Amended Complaint for Declaratory and Injunctive Relief filed in this matter on July

15, 2022 (“Amended Complaint”), as follows:

                                       GENERAL DENIAL

     The State denies any allegation of the Amended Complaint not expressly admitted herein.

                   RESPONSES TO “INTRODUCTION” ALLEGATIONS

1.       With regard to Paragraph 1 of the Amended Complaint, the State admits that the Plaintiff

owns in trust for the people of the United States millions of acres of land within the boundaries

of the State of Idaho and that the Plaintiff makes some of these acres available for grazing by

livestock owned by persons or entities holding federal grazing permits. The State admits that the

Plaintiff holds thousands of decreed or licensed water rights for “stockwater” use on federal

lands within Idaho but denies that any of the Plaintiff’s state law-based water rights for

stockwater use are held or needed “to enable” a federal grazing program. The State admits that

livestock owned by persons or entities holding federal grazing permits often drink water from the

“sources,” and at the “points of diversion” and “places of use,” identified in the “partial decrees”

for “stockwater” use issued to the Plaintiff in the Snake River Basin Adjudication (“SRBA”) or

licenses issued to the Plaintiff by IDWR, 1 but denies that this constitutes use or exercise of the


1
  The SRBA is a general stream adjudication conducted under Chapter 14 of Title 42 of the
Idaho Code for the purpose of making “a comprehensive determination of the nature, extent and
priority of the rights of all users of surface and ground water” in the Snake River basin. 1985
Idaho Sess. Laws 28, amended by 1994 Idaho Sess. Laws 1452-53. A “partial decree” is a
decree for an individual water right entered in a general stream adjudication. Idaho Code §§ 42-
1411A(13), 42-1412(6)-(8). An Idaho water right is defined by discrete “elements,” and a
“partial decree” or license sets forth the elements of a water right, including but not limited to the

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 2 OF 37
        Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 3 of 193




Plaintiff’s rights for “stockwater” use. The State admits that water rights decreed or licensed in

Idaho with “stockwater” as the authorized “purpose of use” are often informally called

“stockwater rights,” but denies that this term refers only to the Plaintiff’s stockwater rights. The

State also admits that federal law includes the constitutional provision and statutes cited in

Paragraph 1, which speak for themselves. The State denies the remaining allegations in

Paragraph 1.

2.      With regard to Paragraph 2 of the Amended Complaint, the State admits that Idaho Code

§§ 42-113, 42-224, and 42-501 through 42-507 were enacted and/or amended during the last five

years. The State admits that Idaho Code § 42-224 establishes the procedures for addressing

forfeiture of state law-based stockwater rights pursuant to the substantive provisions of Idaho

Code § 42-222(2) but denies that these statutory forfeiture procedures and provisions undermine

any “congressionally authorized federal grazing program.” The forfeiture procedures of Idaho

Code § 42-224 do not apply to stockwater rights decreed to the Plaintiff based on federal law,

and the State denies that the Plaintiff’s state law-based stockwater rights are part of a

“congressionally authorized federal grazing program” or are held or needed to “enable” livestock

grazing on federal lands within Idaho. The State denies that Idaho Code §§ 42-113 and 42-501




“source” from which water is diverted, the “point of diversion,” the “place of use” of the water,
and the “purpose” for which the water may be used. Idaho Code §§ 42-202, 42-203A, 42-219,
42-1411(2), 42-1412(6). General stream adjudications such as the SRBA are lengthy
proceedings that can take many years to complete. “Partial decrees” for individual water rights
are appealable final judgments issued pursuant to Rule 54(b)(1) of the Idaho Rules of Civil
Procedure in advance of entry of a “Final Unified Decree” for the adjudication as a whole.
Exhibit A, attached hereto and adopted by reference elsewhere in this Answer pursuant to
F.R.C.P. 10(c), is true and correct copies of the partial decrees, licenses, and statutory claims for
the state law-based water rights for “stockwater” use that the Plaintiff has placed at issue in this
case. Exhibit B, attached hereto and adopted by reference elsewhere in this Answer pursuant to
F.R.C.P. 10(c), is a true and correct copy of the SRBA’s “Final Unified Decree” (Aug. 26, 2014),
excluding its voluminous “Attachments.”

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 3 OF 37
        Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 4 of 193




through 42-507 are forfeiture statutes or “threaten” to forfeit the Plaintiff’s stockwater rights.

Idaho Code § 42-501 only recites “legislative intent” and has no effect on the Plaintiff or the

Plaintiff’s stockwater rights. The State admits Idaho Code § 42-502 states that no agency of the

federal government “shall acquire” stockwater rights unless the agency owns livestock and puts

the water to beneficial use but denies that this provision applies to any of the Plaintiff’s existing

stockwater rights. The State admits that Idaho Code § 42-113(2)(b) provides that certain

stockwater rights having a “point of diversion” or “place of use” located on federal lands are “an

appurtenance to the base property” of the persons or entities holding grazing permits for the

same federal lands but denies that this provision forfeits or “threatens” the Plaintiff’s licensed or

decreed stockwater rights or any “congressionally authorized federal grazing program.” The

State denies any remaining allegations in Paragraph 2.

3.      With regard to Paragraph 3 of the Amended Complaint, the State admits that on May 13,

2022, the Director of the Idaho Department of Water Resources (“Director”) issued three

amended show-cause orders stating that the Plaintiff must show cause before the Director within

twenty-one days why fifty-seven stockwater rights decreed to the Plaintiff in the SRBA based on

state law have not been lost for non-use pursuant to the statutory forfeiture provisions of Idaho

Code § 42-222(2). Answering Paragraph 3 further, the State admits that a fourth show-cause

order was issued by the Director on June 22, 2022, stating that the Plaintiff must show cause

before the Director within twenty-one days why eleven stockwater rights held by the Plaintiff

based on state law have not been lost for non-use pursuant to the statutory forfeiture provisions

of Idaho Code § 42-222(2). The State denies that the show-cause orders were issued “as a direct

result” of the enactment of the legislation referenced in Paragraph 2. The show-cause orders

were issued in response to petitions filed with the Idaho Department of Water Resources



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 4 OF 37
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 5 of 193




(“IDWR”) pursuant to Idaho Code § 42-224 by certain livestock owners who hold permits to

graze their livestock on federal lands, and alleged that the Plaintiff had not made use of its

stockwater rights within the last five years. The State admits that the copies of the four show-

orders contained in Exhibits 1 and 2 to the Amended Complaint are complete and correct copies

of the three amended show-cause orders issued on May 13, 2022, and the show-cause order

issued on June 22, 2022. The State denies that the show-cause orders “initiated” any process

under Idaho Code § 42-224; and avers that the procedures of Idaho Code § 42-224 were invoked

and initiated by the petitions filed by the private livestock owners. The State denies that Idaho

Code § 42-224 establishes or requires a “mandatory” series of actions that culminate in a civil

action for forfeiture of the Plaintiff’s stockwater rights, which is a possible rather than

“mandatory” step in the procedures established by Idaho Code § 42-224. See generally Idaho

Code § 42-224(6)-(12). The State denies all remaining allegations in Paragraph 3, including but

not limited to any allegation that an administrative forfeiture determination by IDWR under

Idaho Code § 42-224(7)-(8) forfeits, threatens, or otherwise affects the Plaintiff’s stockwater

rights.

4.        The State denies the allegations in Paragraph 4 of the Amended Complaint.

5.        With regard to Paragraph 5 of the Amended Complaint, the State admits that the Plaintiff

has requested that this Court enter judgment against the State declaring Idaho Code §§ 42-

113(2)(b), 42-222(2), 42-224, 42-501, 42-502 and 42-504 to be invalid and enjoining their

enforcement against the Plaintiff. The State denies that these statutes are invalid facially or as

applied to the Plaintiff and denies that the State should be enjoined from applying or enforcing

these statutory provisions.




DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 5 OF 37
        Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 6 of 193




                        RESPONSE TO “JURISDICTION” ALLEGATIONS

6.     With regard to Paragraph 6 of the Amended Complaint, the State admits that this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1345, and 1367.

The State denies the remaining allegations in Paragraph 6.

                            RESPONSES TO “VENUE” ALLEGATIONS

7.     With regard to Paragraph 7 of the Amended Complaint, the State admits that venue is

proper in this Court because the Director resides within the State of Idaho and IDWR’s offices

are located within the State of Idaho, because the water rights referenced in Paragraph 79 were

claimed and decreed based on the laws of the State of Idaho and have “points of diversion” and

“places of use” within the State of Idaho, and because the statutes the Plaintiff challenges in this

action were duly enacted by the Legislature and Governor of the State of Idaho. The State denies

the remaining allegations in Paragraph 7.

                           RESPONSES TO “PARTIES” ALLEGATIONS

8.     With regard to Paragraph 8 of the Amended Complaint, the State admits that the Plaintiff

is suing on its own behalf and on behalf of the United States Bureau of Land Management

(“BLM”) and the United States Forest Service (“USFS”). The Plaintiff has not identified any

other executive departments, subdivisions, or agencies the Plaintiff is suing on behalf of, and the

State therefore denies the remaining allegations in Paragraph 8.

9.     With regard to Paragraph 9 of the Amended Complaint, the State admits that the BLM is

a federal agency within the United States Department of the Interior and charged by Congress

with managing certain public lands in Idaho and certain other states, and that the BLM is

congressionally authorized to permit and oversee livestock grazing on some of these public

lands. The State denies the remaining allegations in Paragraph 9.



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 6 OF 37
        Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 7 of 193




10.    With regard to Paragraph 10 of the Amended Complaint, the State admits that the USFS

is a federal agency within the United States Department of Agriculture that is charged by

Congress with managing the National Forest System, including National Forest System lands

within Idaho, and that the USFS is congressionally authorized to permit and oversee livestock

grazing on these lands. The State denies the remaining allegations in Paragraph 10.

11.    The State admits the allegations in Paragraph 11 of the Amended Complaint.

12.    The State admits the allegations in Paragraph 12 of the Amended Complaint, but notes

that while IDWR is often colloquially referred to as an “agency” of the State of Idaho, it is in fact

“an executive department” of Idaho state government. Idaho Code § 42-1701(1).

13.    The State admits the allegations in Paragraph 13 of the Amended Complaint.

                          RESPONSES TO “GENERAL ALLEGATIONS”

14.    The State admits that Paragraph 14 of the Amended Complaint correctly quotes a portion

of Clause 2 of Section 3 of Article IV of the United States Constitution, which speaks for itself. 2

15.    The State admits that Paragraph 15 of the Amended Complaint correctly quotes a portion

of Clause 2 of Article VI of the United States Constitution, which speaks for itself.

16.    The State admits that Paragraph 16 of the Amended Complaint correctly quotes a portion

of Clause 1 of Section 10 of Article I of the United States Constitution, which speaks for itself.

17.    The State admits that Paragraph 17 of the Amended Complaint paraphrases a sentence

from the majority opinion in the case of Block v. N. Dakota, 461 U.S. 273 (1983), which speaks




2
 The “General Allegations” section of the Complaint (Paragraphs 14 through 81) is grouped into
several subsections, each of which has a subtitle. For instance, the subtitle immediately
preceding Paragraph 14 states that Paragraphs 14 through 19 are “Legal Background.” The State
denies any allegation that Paragraphs 14 through 19 define the “Legal Background” that is or
may be applicable to resolving this case.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 7 OF 37
        Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 8 of 193




for itself. The State denies any remaining allegations in Paragraph 17 because they purport to

summarize, interpret, apply, or draw conclusions from the Block decision.

18.    The State admits Paragraph 18 of the Amended Complaint correctly quotes certain parts

of 43 U.S.C. § 666 (commonly known as the “McCarran Amendment”), correctly quotes part of

a single sentence in the decision in United States v. Idaho ex rel. Dir., Idaho Dep’t of Water Res.,

508 U.S. 1 (1993), and that the decision in Miller v. Jennings, 243 F.2d 157 (5th Cir. 1957)

addresses the McCarran Amendment’s waiver of sovereign immunity. The State denies the

remaining allegations in Paragraph 18 because they purport to summarize, interpret, apply, or

draw conclusions from the McCarran Amendment and the two court decisions, which speak for

themselves.

19.    The State admits that Paragraph 19 of the Amended Complaint correctly quotes a portion

of Section 12 of Article XI of the Idaho Constitution and correctly quotes a portion of a sentence

from the decision in Frisbie v. Sunshine Mining Co., 93 Idaho 169, 457 P.2d 408 (1969), which

speak for themselves. The State denies any remaining allegations in Paragraph 19.

20.    With regard to Paragraph 20 of the Amended Complaint, the State admits that some

portions of what is known as the “Taylor Grazing Act of 1934” are codified at 43 U.S.C. §§ 315-

315c. The State denies the remaining allegations in Paragraph 20 because they purport to

summarize, interpret, apply, or draw conclusions from the statutory provisions of the Taylor

Grazing Act, which speaks for itself. The State specifically denies any allegation that the

Plaintiff’s state law-based stockwater rights are based on the Taylor Grazing Act or are held or

needed to implement or effectuate the Plaintiff’s authorities under the Taylor Grazing Act. 3



3
 The subtitle immediately preceding Paragraph 20 refers to Paragraphs 20 through 28 as
addressing “Federal Land Management and Grazing.” The State denies any allegation that

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 8 OF 37
        Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 9 of 193




21.    With regard to Paragraph 21 of the Amended Complaint, the State admits that the BLM

designates grazing “allotments” on or within the federal lands it manages, which are made

available for grazing to those holding grazing permits or leases. The State admits that BLM

grazing allotments in Idaho can vary significantly in size, and that the BLM may authorize

multiple permit or lease holders to graze livestock within a single allotment rather than limiting

each allotment to a single grazing permit or lease holder. The State admits that grazing use of

federal lands managed by the BLM does not necessarily preclude the use or management of

those lands for certain other purposes. The State lacks sufficient knowledge of the remaining

allegations in Paragraph 21 to evaluate those allegations and therefore denies them.

22.    With regard to Paragraph 22 of the Amended Complaint, the State admits that a variety of

water sources on BLM lands in Idaho supply the water that is consumed by the livestock

authorized to graze on those lands, but denies any allegation that artificial ponds, troughs, or

pipelines are water “sources” within the meaning of the Plaintiff’s partial decrees or licenses for

its stockwater rights. The State lacks sufficient knowledge of the alleged “pipeline systems”

referenced in Paragraph 22 to evaluate those allegations and therefore denies them.

23.    With regard to Paragraph 23 of the Amended Complaint, the State admits that 16 U.S.C.

§ 551 authorizes the Secretary of Agriculture “to regulate [the] occupancy and use” of “national

forests.” The State denies the remaining allegations in Paragraph 23 because they purport to

summarize, interpret, apply, or draw conclusions from 16 U.S.C. § 551, which speaks for itself.

24.    With regard to Paragraph 24 of the Amended Complaint, the State admits that the

decision in United States v. Grimaud, 220 U.S. 506 (1911), affirmed the Secretary of




Paragraph 20 through 28 define or correctly summarize the legal authorities and facts relevant to
questions of “Federal Land Management and Grazing” that may arise in this case.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 9 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 10 of 193




Agriculture’s authority to regulate grazing on “forest reserves” under the version of 16 U.S.C. §

551 then in effect. The State denies the remaining allegations in Paragraph 24 because they

purport to summarize, interpret, apply, or draw conclusions from the Grimaud decision or 16

U.S.C. § 551, which speak for themselves.

25.    With regard to Paragraph 25 of the Amended Complaint, the State admits that the USFS

regulates livestock grazing on national forest lands through a permitting process that authorizes

permit holders to graze their livestock on designated lands. The State admits that through this

permitting process, and possibly other forms of regulation, the USFS limits the number and

location of stock authorized to graze on national forest lands. The State admits that livestock

owned by multiple or successive grazing permittees often consume water from the same sources

on the same allotments but denies that this constitutes a use or exercise of the Plaintiff’s

stockwater rights. The State denies any allegation that the USFS “administers” the Plaintiff’s

state law-based stockwater rights, because the legal authority to administer state law-based

stockwater rights is vested in IDWR, as the Plaintiff admitted in Paragraph 12 of the Amended

Complaint. The State denies any remaining allegations in Paragraph 25.

26.    With regard to Paragraph 26 of the Amended Complaint, the State admits that federal

agencies other than the BLM and the USFS manage federal lands in Idaho, and that some of

these other agencies allow grazing on certain of those lands and hold decreed stockwater rights.

The State lacks sufficient knowledge of the allegation regarding “grazing programs . . . managed

under other provisions of federal law” to evaluate that allegation and therefore denies the same.

The State denies the remaining the allegations in Paragraph 26, including but not limited to the

allegation that federal agencies’ state law-based stockwater rights are held or needed “to support

their grazing programs.”



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 10 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 11 of 193




27.    The State admits that Paragraph 27 of the Amended Complaint quotes part of a single

sentence from the decision in United States v. State of Idaho, 131 Idaho 468, 959 P.2d 449

(1998). This decision speaks for itself and the State denies the remaining allegations in

Paragraph 27, including but not limited to any allegation that this decision addressed or referred

to the Plaintiff’s claims for stockwater rights based on state law. The Plaintiff’s claims for

stockwater rights based on state law were addressed in a separate decision, Joyce Livestock

Company v. United States, 144 Idaho 1, 156 P.3d 502 (2007) (“Joyce Livestock”), which rejected

the Plaintiff’s argument that “application of Idaho water law to [the Plaintiff] would violate the

purposes underlying the [Taylor Grazing] Act.” Id. at 19, 156 P.3d at 520.

28.    The State admits that Paragraph 28 of the Amended Complaint correctly quotes part of

one sentence in the pre-2017 version of Idaho Code § 42-501, which has been repealed. The

State admits that from 1939 to 2017 the Plaintiff owned few livestock and the vast majority of

livestock that grazed on public lands in Idaho during this period were privately-owned but denies

any allegation that this was not also true prior to 1939 or has not been true since 2017. The State

admits that the SRBA commenced in 1987 and the SRBA’s Final Unified Decree was issued in

2014, 4 and that in the SRBA the Plaintiff obtained partial decrees for thousands of stockwater

rights, some of which were claimed and decreed based on federal law, but many of which were

claimed and decreed based on Idaho state law. The Final Unified Decree and the Plaintiff’s

partial decrees speak for themselves, and the State denies any remaining allegations in Paragraph




4
  Water rights for certain statutorily-defined “domestic” and “stockwater” uses can still be
claimed and decreed in the SRBA pursuant to the SRBA’s Order Governing Procedures in the
SRBA for Adjudication of Deferred De Minimis Domestic and Stock Water Claims (June 28,
2012) and Order Amending Procedures in the SRBA for Adjudication of Deferred De Minimis
Stockwater Claims (Oct. 17, 2017). Final Unified Decree at 9.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 11 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 12 of 193




28, including but not limited to any allegation that the Plaintiff’s state law-based stockwater

rights were decreed “for use by . . . federally permitted but privately owned, livestock.” 5

29.    The State admits the allegations in Paragraph 29 of the Amended Complaint. 6

30.    With regard to Paragraph 30 of the Amended Complaint, the State admits that on

November 19, 1987, the District Court of the Fifth Judicial District of the State of Idaho, in and

for the County of Twin Falls, issued an order commencing the SRBA as a general stream

adjudication pursuant to Chapter 14 of Title 42 of the Idaho Code. The State denies the

remaining allegations in Paragraph 30.

31.    With regard to Paragraph 31 of the Amended Complaint, the State admits that in the

SRBA the Plaintiff claimed and obtained decrees for thousands of water rights, some based on

Idaho state law and others based on federal law (“federal reserved water rights”). The State

admits that most of the state law-based stockwater rights that are the subject of the amended

show-cause orders referenced in Paragraph 3 were decreed to the Plaintiff in the SRBA, but

decrees entered in a general stream adjudication such as the SRBA speak for themselves and are

conclusive as to the nature and extent of the decreed water rights. Idaho Code § 42-1401A(5);

First Sec. Corp. v. Belle Ranch, LLC, 165 Idaho 733, 741, 451 P.3d 446, 454 (2019); Final

Unified Decree, In re SRBA, Case No. 39576 at 7, 9-10 (Idaho 5th Jud. Dist.) (Aug. 25, 2014).

The State denies the remaining allegations in Paragraph 31 because they purport to characterize



5
 Copies of the Plaintiff’s state law-based partial decrees and the SRBA’s Final Unified Decree,
excluding the voluminous attachments, are provided in Exhibits A and B to this Answer.
6
 The subtitle immediately preceding Paragraph 29 refers to Paragraphs 29 through 40 as
addressing “The Snake River Basin Adjudication and Federal Stockwater Rights.” The State
denies any allegation that Paragraphs 29 through 40 define or correctly summarize the legal
authorities and facts relevant to any questions of “The Snake River Basin Adjudication and
Federal Stockwater Rights” that may arise in this case.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 12 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 13 of 193




the nature or extent of the Plaintiff’s stockwater rights, which are defined by SRBA decrees and

licenses issued by IDWR rather than by the Plaintiff’s characterizations of those decrees. The

State specifically denies the allegation that the Plaintiff’s stockwater rights “aris[e] from the

consumption of water by livestock owned by federal grazing permittees.” Answering Paragraph

31 further, the State denies the allegation in footnote 1 that any unadjudicated “statutory” claims

the Plaintiff filed with IDWR pursuant to Idaho Code § 42-243 constitute “rights.”

32.      With regard to Paragraph 32 of the Amended Complaint and the associated footnote, the

State admits that the Plaintiff claimed thousands of state law-based stockwater rights pursuant to

“the constitutional method of appropriation,” which prior to 1971 allowed appropriators to

perfect surface water rights under state law by simply diverting water and applying it to a

“beneficial use.” The State admits that the Plaintiff obtained decrees for many (but not all) of

these claims, but denies that the claimed stockwater uses were made by the Plaintiff’s livestock.

The State admits that since 1971 surface water rights can no longer be perfected in Idaho under

the “constitutional method of appropriation,” but that surface water rights perfected before 1971

under this method remain valid unless lost for non-use pursuant to statutory forfeiture or

common-law abandonment. 7 The State admits that Idaho law has long recognized instream

watering of livestock as a “beneficial use” for purposes of perfecting a water right. The State



7
  Idaho law enacted in 1971 limits the appropriation of surface water under state law to the
“statutory method of appropriation,” pursuant to which a surface water right can be perfected
only through the filing of an application for a permit to appropriate public waters, followed by
the issuance of a permit and a license. Idaho Code § 42-201; Joyce Livestock, 144 Idaho at 7-8,
156 P.3d at 508-09. Surface water rights perfected before 1971 under the “constitutional method
of appropriation” can still be claimed and decreed in a general stream adjudication such as the
SRBA, however. Joyce Livestock, 144 Idaho at 7-8, 156 P.3d at 508-09. Ground water rights
could be perfected under the “constitutional method of appropriation” only until 1963. A&B Irr.
Dist. v. Aberdeen-American Falls Ground Water Dist., 141 Idaho 746, 748, 118 P.3d 78, 81
(2005); 1963 Idaho Sess. Laws 624.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 13 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 14 of 193




admits that Paragraph 32 correctly quotes the first sentence of Section 3 of Article XV of the

Idaho Constitution, and that pursuant to Idaho Code §§ 42-113(1) and 42-227 certain

stockwatering and domestic uses of water are exempt from the general statutory requirement of

obtaining a permit before diverting or using the water for those purposes. Idaho Code § 42-

201(2). These constitutional and statutory provisions speak for themselves, and the State denies

the remaining allegations in Paragraph 32 and the associated footnote because they purport to

summarize, interpret, apply, or draw conclusions from these constitutional and statutory

provisions.

33.    With regard to Paragraph 33 of the Amended Complaint, the State admits that the

Plaintiff claimed some stockwater rights in the SRBA based upon state law, and others based on

federal law, and some based on both. The State denies any allegations in Paragraph 33 asserting

the State knew or could have known of the Plaintiff’s reasons for claiming some stockwater

rights under state law but others under federal law. The State denies all remaining allegations in

Paragraph 33, including but not limited to any allegation that the Plaintiff’s state law-based

stockwater rights could also or alternatively have been decreed as federal reserved water rights.

34.    With regard to Paragraph 34 of the Amended Complaint, the State admits that the State

and some private parties objected to many of the Plaintiff’s claims in the SRBA for stockwater

rights, and that many of these objections were either withdrawn or resolved by settlements. The

State admits that once all objections to the Plaintiff’s claims had been withdrawn or resolved, the

Plaintiff’s claimed stockwater rights were generally decreed. The State denies the remaining

allegations in Paragraph 34.

35.    With regard to Paragraph 35 of the Amended Complaint, the State admits that Exhibit 3

to the Amended Complaint contains a copy of a “Stipulation and Joint Motion for Order



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 14 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 15 of 193




Approving Stipulation” regarding certain unidentified SRBA “subcases” that was signed by the

Plaintiff and certain private parties in 2002. 8 The State was not a party to the stipulation and

joint motion, which speak for themselves. The State denies the remaining allegations in

Paragraph 35 because they purport to summarize, interpret, apply, or draw conclusions from the

stipulation and joint motion.

36.    With regard to Paragraph 36 of the Amended Complaint, the State admits that in some

instances no permittees objected to the Plaintiff’s SRBA claims for stockwater rights. The State

also admits that in some instances the Plaintiff may currently hold the only stockwater right(s)

decreed on a given “source,” but denies any allegation or implication that in such instances

federal permittees are using the Plaintiff’s stockwater rights to water their livestock, or that

federal permittees cannot claim and be decreed their own stockwater rights for the same

“sources” and “places of use” in the future. The State denies the remaining allegations in

Paragraph 36.

37.    With regard to Paragraph 37 of the Amended Complaint, the State admits that many of

the objections that were filed to the Plaintiff’s SRBA claims for stockwater rights were either

withdrawn or resolved, sometimes pursuant to settlements, and that once all objections to the

Plaintiff’s claims for stockwater rights had been withdrawn or resolved, the claims were

generally decreed by the SRBA court via “partial decrees” entered pursuant to Idaho Code § 42-

1412(6) and Rule 54(b)(1) of the Idaho Rules of Civil Procedure. The State admits that, pursuant



8
  A “subcase” is the SRBA proceeding that addresses an individual water right claim, and each
SRBA subcase is assigned a subcase number. Some SRBA filings, such as the stipulation
referenced in Paragraph 35, are made in multiple subcases simultaneously, and the individual
subcases often are identified by an attachment that lists the subcase numbers. Exhibit 3 to the
Complaint is not a complete copy of the document because it does not include the attachment
listing the subcase numbers (i.e., the water right numbers) to which the stipulation applies.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 15 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 16 of 193




to the Idaho statutes and procedural rules governing the conduct of the SRBA, individual water

right claims were addressed in separate “subcases” in which many individual water right claims

were adjudicated prior to entry of the Final Unified Decree in 2014. The State admits that the

SRBA court issued partial decrees to the Plaintiff for thousands of stockwater rights, including

thousands of stockwater rights that authorize “instream” stockwatering. The State admits that

some of the Plaintiff’s stockwater rights were decreed based on federal law rather than state law,

and that some of the Plaintiff’s decreed stockwater rights authorize the physical diversion of

water out of the stream channel and into conveyance, storage, and/or distribution structures. The

State denies the remaining allegations in Paragraph 37.

38.    With regard to Paragraph 38 of the Amended Complaint and the associated footnote, the

State admits that the Joyce Livestock case arose out of litigation in the SRBA between the

Plaintiff and a federal grazing permittee over claims each had filed for stockwater rights based

on state law, and objections each filed to the other’s state law-based stockwater right claims.

The State admits that Paragraph 38 correctly quotes part of a single sentence in the Joyce

Livestock decision. The State denies the remaining allegations in Paragraph 38 and the

associated footnote 3 because they purport to summarize, interpret, apply, or draw conclusions

from the Joyce Livestock decision and the decision in LU Ranching Co. v. United States, 144

Idaho 89, 156 P.3d 590 (2007), which speak for themselves.

39.     With regard to Paragraph 39 of the Amended Complaint, the State admits that the Joyce

Livestock decision denied certain SRBA claims the Plaintiff had filed for state law-based

stockwater rights but did not explicitly address any of the Plaintiff’s previously decreed

stockwater rights. The State admits that Paragraph 39 correctly quotes a sentence from the

Notice of Court’s Intent to Issue Partial Decree for Federal Uncontested Right Based on State



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 16 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 17 of 193




Law and Notice of Hearing Thereon, entered in SRBA subcase No. 74-15468 on February 28,

2007 (“Notice”). The State denies the remaining allegations in Paragraph 39 because they

purport to summarize, interpret, apply, or draw conclusions from the Joyce Livestock decision

and the Notice, which speak for themselves.

40.    With regard to Paragraph 40 of the Amended Complaint and the associated footnote 4,

the State admits the SRBA’s Final Unified Decree was signed on August 25, 2014 and entered

on August 26, 2014, and incorporated by reference approximately 158,600 partial decrees that

had previously been issued in SRBA proceedings, which were included in an “Attachment” to

the Final Unified Decree. The State admits that the Final Unified Decree is conclusive as to the

nature and extent of all water rights within the Snake River Basin with priority dates prior to

November 19, 1987, including but not limited to water rights decreed in the partial decrees

attached and incorporated by reference into the Final Unified Decree as of August 26, 2014, but

denies any allegation that the Final Unified Decree is not also conclusive as to the nature and

extent of any water rights subsequently adjudicated, decreed and incorporated into the Final

Unified Decree by reference pursuant to the SRBA’s Order Governing Procedures in the SRBA

for Adjudication of Deferred De Minimis Domestic and Stock Water Claims (June 28, 2012) and

Order Amending Procedures in the SRBA for Adjudication of Deferred De Minimis Stockwater

Claims (Oct. 17, 2017), and the SRBA’s Order Regarding Subcases Pending Upon Entry of

Final Unified Decree (Aug. 26, 2014). The State admits that claims for water rights for certain

statutorily-defined de minimis “domestic” and “stockwater” uses can still be filed and

adjudicated in the SRBA pursuant to the SRBA’s Order Governing Procedures in the SRBA for

Adjudication of Deferred De Minimis Domestic and Stock Water Claims (June 28, 2012) and

Order Amending Procedures in the SRBA for Adjudication of Deferred De Minimis Stockwater



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 17 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 18 of 193




Claims (Oct. 17, 2017). The State denies any remaining allegations in Paragraph 40 and the

associated footnote 4.

41.    With regard to Paragraph 41 of the Amended Complaint, the State admits that when

Senate Bill No. 1111 (“S.B. 1111”) took effect in 2017 it repealed Chapter 5 of Title 42 of the

Idaho Code and replaced it with a new chapter entitled “Stockwater Rights,” 9 and that the

statutes of Chapter 5 of Title 42 of the Idaho Code have been amended several times since then.

The State admits that Idaho Code § 42-113 was amended in 2018, and that Idaho Code § 42-224

was enacted in 2020 and amended in 2022 via 2022 Idaho House Bill 608 (“H.B. 608”), which

took effect in March 2022. 10 These statutes speak for themselves, and the State denies the

remaining allegations in Paragraph 41 because they purport to summarize, interpret, apply, or

draw conclusions from these statutes. The State specifically denies any allegations these statutes

“led directly” to the proceedings currently pending under Idaho Code § 42-224, or that the

statutes pose a “threat” federally-held stockwater rights.

42.    The State admits the allegations in Paragraph 42 of the Amended Complaint.

43.    The State admits that the first quotation in Paragraph 43 of the Amended Complaint

correctly quotes a single sentence in S.B. 1111, which speaks for itself and has been amended by

subsequent legislation. The State denies the remaining allegations in Paragraph 43.




9
 Exhibit C, attached hereto and adopted by reference elsewhere in this Answer pursuant to
F.R.C.P. 10(c), is a true and complete copy of S.B. 1111 as enacted.
10
   Exhibit D, attached hereto and adopted by reference elsewhere in this Answer pursuant to
F.R.C.P. 10(c), is a true and complete copy of H.B. 608 as enacted. The subtitles immediately
preceding and following Paragraph 41 refers to Paragraphs 41 through 81 as addressing Idaho
legislation “targeting” or attempting to “terminate” federal stockwater rights.” The State denies
all allegations and inferences that Idaho law “targets” or attempts to “terminate” federal
stockwater rights.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 18 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 19 of 193




44.    The State admits that Paragraph 44 of the Amended Complaint correctly quotes part of a

single sentence in S.B. 1111 as codified in Idaho Code § 42-501. The State denies the remaining

allegations in Paragraph 44 because they purport to summarize, interpret, apply, or draw

conclusions from S.B. 1111 and Idaho Code § 42-501, which speak for themselves. Idaho Code

§ 42-501 simply recites “legislative intent” and the State specifically denies that this statute has

any effect on the Plaintiff or the Plaintiff’s stockwater rights.

45.      The State denies the allegations in Paragraph 45 of the Amended Complaint, as S.B.

1111 and the Joyce Livestock decision speak for themselves.

46.    The State admits that Paragraph 46 of the Amended Complaint correctly quotes part of a

single sentence in S.B. 1111 and parts of two sentences in the Joyce Livestock decision. The

State denies the remaining allegations in Paragraph 46 and the associated footnote because they

purport to summarize, interpret, apply, or draw conclusions from S.B. 1111 and the Joyce

Livestock decision, which speak for themselves. The State specifically denies any allegation that

Idaho Code § 42-501 “completely eliminated” any “exception recognized Joyce Livestock.”

Idaho Code § 42-501 simply recites “legislative intent” and the State denies that this statute has

any effect on the Plaintiff or the Plaintiff’s stockwater rights.

47.    The State admits that Paragraph 47 of the Amended Complaint correctly quotes a single

sentence in the pre-2017 version of Idaho Code § 42-501, which was repealed by S.B. 1111. The

State denies the remaining allegations in Paragraph 47 because they purport to summarize,

interpret, apply, or draw conclusions from the pre-2017 version of Idaho Code § 42-501, S.B.

1111 and the Joyce Livestock decision, all of which speak for themselves.

48.     With regard to Paragraph 48 of the Amended Complaint, the State admits that S.B. 1111

as enacted had “only a prospective effect,” but denies any implied allegation that one or more of



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 19 OF 37
         Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 20 of 193




the statutes challenged in this case now have retroactive effect. The State denies the remaining

allegations in Paragraph 48 because they purport to summarize, interpret, apply, or draw

conclusions from S.B. 1111 and the Joyce Livestock decision, which speak for themselves.

49.       The State admits that Paragraph 49 of the Amended Complaint 11 correctly quotes a single

sentence in a letter sent by the Idaho Governor, the Speaker of the Idaho House of

Representatives, and the President Pro Tem of the Idaho Senate to the Secretary of the United

States Department of the Interior and the Secretary of the United States Department of

Agriculture in March 2018. The State admits that the letter included as an attachment a blank

form entitled “Notice of Abandonment of Water Right.” The State denies the remaining

allegations in Paragraph 49 because they purport to summarize, interpret, apply, or draw

conclusions from the letter and the attachment, which speak for themselves. 12

50.       With regard to Paragraph 50 of the Amended Complaint, the State admits that in March

2018 the Governor signed 2018 House Bill No. 718 (“H.B. 718”). 13 H.B. 718 speaks for itself

and the statutory forfeiture procedures enacted by H.B. 718 were never applied to or enforced

against the Plaintiff before being repealed in 2022 by H.B. 608, as the Plaintiff has admitted in

Paragraph 57 of the Amended Complaint. The State denies the remaining allegations in

Paragraph 50 because they purport to summarize, interpret, apply, or draw conclusions from

H.B. 718, which speaks for itself.


11
  The subtitle immediately preceding Paragraph 49 refers to Paragraphs 49 through 57 as
addressing certain Idaho legislation that “adopt[ed] a novel procedure for forfeiting decreed
federal stockwater rights.” The State denies any allegation that the Idaho legislation adopted “a
novel procedure for forfeiting decreed federal stockwater rights.”
12
  The State reserves the right to object to the admissibility of this letter pursuant to Rule 408 of
the Federal Rules of Evidence.
13
     Exhibit E to this Answer contains a copy of H.B. 718 as enacted.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 20 OF 37
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 21 of 193




51.       The State admits that Paragraph 51 of the Amended Complaint correctly quotes part of a

single sentence in H.B. 718 as enacted in 2018. H.B. 718 speaks for itself and the statutory

forfeiture procedures enacted by H.B. 718 were never applied to or enforced against the Plaintiff

before being repealed in 2022 by H.B. 608, as the Plaintiff has admitted in Paragraph 57 of the

Amended Complaint. The State denies the remaining allegations in Paragraph 51 because they

purport to summarize, interpret, apply, or draw conclusions from H.B. 718, which speaks for

itself.

52.       The State admits the allegations in Paragraph 52 of the Amended Complaint, but notes

that, as the Plaintiff admits in Paragraph 57, the statutory forfeiture procedures enacted by H.B.

718 were never applied to or enforced against the Plaintiff before being repealed in 2022 by H.B.

608.

53.       The State admits that Paragraph 53 of the Amended Complaint correctly quotes parts of

two sentences in H.B. 718 but denies the remaining allegations in Paragraph 53. The State also

notes that, as the Plaintiff admits in Paragraph 57, the statutory forfeiture procedures enacted by

H.B. 718 were never applied to or enforced against the Plaintiff before being repealed in 2022 by

H.B. 608. The State denies the remaining allegations in Paragraph 53 because they purport to

summarize, interpret, apply, or draw conclusions from H.B. 718, which speaks for itself.

54.       The State denies the allegations in Paragraph 54 of the Amended Complaint because they

purport to summarize, interpret, apply, or draw conclusions from H.B. 718, which speaks for

itself, and avers that the statutory forfeiture procedures enacted by H.B. 718 were never applied

to or enforced against the Plaintiff before being repealed in 2022 by H.B. 608, as the Plaintiff has

admitted in Paragraph 57.




DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 21 OF 37
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 22 of 193




55.          The State admits that Paragraph 55 of the Amended Complaint correctly quotes part of a

sentence in a letter that the Governor of Idaho sent to the Secretary of the Department of the

Interior on July 9, 2018. The State denies the remaining allegations in Paragraph 55 because

they purport to summarize, interpret, apply, or draw conclusions from the letter, which speaks for

itself. 14

56.          With regard to Paragraph 56 of the Amended Complaint, the State admits that on August

28, 2018, IDWR sent to the BLM, USFS, and several other federal agencies a list of all

stockwater rights decreed to the Plaintiff in the SRBA based on the “constitutional method of

appropriation.” The list was provided in hard copy to each federal agency in a tabular form, and

in electronic form via an Excel spreadsheet file on a compact disk. The State admits that the list

included approximately 17,995 water right numbers, 15 and the priority date and source for each

water right, but no other information. The State denies the remaining allegations in Paragraph

56, including but not limited to allegations that the list or its cover letter stated the water rights




14
  The State reserves the right to object to the admissibility of this letter pursuant to Rule 408 of
the Federal Rules of Evidence.
15
  The allegation in Paragraph 56 that the list identified each water right only via a “basin,”
“sequence” and “suffix” number is correct but ignores the fact that, as the Plaintiff knows, the
basin, sequence, and suffix numbers are the water right numbers. Water rights numbers decreed
by the SRBA are broken into three parts in the online databases maintained by the SRBA and
IDWR. The first two numerals of the water right identify the administrative “basin” in which the
water right is located, and the next five “sequence” numerals identify the individual water right
within the basin. The “basin” and “sequence” numbers are separated by a hyphen and, if the
water right originated from the “split” of a parent water right into two or more water rights, are
followed by an alphabetic “suffix.” (Example: water right no. 25-00229A, which is one of the
water rights on the list referenced in Paragraph 57.) Despite suggestions to the contrary in
Paragraph 56, the Plaintiff is thoroughly familiar with this numbering system, and also knows
how to use water right numbers to extract additional information from the SRBA’s and IDWR’s
online databases, such as the water right’s ownership, quantity, point of diversion, place of use,
purpose of use, etc.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 22 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 23 of 193




were subject to forfeiture pursuant to the procedures of H.B. 718 or that H.B. 718 required

IDWR to provide additional information in the list.

57.     With regard to Paragraph 57 of the Amended Complaint, the State admits that all state

law-based water rights licensed or decreed under Idaho law, including but not limited to those on

the list referenced in Paragraph 56, are potentially subject to forfeiture proceedings if not applied

to the beneficial use for which they appropriated for a period of five years, but denies that IDWR

compiled the list “purporting to identify water rights owned by the United States that were

subject to forfeiture.” The State admits that the Governor never formally “approved” the list

within the meaning of the H.B. 718’s forfeiture procedures, and that H.B. 718’s forfeiture

procedures were never applied to or enforced against the Plaintiff before being repealed in 2022

by H.B.608. The State denies the remaining allegations in Paragraph 57, including but not

limited to the allegation that Idaho Code § 42-224 establishes or authorizes “anti-federal

forfeiture proceedings.”

58.    With regard to Paragraph 58 of the Amended Complaint, the State admits that 2018

Senate Bill No. 1305 (“S.B. 1305”) was enacted during the same legislative session during which

H.B. 718 was enacted, and that Paragraph 58 correctly quotes a portion of one sentence in Idaho

Code § 42-113(2) as amended by S.B. 1305. 16 The State denies the remaining allegations in

Paragraph 58 because they purport to summarize, interpret, apply, or draw conclusions from S.B.

1305 and Idaho Code § 42-113(2), which speak for themselves. 17

59.    The State admits that Paragraph 59 of the Amended Complaint correctly quotes a portion


16
  Exhibit F, attached hereto and adopted by reference elsewhere in this Answer pursuant to
F.R.C.P. 10(c), is a true and complete copy of S.B. 1305, as enacted.
17
  The subtitle immediately preceding Paragraph 58 states that 2018 Senate Bill No. 1305 (“S.B.
1305”) made federally owned stockwater rights “appurtenant to the [grazing] permittees’ base

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 23 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 24 of 193




of one sentence in Idaho Code § 42-113(2) as amended by S.B. 1305. The State denies the

remaining allegations in Paragraph 59 and the associated footnote 6 because they purport to

summarize, interpret, apply, or draw conclusions from S.B. 1305, Idaho Code § 42-113(2), 43

U.S.C. § 315b, 43 C.F.R. § 4100.0-5, 36 C.F.R. § 222.1(b)(3), and the decision in Pub. Lands

Council v. Babbitt, 529 U.S. 728 (2000), all of which speak for themselves.

60.    The State denies the allegations in Paragraph 60 because they purport to summarize,

interpret, apply, or draw conclusions from S.B. 1305 and the Joyce Livestock decision, which

speak for themselves.

61.    The State admits the allegations in Paragraph 61 of the Amended Complaint.

62.    With regard to Paragraph 62 of the Amended Complaint, the State admits that 2020

House Bill No. 592 (“H.B. 592”) amended some of the legislation that had previously been

enacted or amended by S.B. 1111 and H.B. 718, but did not amend Idaho Code § 42-113. 18 The

State denies the remaining allegations in Paragraph 62 because they purport to summarize,

interpret, apply, or draw conclusions from H.B. 592, S.B. 1111, H.B. 718 and S.B. 1305, which

speak for themselves. 19




property.” The State denies any allegation that S.B. 1305 made all federally owned stockwater
rights appurtenant to grazing permittees’ “base property.”
18
  Exhibit G, attached hereto and adopted by reference elsewhere in this Answer pursuant to
F.R.C.P. 10(c), is a true and complete copy of H.B. 592, as enacted. Exhibits C and E to this
Answer are copies of S.B. 1111 and H.B. 718, as enacted.
19
   The subtitle immediately preceding Paragraph 62 refers to H.B. 592 as “remov[ing] the
Governor’s check on forfeiture proceedings” and “mak[ing] other changes to H.B. 718.” The
State admits that H.B. 592 repealed the forfeiture provisions of H.B. 718. The State denies any
allegations in this subtitle to the extent they purport to summarize, interpret, apply, or draw
conclusions from H.B. 592 and H.B. 718, which speak for themselves.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 24 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 25 of 193




63.    With regard to Paragraph 63 of the Amended Complaint, the State admits that H.B. 592

repealed the forfeiture provisions enacted by H.B. 718 and added a new statute to Chapter 2 of

Title 42 of the Idaho Code (Idaho Code § 42-224) that defines the procedures for determining

whether a state law-based stockwater right has been lost through non-use pursuant to the

substantive forfeiture provisions of Idaho Code § 42-222(2), and that Paragraph 63 correctly

quotes certain isolated phrases in H.B. 592. The State denies the remaining allegations in

Paragraph 63 because they purport to summarize, interpret, apply, or draw conclusions from

H.B. 592 and Idaho Code § 42-224, which speak for themselves.

64.    The State admits the allegations in Paragraph 64 of the Amended Complaint.

65.    The State admits that Paragraph 65 of the Amended Complaint correctly quotes part of a

sentence in Idaho Code § 42-224(4), which speaks for itself. The State denies the remaining

allegations in Paragraph 65, including but not limited to any implied allegation that the statutory

requirement of providing federal grazing permit or lease holders with a copy of a show-cause

order issued in connection with a stockwater right having a place of use on their federal grazing

allotment “targets” or otherwise discriminates against the Plaintiff.

66.    With regard to Paragraph 66 of the Amended Complaint, the State admits that the

substantive forfeiture provisions of Idaho Code § 42-222(2) are “longstanding” but denies any

allegation that enactment of H.B. 592 altered or amended Idaho Code § 42-222(2). The State

admits that Paragraph 66 correctly quotes part of Idaho Code § 42-222(2) and correctly quotes

part of a sentence in the decision in Sagewillow, Inc. v. Idaho Dep’t of Water Res., 138 Idaho

831, 70 P.3d 669 (2003), which cited the decision in Zezi v. Lightfoot, 57 Idaho 707, 68 P.2d 50

(1937). The State denies the remaining allegations in Paragraph 66 because they purport to




DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 25 OF 37
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 26 of 193




summarize, interpret, apply, or draw conclusions from Idaho Code § 42-222(2) and the

Sagewillow and Zezi decisions, which speak for themselves.

67.       With regard to Paragraph 67 of the Amended Complaint, the State admits that H.B. 592

amended certain provisions of Idaho Code §§ 42-502 and 42-224, and that Paragraph 67

correctly quotes part of a sentence in each statute as they were amended by H.B. 592. The State

denies the remaining allegations in Paragraph 67 because they purport to summarize, interpret,

apply, or draw conclusions from H.B. 592 and Idaho Code §§ 42-502 and 42-224, which speak

for themselves.

68.       With regard to Paragraph 68 of the Amended Complaint, the State admits that H.B. 592

amended certain provisions of Idaho Code § 42-504 and that Paragraph 68 correctly quotes a

single passage from Idaho Code § 42-504 as amended by H.B. 592. The State denies the

remaining allegations in Paragraph 68 because they purport to summarize, interpret, apply, or

draw conclusions from H.B. 592 and Idaho Code § 42-504, which speak for themselves.

69.       With regard to Paragraph 69 of the Amended Complaint, the State admits that IDWR

issued a show-cause order to the Plaintiffs on October 27, 2021, pursuant to the version of Idaho

Code § 42-224 that was in effect at that time, and that Exhibit 4 to the Amended Complaint

contains a complete and correct copy of the show-cause order signed by the Director on that

date. The State denies the remaining allegations in Paragraph 69 because they purport to

summarize, interpret, apply, or draw conclusions from the show-cause order, which speaks for

itself.

70.       The State admits that the stockwater rights at issue in the show-cause order referenced in

Paragraph 70 of the Amended Complaint were decreed in the SRBA but denies the allegation

that these stockwater rights “supported grazing by two separate Forest Service permittees.” The



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 26 OF 37
        Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 27 of 193




State admits that Paragraph 70 correctly quotes a portion of a private agreement between the

Plaintiff and one of its grazing permittees. The State denies the remaining allegations in

Paragraph 70 because they purport to summarize, interpret, apply, or draw conclusions from the

private agreement or the partial decrees for the stockwater rights identified in the show-cause

order, which speak for themselves. The State also denies any allegation that the private

agreement between the Plaintiff and the grazing permittee is binding upon the State or defines

“beneficial use” of the stockwater rights identified in the show-cause order.

71.     With regard to Paragraph 71 of the Amended Complaint, the State admits that on

November 12, 2021, IDWR issued an order withdrawing the show-cause order referenced in

Paragraphs 69 and 70, and that Exhibit 5 to the Amended Complaint contains a complete and

correct copy of the order signed by the Director on that date. The State denies the remaining

allegations in Paragraph 71 because they purport to summarize, interpret, apply, or draw

conclusions from the November 12, 2021 order, which speaks for itself.

72.     With regard to Paragraph 72 of the Amended Complaint, the State admits that, in addition

to the petition that led to issuance of the show-cause order referenced in Paragraph 69, IDWR

also received other petitions filed by private parties pursuant to Idaho Code § 42-224 but did not

issue show-cause orders in response to those petitions until after Idaho Code § 42-224 was

amended by H.B. 608. The State denies the remaining allegations in Paragraph 72 because they

purport to summarize, interpret, apply, or draw conclusions from Idaho Code § 42-224, which

speaks for itself.




DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 27 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 28 of 193




73.    With regard to Paragraph 73 of the Amended Complaint, the State admits that H.B. 608

took effect on March 24, 2022, and made amendments to Idaho Code § 42-224. 20 The State

denies the remaining allegations in Paragraph 73 because they purport to summarize, interpret,

apply, or draw conclusions from Idaho Code § 42-224 and the Joyce Livestock decision, which

speak for themselves. 21

74.    The State admits that Paragraph 74 of the Amended Complaint correctly quotes certain

passages in Idaho Code § 42-224 as amended by H.B. 608. The State denies the remaining

allegations in Paragraph 74 because they purport to summarize, interpret, apply, or draw

conclusions from H.B. 608 and Idaho Code § 42-224, which speak for themselves.

75.    The State admits that Paragraph 75 of the Amended Complaint correctly quotes a passage

in Idaho Code § 42-224 as amended by H.B. 608. The State denies the remaining allegations in

Paragraph 75 because they purport to summarize, interpret, apply, or draw conclusions from

H.B. 608 and Idaho Code § 42-224, which speak for themselves.

76.    The State admits that Paragraph 76 of the Amended Complaint correctly quotes two

small parts of Idaho Code § 42-224 as amended by H.B. 608. The State denies the remaining

allegations on Paragraph 76 because they purport to summarize, interpret, apply, or draw

conclusions from Idaho Code § 42-224, H.B. 608, and the Joyce Livestock decision, all of which

speak for themselves.


20
  Exhibit D, attached hereto and adopted by reference elsewhere in this Answer pursuant to
F.R.C.P. 10(c), is a true and complete copy of H.B. 608, as enacted.
21
  The subtitle immediately preceding Paragraph 73 refers to H.B. 608 as “remov[ing] IDWR’s
discretion over forfeiture proceedings,” as “attempt[ing] to insulate new policy from review in
federal court,” and as “impos[ing] limits on permittee agency relationships.” The State denies
these allegations because they purport to summarize, interpret, apply, or draw conclusions from
H.B. 608, which speaks for itself.


DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 28 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 29 of 193




77.    The State admits that Paragraph 77 of the Amended Complaint correctly quotes certain

passages in Idaho Code § 42-224 as amended by H.B. 608. The State denies the remaining

allegations in Paragraph 77 because they purport to summarize, interpret, apply, or draw

conclusions from H.B. 608 and Idaho Code § 42-224, which speak for themselves.

78.    The State admits the allegations in Paragraph 78 of the Amended Complaint.

79.    With regard to Paragraph 79 of the Amended Complaint, the State admits that the

Plaintiff informed the State that twenty-four of the stockwater rights listed in the show-cause

orders referenced in Paragraph 78 had been decreed based on federal law, that IDWR withdrew,

amended and re-issued the show-cause orders, and that the amended show-cause orders do not

apply to the twenty-four stockwater rights based on federal law. 22 The State also admits that

Paragraph 79 correctly quotes certain parts of the amended show-cause orders, that the Plaintiff

requested a stay of the hearings, and that IDWR issued orders staying the hearings. The State

denies the remaining allegations in Paragraph 79 and the associated footnote 7 because they

purport to summarize, interpret, apply, or draw conclusions from the amended show-cause orders

and filings in those proceedings, Idaho Code § 42-224, 43 U.S.C. § 141, former 43 U.S.C. § 300,

and the 1926 Presidential Executive Order known as “Public Water Reserve 107,” all of which

speak for themselves. The State specifically denies any allegation that the Plaintiff’s state law-

based stockwater rights can or will be forfeited or otherwise affected by any administrative order

issued by IDWR pursuant to Idaho Code § 42-224.

80.    With regard to Paragraph 80 of the Amended Complaint, the State admits that on June

22, 2022, IDWR issued a show-cause order pursuant to Idaho Code § 42-224 regarding eleven



22
  Exhibit H contains copies of the partial decrees for these stockwater rights, which were
decreed based on federal law (“federal reserved rights”).

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 29 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 30 of 193




federally owned stockwater rights used on certain lands managed by the Plaintiff, that the

Plaintiff had until July 18, 2022, to request a hearing on the show-cause order, and that the

Plaintiff requested a stay of the hearing. The State denies the remaining allegations in Paragraph

80 because they purport to summarize, interpret, apply, or draw conclusions from Idaho Code §

42-224, the show-cause order, and the filings in that proceeding, all of which speak for

themselves. 23 The State specifically denies any allegation that the Plaintiff’s state law-based

stockwater rights can or will be forfeited or otherwise affected by any administrative order issued

by IDWR pursuant to Idaho Code § 42-224.

81.    The State denies the allegations in Paragraph 81 of the Amended Complaint because they

purport to summarize, interpret, apply, or draw conclusions from S.B. 1111, H.B. 718, S.B.

1305, H.B. 592, and H.B. 608, the Idaho statutes enacted, amended, and/or repealed by these

bills, and the Joyce Livestock decision, all of which speak for themselves. The State specifically

denies the allegations in Paragraph 81 that H.B. 608 and Idaho Code § 42-224, which apply only

to state law-based water rights, have an effect on federal reserved stockwater rights or pose a

“threat” to any “congressionally authorized federal grazing program.”

              RESPONSES TO “DECLARATORY RELIEF” ALLEGATIONS

82.    With regard to Paragraph 82 of the Amended Complaint, the State admits that the

Plaintiff has challenged the validity and enforceability of Idaho Code §§ 42-113(2)(b) and 42-

224, and it is the State’s position that these statutes are valid and enforceable against the

Plaintiff. The State denies any remaining allegations in Paragraph 82.




23
  On July 28, 2022, the Director of IDWR issued an order staying the proceedings under the
show-cause order of June 22, 2022, pending the outcome of this case or until otherwise ordered
by the Director.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 30 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 31 of 193




83.    With regard to Paragraph 83 of the Amended Complaint, the State admits that Idaho

Code §§ 113(2)(b), 42-224, 42-501, 42-502 and 42-504 were enacted, amended and/or repealed

by S.B. 1111, H.B. 718, S.B. 1305, H.B. 592, and/or H.B. 608. The State denies the remaining

allegations in Paragraph 83, including but not limited to any allegation that these statutory

provisions operate “in combination” rather than separately and independently, and any allegation

that Idaho Code §§ 42-501 and 42-502 have or can have any effect on the Plaintiff’s existing

stockwater rights.

84.    The State denies the allegations in Paragraph 84.

85.    With regard to Paragraph 85 of the Amended Complaint, the State admits it asserts that

Idaho Code §§ 42-113, 42-222(2), 42-224, 42-501, 42-502 and 42-504 are valid. The State

admits that, consistent with IDWR’s obligation to comply with validly enacted legislative

directives and in response to petitions relating to the Plaintiff’s stockwater rights that were filed

with IDWR pursuant to Idaho Code § 42-224, IDWR has begun to comply with the provisions of

Idaho Code § 42-224 and intends to continue to do so. The State denies the remaining

allegations in Paragraph 85.

86.    The State admits Paragraph 86 of the Amended Complaint correctly quotes parts of 28

U.S.C. § 2201(a) and F.R.C.P 57, and that these provisions authorize this Court declare the legal

rights and obligations of parties in certain cases. The State denies that the Plaintiff is entitled to

such declaratory relief this case, and denies any remaining allegations in Paragraph 86.

            RESPONSES TO “FIRST CLAIM FOR RELIEF” ALLEGATIONS

87.    In response to Paragraph 87 of the Amended Complaint, the State incorporates by

reference its answers to Paragraphs 1 through 86 of the Amended Complaint as though fully set

forth herein.



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 31 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 32 of 193




88.    With regard to Paragraph 88 of the Amended Complaint, the State admits that H.B. 608

amended Idaho Code § 42-224, which defines procedures for determining whether stockwater

rights based on Idaho state law have been lost through non-use pursuant to the statutory

forfeiture provisions of Idaho Code § 42-222(2). The State denies the remaining allegations in

Paragraph 88.

89.    The State denies the allegations in Paragraph 89 of the Amended Complaint, including

but not limited to the allegation that the statutory forfeiture procedures defined by H.B. 608 and

Idaho Code § 42-224 are an “administrative proceeding.”

90.    The State denies the allegations in Paragraph 90 of the Amended Complaint.

           RESPONSES TO “SECOND CLAIM FOR RELIEF” ALLEGATIONS

91.    In response to Paragraph 91 of the Amended Complaint, the State incorporates by

reference its answers to Paragraphs 1 through 90 of the Amended Complaint as though fully set

forth herein.

92.    The State denies the allegations in Paragraph 92 of the Amended Complaint.

93.    The State denies the allegations in Paragraph 93 of the Amended Complaint.

94.    The State denies the allegations in Paragraph 94 of the Amended Complaint.

95.    The State denies the allegations in Paragraph 95 of the Amended Complaint.

96.    The State denies the allegations in Paragraph 96 of the Amended Complaint.

97.    The State denies the allegations in Paragraph 97 of the Amended Complaint.

            RESPONSES TO “THIRD CLAIM FOR RELIEF” ALLEGATIONS

98.    In response to Paragraph 98 of the Amended Complaint, the State incorporates by

reference its answers to Paragraphs 1 through 97 of the Amended Complaint as though fully set

forth herein.



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 32 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 33 of 193




99.    With regard to Paragraph 99 of the Amended Complaint, the State admits that a “civil

action” pursuant to Idaho Code § 42-224(10)-(12) could result in issuance of a court order and

judgment determining that some or all of the state law-based stockwater rights at issue in this

case have been lost through non-use pursuant to the statutory forfeiture provisions of Idaho Code

§ 42-222(2). The State also admits that Paragraph 99 correctly quotes part of a sentence from the

decision in Royal Indemnity Co. v. United States, 313 U.S. 289 (1941), which speaks for itself.

The State denies the remaining allegations in Paragraph 99.

100.   The State denies the allegations in in Paragraph 100 of the Amended Complaint.

          RESPONSES TO “FOURTH CLAIM FOR RELIEF” ALLEGATIONS

101.   In response to Paragraph 101 of the Amended Complaint, the State incorporates by

reference its answers to Paragraphs 1 through 100 of the Amended Complaint, as though fully set

forth herein.

102.   The State denies the allegations in Paragraph 102 of the Amended Complaint.

103.   The State lacks sufficient knowledge of the “settlements” referenced in Paragraph 103 of

the Amended Complaint to evaluate the allegations in that paragraph, and in any case the

“settlements” speak for themselves. The State therefore denies the allegations in Paragraph 103.

104.   The State denies the allegations in Paragraph 104 of the Amended Complaint.

            RESPONSES TO “FIFTH CLAIM FOR RELIEF” ALLEGATIONS

105.   In response to Paragraph 105 of the Amended Complaint, the State incorporates by

reference its answers to Paragraphs 1 through 104 of the Amended Complaint as though fully set

forth herein.

106.   With regard to Paragraph 106 of the Amended Complaint, the State admits that a “civil

action” pursuant to Idaho Code § 42-224(10)-(12) could result in issuance of a court order and



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 33 OF 37
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 34 of 193




judgment determining that some or all of the state law-based stockwater rights at issue in this

case have been lost through non-use pursuant to the statutory forfeiture provisions of Idaho Code

§ 42-222(2). The State denies the remaining allegations in Paragraph 106.

107.      The State admits that Paragraph 107 of the Amended Complaint correctly quotes part of a

sentence in Idaho Code § 42-222(2). The State also admits that upon issuance of a court order

and judgment pursuant to Idaho Code § 42-224(12) declaring any of the Plaintiff’s state law-

based stockwater rights to have been forfeited through five years of non-use, the stockwater

rights would “revert to the state and again be subject to appropriation under this chapter.” Idaho

Code § 42-222(2). 24 The State denies the remaining allegations in Paragraph 107.

108.      The State denies the allegations in Paragraph 108 of the Amended Complaint, including

but not limited to the allegation that Idaho Code § 42-224 operates “retroactively.”

109.      The State denies the allegations in Paragraph 109 of the Amended Complaint, including

but not limited to the allegation that Idaho Code §§ 42-113(2)(b) and 42-504 operate

“retroactively.”

                            RESPONSE TO “PRAYER FOR RELIEF”

110.      The State denies that the Plaintiff is entitled to a judgment awarding the relief requested

in Paragraph 110 of the Amended Complaint, denies that the Plaintiff has stated facts entitling it

to relief, denies that the Plaintiff has stated claims for which relief may be granted, and requests

that this Court dismiss the Amended Complaint with prejudice.

                                    AFFIRMATIVE DEFENSES

1.        The Plaintiff’s claims, or some of them, fail to allege claims against the State for which

relief may be granted.


24
     The phrase “this chapter” refers to Chapter 2 of Title 42 of the Idaho Code.

DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 34 OF 37
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 35 of 193




2.     The Plaintiff lacks standing to challenge statutory provisions that were never applied to

the Plaintiff and have been repealed, including but not limited to the forfeiture provisions

enacted by H.B. 718 and codified at former Idaho Code § 42-503, which was repealed in 2020;

and the forfeiture provisions of Idaho Code § 42-224 as enacted in 2020, which have been

amended.

3.     The Plaintiff lacks standing to challenge the show-cause orders at issue in this case

because they do not and cannot have any effect on the Plaintiff’s decreed stockwater rights, nor

can any subsequent order that IDWR issues pursuant to Idaho Code § 42-224 have any effect on

the Plaintiff’s decreed stockwater rights. Under the plain language of Idaho Code § 42-224, only

the SRBA court has the authority to declare the Plaintiff’s decreed stockwater rights to have been

lost for non-use pursuant to the statutory forfeiture provisions of Idaho Code § 42-222(2).

4.     The Plaintiff’s claims are moot to the extent they challenge statutory provisions that have

been amended or repealed.

5.     The Plaintiff’s claims are not ripe to the extent they challenge statutory provisions that

have not been applied to the Plaintiff.

6.     The Plaintiff’s claims that its state law-based stockwater rights were decreed for use by

federal grazing permittees, to support or enable federal grazing programs, or for any purpose

other than watering livestock owned by the Plaintiff, are barred and foreclosed by the doctrine of

res judicata and/or principles of collateral estoppel.

7.     The Plaintiff’s claims that its state law-based stockwater rights are not subject to the

requirements, limitations, standards and procedures of Idaho water law, including but not limited

to the statutory forfeiture procedures and provisions of Idaho Code §§ 42-224 and 42-222(2), are

barred and foreclosed by the doctrine of res judicata and/or principles of collateral estoppel.



DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 35 OF 37
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 36 of 193




                                STATE’S REQUEST FOR RELIEF

          WHEREFORE, Defendants the State of Idaho, the Idaho Department of Water

Resources, and Gary Spackman, in his official capacity as Director of the Idaho Department of

Water Resources pray that the Court enter judgment in their favor and against Plaintiff United

States of America, as follows:

          1. That the Plaintiff’s Amended Complaint be dismissed in its entirety and that the

Plaintiff take nothing thereby.

          2. For an Order declaring the challenged laws of the State of Idaho valid and

enforceable.

          3. For an Order awarding the State its reasonable costs and attorney fees pursuant to

Federal Rule of Civil Procedure 54(d) and as otherwise allowed by law, for having to defend this

matter.

          4. For any and all further relief as the Court may find to be just, equitable, and

appropriate under the circumstances.

          Respectfully submitted, this 29th day of July, 2022.

                                                        LAWRENCE G. WASDEN
                                                        Attorney General
                                                        DARRELL G. EARLY
                                                        Deputy Attorney General
                                                        Chief, Natural Resources Division

                                                        _/s/ Michael C. Orr_____________
                                                        MICHAEL C. ORR (ISB # 6720)
                                                        Deputy Attorney General




DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 36 OF 37
      Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 37 of 193




                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 29, 2022, a true and correct copy of the above and
foregoing document was sent to all parties listed below through the PACER network.



Stephen Bartell
Department of Justice
Environment & Natural Resources Division
Stephen.bartell@usdoj.gov

David Negri
US Department of Justice
Environment & Natural Resources Division
David.negri@usdoj.gov

Thomas Snodgrass
US Department of Justice
Environment & Natural Resources Division
Thomas.snodgrass@usdoj.gov




                                              _/s/ Michael C. Orr_____________
                                              MICHAEL C. ORR
                                              Deputy Attorney General




DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF – PAGE 37 OF 37
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 38 of 193




        EXHIBIT A
                              to
       First Amended Complaint for
     Declaratory and Injunctive Relief
      (Case No. 1:22-cv-00236-DKG)

     Copies of SRBA Partial Decrees,
          Water Right Licenses,
          and Statutory Claims
 for State Law-Based Stockwater Rights
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 39 of 193
                                                                                                   2000 JAN 03 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO. , IDAHO
                                                                                                   FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
Case No. 39576
                                                  Water Right 65-19685


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                     TRIBUTARY: PADDOCK VALLEY RESERVOIR
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T11 N R02W S20          NESENW        (Instream Beginning Point) Within Washington County
                                                 SENESW        (Instream Ending Point)
PURPOSE AND
PERIOD OF USE :          PURPOSE OF USE                    PERIOD OF USE           QUANTITY
                         Stockwater                        01-01 TO 12-31          0.02 CFS

PLACE OF USE:            Stockwater                                         Within Washington county
                            T11N R02W 520           SWNE                     SENW
                                                    NESW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                   RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
j,dgment _ , ,t,ioh exe,,tion o,y i,,,e ,nd •• app~l ,,y be ' KP'/ vi d,d by the Ioo Appellate R,l,, .


                                                                    f!-
                                                                    ;~y·Wood
                                                                            H /\ )l'J:::tl::t,<
                                                                                   ~        7...;.
                                                                     Admini strative District Judge
                                                                     Presiding Judge of the
                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO 1.R.C.P. 54(b)                                                                    PAGE 1
Water Right 65-19685                                                                                         Jan-03-2000
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 40 of 193


                                                                                                       2000 JAN 03 PM 02:00
                                                                                                       DISTRICT COURT - SRBA
                                                                                                       TWIN FALLS CO., IDAHO
                                                                                                       FILED _ _ _ _ __
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                       PARTIAL DECREE PURSUANT TO
                          )                       l.R.C.P. 54(b) FOR
CIISe No. 39576           )

----------'                                        Water Right 65-20003


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  INDIAN CREEK                         TRIBUTARY: LITTLE WILLOW CREEK
                         UNNAMED STREAM                                  INDIAN CREEK
QUANTITY:                0.02 CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T09N R02W S02           SESENE          (Instream    Beginning Point) Within Payette County
                                                 NENWSW          (Instream    Ending Point)
                                     S03         SWSENE          (Instream    Ending Point)
                                                 SWSENW          (Instream    Ending Point)
                                     S11         SWNWNE          (Instream    Beginning Point)
                                                 SWSENE          (Instream    Ending Point)
                                                 SWSENE          (Instream    Beginning Point)
                                   S35           SENWSE          (lnstream    Beginning Point)
                         T10N R02W S34           NENWSE          (Instream    Beginning Point)
                                   S35           NWNWSW          (Instream    Beginning Point)
                                                 SENWSW          (Instream    Ending Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                      PERIOD OF USE             QUANTITY
                         Stockwater                          01-01 TO 12-31            0.02 CFS

PLACE OF USE:            Stockwater                                            Within Payette County
                            T09N R02W S02            SWNE                       SENE
                                             LOT 04 (NWNW)                      SWNW
                                                     NESW                       NWSW
                                                     SESW                       NWSE
                                                     SWSE
                                         S03         NWNE                     SWNE
                                                     SENE             LOT 03 (NENW)
                                                     SENW                     NESE
                                         S11         NENE                     NWNE
                                                     SENE
                              T1 ON R02W S34         SESW                       NWSE
                                                     SWSE
                                         S35         NESW                       NWSW
                                                     swsw                       SESW
                                                     NWSE                       SWSE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                       PAGE 1
Water Right 65-20003                                                                                            Jan-03-2000
            Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 41 of 193




SRBA Partial Decree Pursuant to I.R.C.P. 54(b) (continued)




                                                 RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken        ided by he Idaho pellate Rules.



                                                                ~r       ~
                                                                Administrative District Judge
                                                                Presiding Judge of the
                                                                Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO !.R.C.P. 54(b)                                                             PAGE 2
Water Right 65-20003                                                                                  Jan-03-2000
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 42 of 193
                                                                                                   2000 JAN 03 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED _ _ __ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                      PARTIAL DECREE PURSUANT TO
                          )                      I.R.C.P. 54Cb) FOR
__________
Case No. 39576            )
                          )
                                                  Water Right 65-20010


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                     TRIBUTARY: LITTLE WILLOW CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION :     T10N R02W S15           SWSENW        Clnstream Ending Point)    Within Washington County
                                   S22           SESWNW        Clnstream Beginning Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                    PERIOD OF USE             QUANTITY
                         Stockwater                        01-01 TO 12-31            0.02 CFS

PLACE OF USE:            Stockwater                                         Within Washington County
                            T10N R02W S15           SWNW                     SENW
                                                    NWSW                     swsw
                                         S22        NWNW                      SWNW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                   RULE 54(b) CERTIFICATE
        With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule S4Cb), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a

;..ag■eot "''" 'h''h exec,tioo ,,y i,,,e aod ao appeal ••Y be take, , co        _
                                                                                'W,'
final judgment and that the court has and does hereby direct that the ove judgment or order shall be a final
                                                                                       Idaho   e l lat, R,Le• .



                                                                     Barry od
                                                                     Administrative District Judge
                                                                     Presiding Judge of the
                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                   PAGE 1
Water Right 65-20010                                                                                        Jan-03-2000
            Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 43 of 193

                                                                                                      2000 JAN 03 PM 02:00
                                                                                                      DISTRICT COURT - SABA
                                                                                                      TWIN FALLS CO., IDAHO
                                                                                                      FILED _ _ _ _ __
                               IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                   STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                       PARTIAL DECREE PURSUANT TO
                          )                       I.R.C.P. 54(b) FOR
__________
Case No. 39576            )
                          )
                                                   Weter Right 65-20011


NAME AND ADDRESS:        USDI BLH
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  LITTLE WILLOW CREEK                  TRIBUTARY: BIG WILLOW CREEK
                         UNNAMED STREAM                                  LITTLE WILLOW CREEK
QUANTITY:                0.02 CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T10N R02W S14            SESENE         (Instream    Beginning Point) Within Washington County
                                                  SWSENW         (Instreem    Beginning Point)
                                                  SENWSE         (Instream    Beginning Point)
                                      S15 LOT 04 (SENENE)        (Instream    Ending Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                      PERIOD OF USE            QUANTITY
                         Stockwater                          01-01 TO 12-31           0.02 CFS

PLACE OF USE:            stockwater                                         Within Washington county
                            T10N R02W S14            SWNE                     SENE
                                             LOT 04 CNWNW)                    SWNW
                                                     SENW                     NWSE
                                         S15         SENE             LOT 04 (NWNW)
                                                     SWNW                     SENW
                                                     NESW                     NESE
                                                     NWSE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS HAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                    RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54Cb), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be take         ided by the Idaho Appe[la~e Rules.



                                                                       Bar        d
                                                                      Ad~inistrative District Judge
                                                                      Presiding Judge of the
                                                                      Snake River Basin Adjudication



SABA PARTIAL DECREE PURSUANT TO I.R.C.P. 54Cb)                                                                      PAGE 1
Water Right 65-20011                                                                                           Jan-03-2000
            Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 44 of 193

                                                                                                   2000 JAN 03 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF T\IIN FALLS

In Re SRBA                 )                      PARTIAL DECREE PURSUANT TO

__________
case No. 39576
                           )
                           )
                           )
                                                  I.R.C.P. 54(b) FOR
                                                   Water R;ght 65-20012


NAME AND ADDRESS:         USDI BLH
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657
SOURCE:                   LITTLE WILLOW CREEK               TRIBUTARY: BIG WILLOW CREEK
                          UNNAMED STREAM                               LITTLE WILLOW CREEK
QUANTITY:                 0.02 CFS
                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.
PRIORITY DATE:            06/28/1934
POINT OF DIVERSION:       T10N R01W S18           NESESE       Clnstrea~ Beginning Point) Within Washington County
                               R02W S12           NENENW       Clnstream Beginning Point)
                                                  NENWNW       Cinstream Beginning Point)
                                                  NWNESE       Clnstream Beginning Point)
                                     S13          SENWNW       Clnstream Ending Point)
PURPOSE AND
PERIOD OF USE:            PURPOSE OF USE                   PERIOD OF USE             QUANTITY
                          Stockwater                       01-01 TO 12-31            0.02 CFS

PLACE OF USE:             Stockwater                                        Within Washington County
                             T10N R01W S18          NWNW                     SWNW
                                                    SENW                     NESW
                                                    NWSE                     SWSE
                                                    SESE
                                  R02W S12          NENW                     NWNW
                                                    SENW                     NESW
                                                    SWSW                     SESW
                                                    NWSE                     SWSE
                                                    SESE
                                           S13      NENE                      NWNW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P . 54(b)                                                                  PAGE 1
Water Right 65-20012                                                                                        Jan-03-2000
           Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 45 of 193




SRBA Partial Decree Pursuant to I.R.C.P. 54Cb) (continued)




                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I .R .C.P. , that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken           id by he Idaho pellate Rules .



                                                                  Barr
                                                                  Adainistrative District Judge
                                                                  Presiding Judge of tha
                                                                  Snake River Basin Adjudication




SABA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                               PAGE 2
Water Right 65-20012                                                                                    Jan-03-2000
           Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 46 of 193
                                                                                    ...,,         2000 JAN 03 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FALLS CO., IDAHO
                                                                                                  FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                 )                     PARTIAL DECREE PURSUANT TO
                           )                     I.R.C.P. 54(b) FOR
__________
CHe No. 39576              )
                           )
                                                  Water Right 65-20015


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE :                 LITTLE WILLOW CREEK               TRIBUTARY: BIG WILLOW CREEK
                         UNNAMED STREAM                               LITTLE WILLOW CREEK
QUANTITY:                0.02 CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T10N R02W S09           NESESW       Cinstream Ending Point)    Within Washington county
                                                 SESESW       Cinstream Beginning Point)
                                                 SWSESE       Cinstream Beginning Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE           QUANTITY
                         Stockwater                       01-01 TO 12-31          0.02 CFS

PLACE OF USE:            Stockwater                                        Within Washington County
                            T10N R02W S09          SESW                     SWSE
                                                   SESE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54Cb) CERTIFICATE
         With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has deter■ined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judg111ent upon which execution lll8Y issue and an appeal may be take _.,...,.. ,id d by the Idaho Appellate Rules.



                                                                   Barr
                                                                   Administrative District Judge
                                                                   Presiding Judge of the
                                                                   Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                  PAGE 1
Water Right 65-20015                                                                                       Jan-03-2000
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 47 of 193
                                                                                                  2000 JAN 03 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FALLS CO., IDAHO
                                                                                                  FILED _ _ _ _ __
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                )                     PARTIAL DECREE PURSUANT TO
                           )                     I.R.C.P. 54(b) FOR
 __________
 Case No. 39576            )
                           )
                                                  Water Right 65-20390


 NAME AND ADDRESS:        USDI BLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657
 SOURCE:                  UNNAMED STREAM                   TRIBUTARY: LITTLE WILLOW CREEK
QUANTITY:                 0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T1 ON R01 WS07          NWSWNE       (Instream Ending Point)    Within Washington County
                                    S08          NWNWNW       (Instream Beginning Point)
                                                 NENWNW       (Instream Beginning Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE          QUANTITY
                         Stockwater                       01-01 TO 12-31         0.02 CFS

PLACE OF USE :           Stockwater                                        Within Washington County
                            T10N R01W S07          NENE                     NWNE
                                                   SWNE                     SENE
                                       S08         NWNW                     SWNW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT :
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the    ve judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken     rov e by te Idaho A e llate Rules.



                                                                    Barry
                                                                    Administrative District Judge
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                  PAGE 1
Water Right 65-20390                                                                                       Jan-03-2000
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 48 of 193
                                                                                                2000 JAN 03 PM 02:00
                                                                                                DISTRICT COURT - SRBA
                                                                                                TWIN FALLS CO., IDAHO
                                                                                                FILED - - - - - -
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                )                     PARTIAL DECREE PURSUANT TO

 ___________
 Case No. 39576
                           )
                           )
                           )
                                                 I.R.C.P. 54(b) FOR
                                                  Water Right 65-20464


NAME AND ADDRESS :       USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                    TRIBUTARY: LITTLE WILLOW CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T10N R01W S19           SWSESW       (Instream Beginning Point) Within Washington County
                              R02W S13           NWNESW       (Instream Ending Point)
PURPOSE AND
PERIOD OF USE :          PURPOSE OF USE                   PERIOD OF USE           QUANTITY
                         Stockwater                       01-01 TO 12-31          0.02 CFS

PLACE OF USE:            Stockwater                                      Within Washington County
                            T10N R01W S19 LOT 03 (NWSW)            LOT 04 (SWSW)
                                                  SESW
                                 R02W S13         NESW                     SESW
                                                  SWSE
                                      S24         NENE                     NWNE
                                                  SENE                     NESE
                                                  SESE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE



j,dg~,t   "'°"which ~,,,tio, may i,,,, o,d '" opp~l "'Y be tok~ , ovi         •w
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that th        judgment or order shall be a final
                                                                                      Idaho A ellate R,t,,.



                                                                   Barry Wood
                                                                   Administrative District Judge
                                                                   Presiding Judge of the
                                                                   Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                PAGE 1
Water Right 65-20464                                                                                     Jan-03-2000
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 49 of 193
                                                                                                  2000 JAN 03 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FALLS CO., IDAHO
                                                                                                  FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                                      PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
 Case No. 39576
                                                 Water Right 65-20468


NAME AND ADDRESS :       USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                    TRIBUTARY: PADDOCK VALLEY RESERVOIR
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T10N R02W S04         NESWNE         (Instream Beginning Point) Within Washington County
                                   SOS LOT 01 (NWNENE)        (Instream Ending Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE            QUANTITY
                         Stockwater                       01-01 TO 12-31           0.02 CFS

PLACE OF USE :           Stockwater                                        Within Washington County
                            T10N R02W S04         SWNE                      NENW
                                          LOT 04 (NWNW)
                                      SOS LOT 01 (NENE)
                            T11N R02W S33         SWSW                      SESW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54Cb) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that t       e judgment or order shall be a final
j,dg,,,t  "'°",hi<h ox•'"'''" o,y i,,,, ,,d ,, opp,,L may b, toko, ,, ,,      :'W;;;R__'''''' '"'''·
                                                                   Barry Wood
                                                                   Administrative District Judge
                                                                   Presiding Judge of the
                                                                   Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54Cb)                                                                  PAGE 1
Water Right 65-20468                                                                                       Jan-03-2000
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 50 of 193
                                                                                                  2000 JAN 03 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FALLS CO., IDAHO
                                                                                                  FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                )                     PARTIAL DECREE PURSUANT TO
                           )                     I.R.C.P. 54(b) FOR
Case No. 39576             )

- - - - ----,---->                                Water Right 65-20475


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                    TRIBUTARY: LITTLE WILLOW CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T10N R02W 509           SESESE       (Instream Ending Point)    Within Washington County
                                   S10           SESESW       (Instream Beginning Point)
PURPOSE AND
PERIOD OF USE :          PURPOSE OF USE                   PERIOD OF USE             QUANTITY
                         Stockwater                       01-01 TO 12-31            0.02 CFS

PLACE OF USE:            Stockwater                                        Within Washington County
                            T10N R02W S09          NENE
                                      S10          SWSW                      SESW
                                                   SESE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT :
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
         With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54Cb), I.R.C.P . , that the court has determined that there is no just reason for delay of the entry of a
f i nal judgment and that the court has and does hereby di rect that the        judgment or order shall be a final
j,dga,,t ,pon wh;,h ,xe,,t;~ "'Y ;,,,e arul a, app~l "'Y be tak~ ,        , , · •p ~ l l a t e R,tes .



                                                                    Barry Wood
                                                                    Administrative District Judge
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                  PAGE 1
Water Right 65-20475                                                                                       Jan-03-2000
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 51 of 193
                                                                                                2000 JAN 03 PM 02:00
                                                                                                DISTRICT COURT - SRBA
                                                                                                TWIN FALLS CO., IDAHO
                                                                                                FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                )                     PARTIAL DECREE PURSUANT TO
                           )                     I.R.C.P. 54(b) FOR
__________
Case No. 39576             )
                           )
                                                 Water Right 65-20476


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                    TRIBUTARY: LITTLE WILLOW CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T10N R02W S23 LOT 01 (NWNENE)        (Instream Ending Point)    Within Washington County
                                   S24         SWNWSW         (Instream Beginning Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE         QUANTITY
                         Stockwater                       01.-01 TO 12-31       0.02 CFS

PLACE OF USE:            Stockwater                                      Within Washington County
                            T10N R02W S23 LOT 01 (NENE)            LOT 02 (SENE)
                                      S24         SWNW                     NWSW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be take     pr id by he Idaho pellate Rules .



                                                                    Barr    od
                                                                    Administrative District Judge
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                PAGE 1
Water Right 65-20476                                                                                     Jan-03-2000
                 Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 52 of 193
                                                                                                  2000 JAN 03 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FALLS CO., IDAHO
                                                                                                  FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                )                     PARTIAL DECREE PURSUANT TO
                           )                     I.R.C.P. 54(b) FOR
__________
 Case No. 39576            )
                           )
                                                  Water Right 65-20477


 NAME AND ADDRESS:        USDI BLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657
SOURCE:                   UNNAMED STREAM                   TRIBUTARY: LITTLE WILLOW CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T10N R02W S13           NESWSW       (Instream Ending Point)    Within Washington County
                                   S24           SESENW       (Instream Beginning Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE          QUANTITY
                         Stockwater                       01-01 TO 12-31         0.02 CFS

PLACE OF USE:            Stockwater                                        Within Washington County
                            T10N R02W S13         SWSW                      SESW
                                      S24 LOT 02 (NWNE)                     SWNE
                                          LOT 03 (NENW)                     SENW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT :
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.e. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that tha--stl1'11'E! judgment or order shall be a final
j,dg■ont ,pan wh;eh "'''"';on ,,y ;,,,e aod a, appeal ,ay be take,,, ,o, ~W;;£,llate R,te,.



                                                                    Barry Wood
                                                                    Administrative District Judge
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                  PAGE 1
Water Right 65-20477                                                                                       Jan-03-2000
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 53 of 193
                                                                                                  2000 JAN 03 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FALLS CO., IDAHO
                                                                                                  FILED _ _ _ __ _
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                 )                     PARTIAL DECREE PURSUANT TO
                           )                     I.R.C.P. 54(b) FOR
__________
Case No. 39576             )
                           )
                                                  Water Right 65-20479


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                    TRIBUTARY: INDIAN CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION :     T10N R01W S25           NWSWNW       (Instream Beginning Point) Within Washington County
                              R02W S25           NENWSW       (Instream Ending Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE           QUANTITY
                         Stockwater                       01-01 TO 12-31          0.02 CFS

PLACE OF USE :           Stockwater                                        Within Washington county
                            T10N R02W S25          SWNW                     NWSW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT :
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken s ro ~de by he Idaho A pe llate Rules .



                                                                    Ba rr   od
                                                                    Administrative District Judge
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                  PAGE 1
Water Right 65-20479                                                                                       Jan-03-2000
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 54 of 193
                                                                                                   2000 JAN 03 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                                      PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54Cb) FOR
 Case No. 39576
                                                  Water Right 65-20480


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                     TRIBUTARY: INDIAN CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T10N R02W S25           NENWSE        (Instream Beginning Point) Within Washington County
                                                 SWSWSE        (Instream Ending Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                    PERIOD OF USE          QUANTITY
                         Stockwater                        01-01 TO 12-31         0.02 CFS

PLACE OF USE:            Stockwater                                         Within Washington County
                            T10N R02W S25           NWSE                     SWSE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54Cb), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be take s pro id by he Idaho A pellate Rules .



                                                                     Barr    od
                                                                     Administrative District Judge
                                                                     Presiding Judge of the
                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                   PAGE 1
Water Right 65-20480                                                                                        Jan-03-2000
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 55 of 193
                                                                                                   2000 JAN 03 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO. , IDAHO
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                                                                                   FILED
                                                                                                         ------
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                )                     PARTIAL DECREE PURSUANT TO
                           )                     I.R.C.P. 54(b) FOR
__________
 Case No. 39576            )
                           )
                                                  Water Right 65-20487


NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                    TRIBUTARY: INDIAN CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13, 000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION :     T09N R02W 501           NWSENW       (Instream Endi ng Point)   Within Payette County
                                   S12           NENWNE       (Instream Beginning Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE          QUANTITY
                         Stockwater                       01-01 TO 12-31         0.02 CFS

PLACE OF USE:            Stockwater                                        Within Payette County
                            T09N R02W S01          SENW                     NESW
                                                   NWSE                     SWSE
                                         S12       NWNE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINIT.ION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be tak      p V•i ed b the Idaho Appellate Rules.



                                                                    Bar     ood
                                                                    Admi nistrative District Judge
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                   PAGE 1
Water Right 65-20487                                                                                        Jan-03-2000
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 56 of 193
                                                                                                   2000 JAN 03 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                )                     PARTIAL DECREE PURSUANT TO
                           )                     I.R.C.P. 54(b) FOR
__________
 Case No. 39576            )
                           )
                                                  Water Right 65-20488


NAME AND ADDRESS :       USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                    TRIBUTARY: INDIAN CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION :     T09N R02W 501           NENWSW       (Instream Ending Point)    Within Payette County
                                                 SESWSW       (Instream Beginning Point)
                                      502        SESESE       (Instream Beginning Point)
PURPOSE AND
PERIOD OF USE :          PURPOSE OF USE                   PERIOD OF USE             QUANTITY
                         Stockwater                       01-01 TO 12-31            0.02 CFS

PLACE OF USE:            Stockwater                                        Within Payette County
                            T09N R02W 501          NWSW                      swsw
                                      502          SESE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that th    ove judgment or order shall be a final
j""9,o,t ,po, wh1ch e,e,,t;o, ,ay ;,,,e o,d ,, ,ppe,L ,ay be toke a, p,o i w ~ •Llate R,Le, .



                                                                   Bar ry cod
                                                                   Administrative District Judge
                                                                   Presiding Judge of the
                                                                   Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                   PAGE 1
Water Right 65-20488                                                                                        Jan-03-2000
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 57 of 193
                                                                                                   2000 JAN 03 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TI/IN FALLS CO. , IDAHO
                                                                                                   FILED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE              - - -- --
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                                      PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
 Case No. 39576
                                                  Water Right 65-20489


 NAME AND ADDRESS :      USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657
SOURCE:                  UNNAMED STREAM                    TRIBUTARY: INDIAN CREEK
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/28/1934
POINT OF DIVERSION:      T09N R02W S12           NWSENW       (Instream Ending Point)    Within Payette County
                                                 NENESW       (Instream Beginning Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE          QUANTITY
                         Stockwater                       01-01 TO 12-31         0.02 CFS

PLACE OF USE:            Stockwater                                        Within Payette County
                            T09N R02W S12          SWNW                     SENW
                                                   NESW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54Cb), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that t h    ve judgment or order shall be a final
judg-t "pon wh;cl, exe,uttoa NY ;,,ue aad •a app~l NY be t akea s ~ : d w ~ellate Rules.




                                                                    Barry ood
                                                                    Administrative District Judge
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                    PAGE 1
Water Right 65-20489                                                                                         Jan-03-2000
            Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 58 of 193

                                                                                                     2000 JAN 03 PM 02:00
                                                                                                     DISTRICT COURT - SRBA
                                                                                                     TWIN FALLS CO., IDAHO
                                                                                                     FILED _ _ _ _ __
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

 In Re SRBA                 )                      PARTIAL DECREE PURSUANT TO
                            )                      I.R.C.P. 54(b) FOR
Case No. 39576
__________     >            )
                                                    Water R;ght 65-20597


NAME AND ADDRESS:          USDI BLM
                           IDAHO STATE OFFICE
                           1387 S VINNELL WAY
                           BOISE, ID 83709--1657
SOURCE:                    UNNAMED STREAM                    TRIBUTARY: DRY CREEK
QUANTITY:                 0.02 CFS
                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.
PRIORITY DATE:            06/28/1934
POINT OF DIVERSION:       T09N R02W S28            NESWSE       (Instream Beginning Point) Within Payette County
                                    S33            SENENE       (Instream Ending Point)
PURPOSE AND
PERIOD OF USE:            PURPOSE OF USE                    PERIOD OF USE           QUANTITY
                          Stockwater                        01-01 TO 12-31          0.02 CFS

PLACE OF USE :            Stock.water                                        Within Payette County
                             T09N R02W S28           SWSE                     SESE
                                       S33           NENE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE. I.e. SECTION 42-1412(6).

                                                    RULE 54(b) CERTIFICATE




                                                                     Barry Wood
                                                                     Ad~inistrative District Judge
                                                                     Presiding Judge of the
                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I . R.C.P. 54(b)                                                                   PAGE 1
Water Right 65-20597                                                                                          Jan-03-2000
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 2004
                                                                       59 of  193
                                                                            MAY 06                               PM 02:00
                                                                                                    DISTRICT COURT· SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED _ _ _ _ _ __
                                IN THE DISTRICT COURT •JF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54{b) FOR
Case No.    39576
                                                  Water Right 67-12395




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S V!NNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM     TRIBUTARY: WEISER ~IVER

QUANTITY:                 .02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000




                                                                                                                            I
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      Tl2N R04W S13            NESWSW         :rnstream Ending Point)       Within Washington County
                                   S24            NENWNW         (Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE           QUANTITY
                         Stockwater                         Jl ·~l TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                           Within Washington County
                            Tl2N R04W 513            SWSW
                                      S24            NWNW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION ,JF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6)


                                                   RULE 54(bl    CERTIFICATE

       With respect to the issues determined by the above Judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby dir~c: that the abov judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pro ded by the Idaho Appellate Rules.




                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                     PAGE 1
Water Right 67-12395      File Number: 00063                                                                  May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 60  of MAY
                                                                     2004   19306                                  PM 02:00
                                                                                                      DISTRICT COURT - SRBA
                                                                                                      TWIN FALLS CO., IDAHO
                                                                                                      FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
Case No. 39576
                                                  Water Right 67-12396




NAME AND ADDRESS:        USDI SLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM     TRIBUTARY, WEISER RIVER

QUANTITY:                 . 02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      T12N R04W S23            SWNESW         (Instream Ending Point}        Within Washington County
                                                  SENWSE         { Inst ream Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE            QUANTITY
                         Stockwater                         01-01 TO 12-31           0.02 CFS



PLACE OF USE:            Stockwater                                           Within Washington county
                            Tl2N R04W S23            NESW                       NWSE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412{6).


                                                  RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54{b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken asp vided by the Idaho Appellate Rules.




                                                                                            the
                                                                             e River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                      PAGE 1
Water Right 67-12396      File Number: 00063                                                                   May-06-2004
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 61 of 193
                                                                       2004 MAY 06                              PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   F!LED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
Case No. 39576
                                                  Water Right 67-12399




NAME AND ADDRESS,        USDI BLM
                         IDAHO STATE OFFICE
                         1367 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE,                  UNNAMED STREAM     TRIBUTARY: WEISER RIVER

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      Tl2N R04W 535           NENENE         (Instream Beginning Point) Within Washington County
                                                 NWNESW         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                    PERIOD OF USE          QUANTITY
                         Stockwat~r                        01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stockwater                                         Within Washington County
                            T12N R04W S35           NENE                      NWNE
                                                    SWNE                      SENW
                                                    NESW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                  RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken asp ovided by the Idaho Appellate Rules.




                                                                                      /
                                                                         e River Basin Adjudicati~n




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54{b)                                                                  PAGE l
water Right 67-12399      File Number: 00063                                                               May-06-2004
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 62 of 193
                                                                                                      2004 MAY 06 PM 02:00
                                                                                                      DISTRICT COURT - SRBA
                                                                                                      TWIN FALLS CO., IDAHO
                                                                                                      FILED _ _ _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                        PARTIAL DECREE PURSUANT TC
                                                  I.R C.P. 54(bl FOR
Case No. 39576
                                                   Water Right 67-12400




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM    TRIBUTARY: WEISER RIVER

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      TllN R04W 502 LOT 2      ISWNWNE)         ( Inst ream Ending Point)    Within Washington County
                                       LOT 2      (SEN'WNE)        1Instream Beginning Point)

PURPOSE ANO
PERIOD OF USE:           PURPOSE OF USE                       PERIOD OF USE          QUANTITY
                         Stockwater                           01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stockwater                                            Within Washington County
                            TllN R04W S02 LOT 2      (NWNE)

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                   RULE 54{b) CERTIFICATE

       WLth respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(bl, I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as   ovided by the Idaho Appellate Rules.




                                                                               , ela.nson
                                                                                         '
                                                                           iding Judge of the
                                                                           e R:v~t· Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                      PAGE 1
Water Right 67-12400      File Number, 00063                                                                   May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 63  of 193
                                                                     2004 MAY 06                                         PM 02:00
                                                                                                            DISTRICT COURT - SRBA
                                                                                                            TWIN FALLS CO., IDAHO
                                                                                                            FILED
                                  IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                      STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                              PARTIAL DECREE PURSUANT TO
                                                        I.R.C.P. 54(bl FOR
Case No. 39576
                                                         Water Right 67-12401




NAME AND ADDRESS:         USDI SLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657

SOURCE:                   UNNAMED STREAMS           TRIBUTARY: WEISER RIVER

QUANTITY:                  . 02   CFS

                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                           GALLONS PER DAY.

PRIORITY DATE:            05/28/1934

POINT OF DIVERSION:       TllN R04W SOl                 NENWNW         ( Inst ream   Beginning Point} Within Washington County
                                        S02             SWSWNE         ( Inst ream   Ending Point)
                                                        NESENE         (Instream     Ending Point)
                          Tl2N R04W S35                 SESENE         {Inst ream    Beginning Point J
                                                        NESESE         {Inst ream    Ending Point)
                                                        NESESE         {Inst ream    Beginning Point)

PURPOSE AND
PERIOD OF USE:            PURPOSE OF USE                          PERIOD OF USE               QUANTITY
                          Stockwater                              01-01 TO 12-31              0.02 CFS



PLACE OF USE:             Stockwater                                                 Within Washington County
                             TllN R04W S01                 NWNW
                                              s02          NENE                        SWNE
                                                           SENE
                             Tl2N R04W S35                 SENE                        NESE
                                                           SESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                              THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                           DETERMINATION OF HISTORICAL BENEFICIAL USE.
                              THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                           NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                           ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                           DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                           ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6)


                                                         RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is her~by CERTIFIED, in accordance
with Rule 54 {bl, I .R c. P., that the court has determined that there is no just reason for ::le lay of the entry of a
final judgment and that the court has and does hereby direct that the a ve judgment or order shall be a final
judgment upon which ,;,xecution may issue and an appeal may be taken asp vided by the Ida~o Appellate Rules.




                                                                                    Melanson
                                                                                 ding Judge of the              6
                                                                            Snake River Basin AdJud1cation




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                            PAGE l
Water Right 67-12401      File Number: 00063                                                                         May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 64 of 193
                                                                                                    2004 MAY 06 PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54(b) FOR
Case No. 39576
                                                   Water Right 67-12740




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  CRANE CREEK      TRIBUTARY: WEISER RIVER

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      Tl2N R02W Sl 9 LOT 2     (SWSWNW)        (Instream Ending Point)      Within Washington County
                                                   NWNESW         (Instream Beginning Point}

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                      PERIOD OF USE          QUANTITY
                         Stockwater                          01-01 TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                           Within Washington County
                            T12N R02W S19 LOT 2      (SWNW)                      NESW
                                          LOT        (NWSW)

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY ?OR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6)


                                                    RULE 54(b) CERTIFICATE

       With respect to the issues det2rmined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the   ove judgment or order shal L b~ :1. f.1.nal
judgment upon which execution may issue and an appeal may be taken as   ovided by the Idaho Appel'.ate Rules.




                                                                       Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(bl                                                                     PAGE l
Water Right 67-12740      File Number: 00063                                                                  May-06-2004
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 65 of 193
                                                                                                    2004 MAY 06  PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    F'ILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


 In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P, 54(b) FOR
 Case No. 39576
                                                   Water Right 67-12741




 NAME AND ADDRESS:        USDI SLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WA.Y
                          BOISE, ID 83709-1657

 SOURCE:                  CRANE CREEK     TRIBUTARY: WEISER RIVER

QUANTITY:                 0.02   CFS

                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                           GALLONS PER DAY.

 PRIORITY DATE:           06/28/1934

 POINT OF DIVERSION:      Tl2N R03W S25            NWNENW        (Instream Beginning Point) Within Washington County
                                                   SESESW        (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stoc:kwater                                         Within Washington County
                            Tl2N R03W S25            NENW                      SENW
                                                     NESW                      SESW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUAN'I'ITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.    I.C. SECTION 42-1412(6).


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule S4(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon wh1ch execution may issue and an appeal may be taken as   ovided by the Idaho Appellate Rule$.




                                                                                          che
                                                                          e River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. S4{b)                                                                   PAGE l
Water Right 67-12741      File Number: 00063                                                                May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 66 of 193
                                                                                                       2004 MAY 06  PM 02:00
                                                                                                       DISTRICT COURT - SRBA
                                                                                                       TWIN FALLS CO., IDAHO
                                                                                                       FILED _ _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE 011 IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                          PARTIAL DECREE PURSUANT TO
                                                    I.R.C.P. 54(b) FOR
Case No. 39576
                                                     Water Right 67-12743




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM        1'RIBUTARY: CRANE CREEK

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE,           06/28/1934

POINT OF DIVERSION:      TllN R03W SOS               NESENE         (Instream Beginning Point) Within Washing~on County
                                   S07               NENWNE         (Instream Ending Point}

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                        PERIOD OF USE             QUANTITY
                         Stockwater                            01-01 TO 12-31            0.02 CFS



PLACE OF USE:            Stockwater                                             Within Washington County
                            TllN R03W SOS               NWNE                      SWNE
                                                        $ENE                      NENW
                                                        SWNW                      SENW
                                                        NWSW                      SWSW
                                         S06            SESE
                                         S07            NENE                      NWNE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL [IECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE: DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.   I.C. SECTION 42-1412(6).


                                                      RULE 54(b) CERTIFICATE

       With i·espect to the issues determine,d by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule s.i,b\, I.R.C.P., that the court tias determined that there is no just r~ason for delay of the entry of a
final judgment and that the court has and C1oes hereby direct that the    ave judgment or order shall be a final
judgment upon which execution may issue anCI an appeal may be taken as    ovided by the Idaho Appellate Rules.




                                                                         Joh  M. Melanson
                                                                            siding Judge of
                                                                         Snake River Basin Adjudication




SRBA PARTIA~ DECREE PURSUANT TO I.R.C.P. 54(b)                                                                       PAGE l
Water Right 67-12743      File Number: 00063                                                                    May-06-2004
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 67 of 193
                                                                                                              2004 MAY 06 PM 02:00
                                                                                                              DISTRICT COURT - SRBA
                                                                                                              TWIN FALLS CO., IDAHO
                                                                                                              FILED _ _ _ _ _ _ __
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OP IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


 In Re SRBA                                             PARTIAL DECREE PURSUANT TO
                                                        I.R.C.P. 54(b) FOR
Case No. 39576
                                                         Water Right 67-t2744




NAME AND AD.DRESS:        USDI BLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WA1
                          BOISE, ID 83709-1657

SOURCE:                   UNNAMED STREAM           TRIBUTARY: CRANE CREEI<

QUANTITY:                 0.02   CFS

                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED l3, 000
                           GALLONS PER DAY .

PRIORITY DATE:            06/28/1934

POINT OF DIVERSION:       Tl2N R03W S29                  SESENW         {Instream Beginning Point) Within Washington County
                                       S33               SESESW         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:            PURPOSE OF USE                           PERIOD OF USE               QUANTITY
                          Stockwater                               01-01 TO 12-31              O.C2 CFS


PLACE OF USE:             Stockwater                                                Within Washington County
                             Tl2N R03W S29                  SWNE                       SENW
                                                            NWSE                       SWSE
                                                            SESE
                                             S32            NENE                      SEN!::
                                             S33            SWNW                      NESW
                                                            NWSW                      SESW

OTHER PROVISIONS NECESSARY FOR DEFINITION JR ADMINISTRATION OF THIS WATER RIGHT:

                              THE QUANTITY JF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                           DETERMINATION OF HISTORICAL BENEFICIAL USE.
                              THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                           NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                           ADMINISTRATtON OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                           DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                           ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412 (5i


                                                         RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it 1s hereby CERTIFIED, in accordance
with Rule 54(b/, I.R.C.P,, that the court has determined that there is no just reason for delay of the entry of a
final Judgment and that the court has and does hereby direct that the a ave Judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken asp vided by the Idaho Appellate Rules.


                                                                                                          r
                                                                                                     the
                                                                             Snake River Basin Adjudication




SRBA PARTIAL DECREE PUR.SUANT TO I.R.C,P. 54(b)                                                                            PAGE l
Water Right 67-12744       File Number: 00063                                                                         May-06-2004
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 68 of 193
                                                                                                                2004 MAY 06 PM 02:00
                                                                                                                DISTRICT COURT - SRBA
                                                                                                                TWIN FALLS CO., IDAHO
                                                                                                                FILED
                                   IN THE DIS1'RICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                       STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


 In Re SRBA                                              PARTIAL DECREE PURSUANT TO
                                                         I.R.C.P. 54(b) FOR
case No. 39576
                                                         Water Right 67-12745




NAME AND ADDRESS:           USO! BLM
                            IDAHO STATE OFFICE
                            1387 S VINNELL WAY
                            BOISE, ID 83709· 1657

SOURCE:                     UNNAMED STREAMS       TRIBUTARY: CRANE CREEK

QUANTITY:                   0.02   CFS

                                THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                             GALLONS PER DAY.

PRIORITY DATE:              06/28/1934

POINT OF DIVERSION:         TUN R03W S03 LO"~ 3          (NWNENW)        (Instream    Ending Point)       Within Washington County
                                                          NENESE         (Inst.ream   Ending Point)
                            Tl2N R03W S33                 NWNESE         (Instream    Beginning Point)
                                                          SWSESE         (Instream    Beginning Point}

PURPOSE AND
PERIOD OF USE:             PURPOSE OF USE                           PERIOD OF USE              QUANTITY
                           Stockwater                               01-01 TO 12-31             0.02 CFS


PLACE OF USE:              Stockwater                                              Within Washington County
                              TUN ROJW S03 LOT             {NWNE}
                                                     '      SBNE             LOT 3
                                                                                      SWNE
                                                                                     (NENW)
                                                LOT 4      {NWNW)                     NESE
                                            S04 LOT 1      (NENE)
                               T12N R03W S33                NESE                        SESE
                                            S34             NWSW                        $WSW
                                                            SESW

OTHER PROVtSIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                               THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                            DETERMINATION OP HISTORICAL BENEFICIAL USE.
                               THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                            NECESSARY FOR THE DEFnlITION OF THE RIGHTS OR FOR THE EFFIC!t::NT
                            ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                            DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                            ENTRY OF A FINA!.. UNIFIED DECREE. I.C. SECTION '12·1412(6).


                                                          RULE 54 {b) CERTIFICATE

         With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
w1th Rule 54(bl, I.R.C.P., that the court. has determined that there is no just reason for delay of the entry of a
f:~al Judgment. and that the court. has and does hereby direct that the   ove judgment or order shall be a final
J'.:dgment upon which execution may issue and an appeal may be taken as   ovided by the Idaho Appellate Rules.




                                                                                 iding Judge of the
                                                                             Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I. R. C. P. S4 (b)                                                                            PAGE 1
Water Right 67-12745      File Number, 00063                                                                             May-06-2004
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 69 of 193
                                                                                                    2004 MAY 06 PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED _ _ _ _ _ _ __
                                  IN THE DISTRtCT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                      STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


 In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                  I.R,C.P. 54{b) FOR
Case No. 39576
                                                   Water Right 67-12746




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID B3709-1657

SOURCE:                   COUGAR CANYON     TRIBUTARY: CRANE CREEK

QUANTITY:                 0. 02   CFS

                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                           GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      T12N R03W S28            NWNWNW         {Instream Beginning Point) Within Washington County
                                                  SENESW         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stockwater                                          Wlthin Washington County
                            T12N R03W S28            NWNW                      SWNW
                                                     SENW                      NESW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 4.2-1412(6).


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be·a final
judgment upon which execution may issue and an appeal may be taken as pr vided by the Idaho Appellate Rules .




                                                                          . e Riv~r Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54{b)                                                                   PAGE 1
Water Right 67-12746      File Number: 00063                                                                May-06-2004
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 70 of 193
                                                                                                    2004 MAY 06 PM 02:00
                                                                                                    DISTRICT COURT - SRSA
                                                                                                    TWIN FALLS CO., IDAAO
                                                                                                    FILED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54(bl FOR
Case No.    39576
                                                   Water ~ight 57-12747




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  COUGAR CANYON      TRIBUTARY: CRANE CREEK

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      TllN ROJW S34            NWNENW         (Instream Beginning Point)   Within Washington County
                         Tl2N R03W S34            SWNENW         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                          Within Washington County
                            T12N ROJW 534            NENW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS ~SMAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412{6).



                                                   RULE 54 (b)   CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the a ave judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken asp vided by the Idaho Appellate Rules.




                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b}                                                                    PAGE 1
Water Right 67-12747      File Number, 00063                                                                 May-06-2004
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 71 of 193
                                                                                                      ioo4 MAY 06 PM 02:00
                                                                                                      OISTRICT COURT - SRBA
                                                                                                      TWIN FALLS CO., IDAHO
                                                                                                      FILED
                                  IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                      STATE OF IDAHO, IN ANO FOR THE COUNTY OF TWIN FALLS


 In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                   I.R.C.P. 54(b) FOR
 Case No. 39576
                                                   Water Right 67-12748




 NAME ANO ADDRESS,        USDI BLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657

 SOURCE:                  COUGAR CANYON    TRIBUTARY: CRANE CREEK

                           . 02   CFS

                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                           GALLONS PER DAY.

PRIORITY DATE:            06/28/1934

POINT OF DIVERSION:       TllN R03W S03 LOT 2      (NENWNE)        (Instream Beginning Point) Within Washington County
                                                    NWSENE         {Instream Ending Point)

PURPOSE AND
PERIOD OF USE:            PURPOSE OF USE                      PERIOD OF USE          QUANTITY
                          Stockwater                          01-01 TO 12-31         0.02 CFS


PLACE OF USE:             Stockwater                                           Within Washington County
                             TllN RO)W S03 LOT l      (NENE)           LOT 2     (NWNE)
                                                       SENE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE OEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE   I.C. SECTION 42-1412(6).


                                                    RULE 54(bl CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court ha$ determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby din:>ct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken asp vided by the Idaho Appellate Rules.




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                     PAGE l
Water Right 67-12748      File Number: 00063                                                                  May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 72 of 193
                                                                                                      2004 MAY 06 PM 02:00
                                                                                                      DISTRICT COURT - SRBA
                                                                                                      TWIN FALLS CO., IDAHO
                                                                                                      FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54(b) FOR
case No. 39576
                                                   Water Right 67-12749




NAME AND ADDRESS:         USDI SLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657

SOURCE,                   UNNAMED STREAM     TRIBUTARY: CRANE CREEK

QUANTITY:                 0.02   CFS

                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCE€D 13,000
                           GALLONS PER DAY.

PRIORITY DATE:            06/28/1934

POINT OF DIVERSION:       TllN R03W S07           NENWNE        (Instream Ending Point.)        Within Washington County
                          T12N R03W S31           NENENW        (Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:            PURPOSE OF USE                   PERIOD OF USE             QUANTITY
                          Stockwater                       01-01 TO 12-31            0.02 CFS


PLACE OF USE:             Stockwater                                        Within Washington County
                             TllN R03W S06 LC7       {NENE}         LOT 2     (NWNE)
                                                      SWNE                     SENE
                                                      NESE                     NWSE
                                                      SWSE
                                       S07            NWNE
                             Tl2N RQ3W S31            NWNE                    SWNE
                                                      NENW                    NWSE
                                                      SWSE                    SESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT,

                              THE QUANTITY OP WATER DECREED FOR THIS WATER RIGHT IS NOT A
                           DETERMINATION OF HISTORICAL BENEFICIAL USE.
                              THIS PARTIAL D~CREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                           NECESSARY FOR THE 8EFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                           ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                           DETERMINED BY THE ,~·'.:URT AT A POINT IN TIME NO LATER THAN THE
                           ENTRY OF A FINAL UNIFIED DECREE.      I.C. SECTION 42-1412(6).


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determ11~~--:. :JY the above judgment or order, it is hereby CERTIFIED, in accordanc~
with Rule 54 (b), I. R .C. P., that the court ha~ jecermined that there is nQ just reason for delay of the entry of a
final judgment and that. the court has and i·~s hereby direct that the a ove judgment or order shall be a final
judgment. upon which execution may issue ar:.i .,:--. app""!al may be taken as ovided by the Idaho Appellate Rules.




                                                                           M. Melanson
                                                                         siding Judge of the
                                                                      Snake River Basin AdJudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54 ,b,                                                                     PAGE 1
Water Right 67-12749      File Nuntber: 00063                                                                  May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 732004
                                                                        of 193
                                                                           MAY 06                               PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED _ _ _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN ANO FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                       PARTIAL DECREE PURSUA.."IT TO
                                                 I.R.C.P. 54{b) FOR
Case No. 39576
                                                  Water Right 67-12750




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE,                  STAR BUTTE CREEK    TRIBUTARY: CRANE CREEK

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      Tl2N R03W S23           NESESE          ( Inst ream Ending Point)    Within Washington County
                                                 NWSESE          (Instream Beginning Point}

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                          Within Washington County
                            T12N R03W S23            SESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).



                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determ1ned that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the   ove judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as   ovided by the Idaho Appellate Rules.




                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(bl                                                                    PAGE l
Water Right 67-12750      File Number: 00063                                                                 May-06-2004
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 74 of 193
                                                                                                      2004 MAY 06 PM 02,00
                                                                                                      DISTRICT COURT - SRBA
                                                                                                      TWIN FALLS CO., IDAHO
                                                                                                      FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FAI,,LS


 In Re SRBA                                      PARTIAL DECREE PURSUANT TO
                                                 I,R.C.P. 54{b) FOR
Case No. 39576
                                                 Water Right 67-12751




NAME AND ADDRESS:         USDI BLM
                          IDAHO STATE OFFICE
                          1387 S V!NNELL WAY
                          BOISE, ID 83709-1657

SOURCE:                   UNNAMED STREAMS   TRIBUTARY, COVE CREEK
                          COVE CREEK   TRIBUTARY: WEISER RIVER

QUANTITY:                 0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:            06/28/1934

POINT OF DIVERSION:       TllN R03W S33          SENENW            (Instream   Beginning Point) Within Washington County
                                                 NWS\olSE          (Instream   Ending Point)
                                                 SilSj,j'SE        (Instream   Ending Point)
                                                 SWSESE            {Instream   Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                       PERIOD OF USE             QUANTITY
                         Stoc:kwater                          01-01 TO 12-31            0.02 CFS


PLACE OF USE:            Stockwater                                            Within Washinston county
                            TllN R03W S3 3           SWNE                        NENW
                                                     SENW                        NWSE
                                                     SWSE                        SESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT,

                             THE QUANTITY OF WATER ~ECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION ~F THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                  R~LE 54(b) CERTIFICATE

       With respect to the issues deterrn:ned by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the cour: has jeter~ined that there is no just reason for delay of the entry aE a
final judgment and that the court has ar.d J~es hereby direct that the above judgment or order shall be a final
judgment upon which e~ec:ution may issue and an appeal may be taken as rovided by tbe Idaho Appellate Rules.




                                                                                              the
                                                                       Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(bl                                                                      PAGE 1
Water Right 67·12751      File Number: 00063                                                                   May-06-2004
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 75 of 193
                                                                                                    2004 MAY 06 PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN PALLS CO., IDA.HO
                                                                                                    FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OP THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54(b) FOR
Case Na. 39576
                                                   Water Right 67-12752




NAME AND ADDRESS :        USDI SLM
                          IOAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM      TRIBUTARY: CRANE CREEK

QUANTITY,                 0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:            06/28/1934

POINT OF DIVERSION:      Tl2N R03W S35            NESESE         {Instream Beginning Point) Within Washington County
                                                  NWSESE         ( Inst ream Ending Point)

PURPOSE ANO
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0. 02 CFS


PLACE OF USE:             Stockwater                                         Within Washington County
                             Tl2N R03W S35           SESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERM!NED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                   RULE 54(b} CERTIFICATE

       With respect to the issue$ determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and doe$ hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as rovided by the Idaho Appellate Rules.




                                                                      nake River Basin Adjudication




SRBA PARTIAL DECRBB PURSUANT TO I.R.C.~. 54(b)                                                                    PAGE l
Water Right 67-12752      File Number: 00063                                                                 May-06-2004
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 76 of 193
                                                                                                           2004 MAY 06 PM 02:00
                                                                                                           DISTRICT COURT· SRBA
                                                                                                           TWIN FALLS CO., IDAHO
                                                                                                           FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                              PARTIAL DECREE PURSUANT TO
                                                        I.R.C.P. 54(b) FOR
case No. 39576
                                                         Wacer Righc 67·12753




NAME AND ADDRESS:         USDI BLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657

SOURCE,                   DEAD MAN GULCH           TRIBUTARY: CRANE CREEK

QUANTITY:                 0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      TllN RO)W S06 LOT 3            (NWNENW)        (Instream Beginning Point) Within Washington County
                                       S07              NWNWNE          (Instream Ending Point}

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                            PERIOD OF USE          QUANTITY
                         Stockwater                                Ol·Ol TO 12·31         0.02 CFS


PLACE OF USE:            Stockwater                                                 Within Washington County
                            TllN R03W S06 LOT 3            (NENW}                     SENW
                                                            NESW                      SESW
                                             S07           NWNE                       NENW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT rs NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                         RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the bove judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as rovided by the Idaho Appellate Rules.




                                                                                    Melanson
                                                                               siding Judge of
                                                                            Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                           PAGE 1
Water Right 67•12753      File Number, 00063                                                                        May·06·2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 77  of 193
                                                                     2004 MAY 06                                 PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54(bl FOR
Case No. 39576
                                                   Water Right 67-12754




NAME AND ADDRESS;        USO! SLM
                         IDAHO STATE OFFICE
                         1387 S V!NNELL WAY
                         BOISE, ID 33709-1657

SOURCE:                  CRANE CREEK      TRIBUTARY: WEISER RIVER

QUANTITY:                 .02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      TllN R03W 507            SENENW         (Instream Ending Point}      Within Washington County
                                                  SENENW         (Instream Beginning Point}

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS


PLACE OF USE,            Stockwater                                          Within Washington County
                            TllN R03W S07            NENW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, 1n accordance
with Rule 54(bl, I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the bove judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as rovided by the Idaho Appellate Rules.




                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. S4(b)                                                                    PAGE l
Water Right 67-12754      File Number: 00063                                                                 May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 78 of 193
                                                                                                   2004 MAY 06 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED _ _ _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
case No. 39S76
                                                  Water Right 6/-1277S




NAME AND ADDRESS:        USOI BLM
                         IDAHO STATE OFFICE
                         13B7 S VINNELL WAY
                         BOISE. ID B3709-1657

SOURCE:                  UNNAMED STREAM     TRIBUTARY: CRANE CREEK

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT JF DIVERSION:      T12N R02W S32           NWNWNW         {Instream Ending Point)      Within Washington County
                                                 NWNWNW         (Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                    PERIOD OF USE          QUANTITY
                         Stockwater                        01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stockwater                                         Within Washington County
                            Tl2N R02W S32           NWNW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 12-1412(6).


                                                  RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final Judgment and that the court has and does hereby direct that the ab ve judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr vided by the Idaho Appellate Rules.




                                                                                        the
                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                   PAGE l
Water Right 67·12775      File Number: 00063                                                                May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 79 of 193
                                                                                                     2004 MAY 06 PM 02:00
                                                                                                     DISTRICT COURT - SRBA
                                                                                                     TWIN FALLS CO., IDAHO
                                                                                                     FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE 01~ IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
Case No. 39576
                                                  Water Right 67-12809




NAME AND ADDRESS :       USDI BLM
                         IDAHO STATE OFFIC:::
                         1387 S V!NNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM     ·rRIBUTARY: SOUTH CRANE CREEK

QUANTITY:                0. 02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      TllN R02W S35            SWSWNE         {Instream Beginning Point) Within Washington County
                                                  NESENW         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-0l TO 12-31         0. 02 CFS


PLACE OF USE,            Stockwater                                          Within Washington County
                            TllN R02W S35            SWNE                       SENW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT,

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                   RULE 54/b} CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54{b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the ab ve judgment or order shall be a final
judgment :..ipon which execution may issue and an appeal may be taken as pr 1ded by the Idaho Appellate Rules.




                                                                             ing .;;.idge of the
                                                                             Ri·:~r Ba.sin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P, 54\b)                                                                     PAGE 1
Water Right 67-12809      File Number: 00063                                                                  May-06-2004
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 80 of 193
                                                                       2004 MAY 06                                PM 02:00
                                                                                                     DISTRICT COURT - SRBA
                                                                                                     TWIN FALLS CO. , IDAHO
                                                                                                     FILED _ _ _ _ _ __
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
case No. 39576
                                                 Water Right 67-12810




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM     TRIBUTARY: SOUTH CRANE CREEK

QUANTITY:                0. 02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      TllN R02W S35            SWNESE         (Instream Ending Point)        Within Washington County
                                                  NENESE         (Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                          Within Washington County
                            TllN R02W S35            NESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54{b), l.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as rovided by the Idaho Appellate Rules.




                                                                                          the
                                                                         ke River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. S4(b)                                                                      PAGE l
Water Right 67-12810      File Number: 00063                                                                   May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 81 of 193

                                                                         DISTRIGT c,JURT-SRSA
                               IN THE DISTRICT COURT OF THE FIFTH      J~WHJ cfi"trk.:l.d3 ~ I}~~ ID A:-IO
                                   STATE OF IDAHO, IN AND FOR THE      co'f'H.~'b T_w_1N_F_A_L_Ls_ _ _ __

In Re SRBA                                        PARTIAL DECREE
                                                  I.R.C.P. 54(b)                            Pn 2 27
Case No. 39576
                                                  Water Right 67 12841




NAME AND ADDRESS:       USO! BLM
                        IDAHO STATE OFFICE
                        1387 S VINNELL WAY
                        BOISE, ID 83709-1657

SOURCE:                 UNNAMED STREAM                        TRIBUTARY, CRANE CREEK

QUANTITY,               1.00   AFY

                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.

PRIORITY DATE:          01/01/1957

POINT OF DIVERSION:      TllN R02W S06 LOT 1      (SWNENE}         Within Washington County
                                                   NWSENE

PURPOSE AND
PERIOD OF USE:          PURPOSE OF USE                       PERIOD OF USE          QUANTITY
                        Stockwater from Storage              01-01 TO 12-31         1.00 AFY
                        Stockwater Storage                   01-01 TO 12-31         1.00 AFY



PLACE OF USE,            Stockwater Storage                                   Within Washington County
                            TllN R02W S06 LOT 1      (NENE)                      SENE

                         Stockwater from Storage                              Within Washington County
                            TllN R02W S06 LOT 1      {NENE)                      SENE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT,

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY ~E ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                    RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as provided by the Idaho Appellate Rules.




                                                                         ~v~.
                                                                       Ro~ick
                                                                       Presiding Judge of the
                                                                       Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                    PAGE 1
Water Right 67-12841      File Number, 00070                                                                 Jan-28-2003
               Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 82  ofMAY
                                                                       2004  19306                                  PM 02:00
                                                                                                       DISTRICT COURT· SRBA
                                                                                                       TWIN FALLS CO., IDAHO
                                                                                                       FILED _ _ _ _ _ _ __
                                IN THE DIST:UCT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OP IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                          PARTIAL DECREE PURSUANT TO
                                                    I.R.C.P. 54{b) FOR
Case No.    39576
                                                    Water Right 67-13009




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFIC::
                         1387 S VINNELL WAY
                         BOISE, ID  83709-1657

SOURCE:                  DEAD MAN GULCH     •rRIBUTARY: CRANE CREEK


QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      Tl2N R03W SJl LOT 4        (NWSWSW}        (Instream Beginning Point}    Within Washington County
                                       LOT 4        (SWSWSW)        (Instream Ending Point)


PURPOSE ANO
PERIOD OF USE:           PURPOSE OF USE                        PERIOD OF USE          QUANTITY
                         Stockwater                            01-0l TO 12-31         0.02  CFS



PLACE ·'.JF USE:         Stockwater                                             Within Washington County
                            Tl2N RO]W S]l   WOT 4      (SWSW)

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL l)ECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR TH::: DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY TH::: COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.    I.C. SECTION 42-1412(6).



                                                     RULE 54{b}     CERTIFICATE

       With respect to the issues determin,!d by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule S4!b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and ,ioes hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as p   vided by the Idaho Appellate Rules.




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. S•Hb)                                                                        PAGE 1
Water Right 67-13008      File Number, ooo,;J                                                                    May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 83  ofMAY
                                                                     2004  19306                                   PM 02:00
                                                                                                      DISTRICT COURT - SRBA
                                                                                                      TWIN FALLS CO., IDAHO
                                                                                                      FILED _ _ _ _ _ _ __
                                IN THE DISTRICT COUR~ OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                        ?ARTIAL DECREE PURSUANT TO
                                                  I-R.C.P. 54(b) FOR
Case No. 39576




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM    TRIBUTARY: WEISER RIVER

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934.

POINT OF DIVERSION:      Tl2N R03W S30 L01' 1     (NWNWNW)        (Instream Ending Point)       Within Washington county
                                       LOT 1      (NWNWNW)        {Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                      PERIOD OF USE           QUANTITY
                         Stockwater                          01-01 TO 12-31          0.02 CFS


PLACE OF USE:            Stockwater                                           Within Washington County
                            T12N R03W S30 LOT l      (NWNW)

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGkT IS NOT A
                          DETERMINATION OF HIS~ORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEF:N:TION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION CF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIF:EO DECREE.  I.C. SECTION 42-1412(6)


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by :he above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has de:erm1ned that there is no just reason for delay of the entry of a
final judgment and that the court has and does h~reby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr ided by the Idaho Appellate Rules.




                                                                                           the
                                                                              River Basin Adjudi~ation




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. S4(b)                                                                      PAGE l
Water Right 67-13009      File Number: OOC63                                                                   May-06-2004
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 84 of MAY
                                                                      2004 19306                                 PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                                                                                          --------
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54{b} FOR
Case No. 39576
                                                  Water Right 67-13010




NAME AND ADDRESS;        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM     TRIBUTARY: WEISER RIVER

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      Tl2N R04W S14            NENESE         (Instream Ending Point)       Within Washington County
                                                  SWSESE         (Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0 02  CFS



PLACE '.JF USE:          Stockwater                                          Within Washington County
                            Tl2N R04W Sl4            NESE                      SESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY ·JF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.   I.C. SECTION 42-1412(6)


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54 {b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the ab e Judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr 1ded by the Idaho Appellate Rules.




                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PIJRSUANT TO I.R.C.P. 54{b)                                                                    PAGE 1
Water Right 67-13010       File Number: 00063                                                                 May-06-2004
                 Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 2004
                                                                        85 of  193
                                                                             MAY 06                                 PM 02:00
                                                                                                       DISTRICT COURT - SRBA
                                                                                                       TWIN FALLS CO., IDAHO
                                                                                                       FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


 In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                   I.R.C.P. 54(b) POR
Case No. 39576
                                                    Water Right 67-13013




NAME AND ADDRESS:         USDI BLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1557

SOURCE;                   UNNAMED STREAM      TRIBUTARY: WEISER RIVER

QUANTITY:                 0.02   CFS

                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                           GALLONS PER DAY.

PRIORITY DATE:            06/28/1934

POINT OF DIVERSION:       Tl2N R04W S23            NWNESW         (Instream Ending Point)        Within Washington County
                                                   NENWSE         (Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:            PURPOSE OF USE                     PERIOD OF USE           QUANTITY
                          Stockwater                         01-01 TO 12-31          0.02 CFS


PLACE OF USE:             Stockwater                                          Within Washington County
                             T12N R04W S2 3           NESW                       NWSE

OTHER PROVISIONS NECESSARY FOR DEFINITION 0~ ADMINISTRATION OF THIS WATER RIGHT:

                              THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                           DETERMINATION OF EISTORICAL BENEFICIAL USE.
                              THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                           NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                           ADMINISTRATION OF THE WATER RIGHT$ AS MAY BE ULTIMATELY
                           DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                           ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                    RULE 54{b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54 (b), I. R. C. P., that the court ha,s determined that there is no just reason for delay of the entry of a
final judgment and chat the court has and does hereby direct that the ab ve judgment or order shall be a final
                                                                                                                               !
judgment upon which execution may issue and an appeal may be taken as pr ided by the Idaho Appellate Rules.
                                                                                                                               I


                                                                                                       0- -
                                                                                           the           6
                                                                              River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P 541b)                                                                        PAGE 1
Water Right 67-13013      File Number, 0006.:1                                                                  May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 862004
                                                                       of 193
                                                                           MAY 06                                PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
case No. 39576
                                                  Water Right 67-13015




NAME AND ADDRESS:        USOI SLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM     TRIBUTARY: WEISER RIVER

QUANTITY:                0. 02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      T12N R04W S27            SENWNE         (Instream Beginning Point) Within Washington County
                                                  SENWNE         {Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                          Within Washington County
                            Tl2N R04W S27            NWNE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINI3TRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                  RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54{b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the ab e judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr ided by the Idaho Appellate Rules.

                                                                                              r
                                                                              Melanson
                                                                            ing Judge of the
                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                    PAGE 1
Water Right 67-13015      File Number: 00063                                                                 May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 87 of 193


                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
Case No. 39576
                                                 Water Right 67-13085




NAME AND ADDRESS:       USDI BLM
                        IDAHO STATE OFFICE
                        1387 S VINNELL WAY
                        BOISE, ID 83709-1657

SOURCE:                  SOUTH CRANE CREEK    TRIBUTARY: CRANE CREEK

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           05/01/1957

POINT OF DIVERSION:      TllN R02W S28            SESESE     Within Washington County

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                          Within Washington County
                            TUN R02W S28             SESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(bl, 1.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the abo e judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pro ided by the Idaho Appellate Rules.




                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                               PAGE 1
Water Right 67-13085      File Number: 00063                                                            Nov-16-2004
   Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 88 of 193


                                IN ·THE DISTRICT coURT ·oF· THE F.IF'I'H JUilicIAL DisTRICT OF THE
                                     STAT.E OF IDAHO, IN _AND FOR THE ·coUNTY OF ~WIN, FALLS.

                                                          .AMENDED
~n Re SRBA                )                       PARTIAL.DECREE P:cm.SuAN,r-"'6--
                         ,J                       I,R.CO.P. 54 (b) FOR                 r.oli1ssTii.Rcii1ir:c~T'rc:;;o:;;uc;R;::T;::•.,.·...:···_.c.___.·_.- -
case No. 39576.           )
                                                   Water Right. 6_7-13086
                                                                                              Fifth J . .
                                                                                 County of Tw· utc,a/ District .     .·
                                                                                                                                -SRBA                    l.
-----~---->

NAME_AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                        _1387 S VINNELL WAY
                         ~OISE, .ID 8370~-1657

                        . SOUTH_ CRANE CJµ;EK   TRIBUTARY: CRANE
                                                                          i By
                                                                                 · r         in alls - State of Id h



                                                                                    / MAR 3 O 2DJO
                                                                                                                    0


                                                                                                                                      t              _,. I
SOURCE:
                                                                                                                                            Clerk
QUANTITY:                0.02   CFS                                 CRBEi=======:=====                                                        /erk
                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          G~LONS PER DAY.·

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:     . TUN R02W .S28            SWNWSE. (Instream Ep.ding· Point)  Within washingt_on county
                                                   NWNWSE (In.stream Beginning Point)

PURPOSE AND
PERIOD OF. USE:          PURPOSE OF USE                       PERIOD OF USE          QUANTITY
                         Stockwater                           01-01 TO 12-31         0. 02 CFS



PLACE OF USE:           . Stockwater                                           Within Washington County
                             TllN R02W S28            ,NWSE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                              THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          ·DETERMINATION OF HISTORICAL BENEFICIAL USE.
                              THIS PARTIAL DECREE IS.SUBJECT TO SUCH GENERAL PROVISIONS
                           NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         . ADMINISTRATION OF THE WATER RIGHTS AS MAY. BE ULTIMATELY
                           DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                           ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                    RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54.(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has an~ does·hereby direct that the         ==::.a-,;...~=--'':ler shall be a final
judgment upon whiCh execution may issue and an appeal may be taken as provide




                                                                         Eric J.   ldman
                                                                         Presiding Judge of the
                                                                         snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. ·54{b)                                                                                                      PAGE_l.
Water Right_ 67:-l.3086   File Number: 00063                                                                                                    Mar-30-201.0
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 89 of 193
                                                                                                         2004 MA¥ 06 PM 02:00
                                                                                                         DISTRICT COURT - SRBA
                                                                                                         TWIN FALLS CO., IDA.HO
                                                                                                         FILED
                                   IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                       STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                          PARTIAL DECREE PURSUANT TO
                                                    I.R.C.P, 54(b) FOR
Case No. 39576
                                                     Water Right 67-13140




NAME AND ADDRESS:          USDI BLM
                           IDAHO STATE OFFICE
                           1387 S VINNELL WAY
                           BOISE, ID 83709-1557

SOURCE:                    CRANE CREEK      TRIBUTARY: WEISER RIVER

QUANTITY:                  o. 02   CFS

                               THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                            GALLONS PER DAY

PRIORITY DATE:             06/28/1934

POINT OF DIVERSION:       TllN ROJW SlO             SWNWNW         {Instream Ending Point)         Within Washington County
                          Tl2N R()JW S35            SENENE         (Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:            PURPOSE OF USE                      PERIOD OF USE             QUANTITY
                          Stockwater                          01-01 TO 12-31            0.02 CFS


PLACE OF USE:              Stockwater                                          Within Washington County
                              TllN R03W S02            NWNE                      NENW
                                                       NWNW                      SWNW
                                                       SENE                      SWSW
                                                       SESW                      NESE
                                                       NWSE                      SWSE
                                           $10         NWNW
                              Tl2N ROJW S35            NENE                      SENE
                                                       NESE                      SWSE
                                                       SESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                              THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                           DETERMINATION OF HISTORICAL BENEFICIAL USE.
                              THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                           NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                           ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                           DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                           ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                     RULE 54(b} CERTIFICATE

        With respect to the issues detet·mined by the above judgment or order, it is hereby CERTIFIED, in ac::::,Jr-jance
with RulE! 54(bl, I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the ab ve judgment or order shall be a final
judgment upon which execution may issut'! and an appeal may be taken as pr ided by the Idaho Appellate Rules




                                                                       Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                         PAGE l
Water Right 67~13140      File Number, 00063                                                                      May-06-2004
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 90 of 193
                                                                                                       2004 MAY 06 PM 02:00
                                                                                                       DISTRICT COURT - SRBA
                                                                                                       TWIN FALLS CO., IDAHO
                                                                                                       FILED _ _ _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                           PARTIAL DECREE PURSUANT TO
                                                     I.R.C.P. 54(b) FOR
Case No. 39576
                                                      Water Right 67-13141




NAME AND ADDRESS:        USOI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  COVE CREEK         TRIBUTARY: WEISER RIVER

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      TllN R03\ti' S33            NENWNE         (Instream Beginning Point) Within Washington County
                                                     SENENW         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                        PERIOD OF USE          QUANTITY
                         Stockwater                            01-01 TO 12-31         0.02 CFS


PLACfi: OF USE:          Stockwater                                             Within Washington County
                            TllN R03W S33               NWNE                      NENW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAI, UNIFIED DECREE. I.C. SECTION 42-1412 (6).


                                                      RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b}, t.R.C.P., that the court has determined that there is no ·ust reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the abo   judgm~nt or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pro ded by the Idaho Appellate Rules.




                                                                                             the
                                                                        Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                       PAGE l
Water Right 67-13141      File Number: 00063                                                                    May-06-2004
              Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 91 of 193
                                                                                                    2004 MAY 06 PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED
                                  IN THE DISTRICT COURT OF THE FIFTH J'UDICIAL DISTRICT OF THE
                                      STATE OF IDAHO, IN ANO FOR THE COUNTY OF TWIN FALLS


 In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54(b) FOR
Case No. 39576
                                                   Water Right 67-13142




NAME AND ADDRESS :        USDI BLM
                          IDAHO STATE OFFICE
                          1387 S VINNELL WAY
                          BOISE, ID 83709-1657

SOURCE:                   UNNAMED STREAM     TRIBUTARY, COVE ClEEK

QUANTITY:                 0. 02   CFS

                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                           GALLONS PER DAY.

PRIORITY DATE:            06/28/1934

POINT OF DIVERSION:       TllN R03W S25           SENESW         (Instream Beginning Point) Within Washington County
                                                  NENWSW         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE,           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12~31         0.02 CFS


PLACE OF USE:             Stockwater                                         Within Washington County
                             TllN R03W S25           NESW                      NWSW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION Of THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY TH£ COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6).


                                                   RULE 54(bl CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entcy of a
final judgment and that the court has and does hereby direct that the abo e judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr ided by the Idaho Appellate Rul~s




                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54{b}                                                                   PAGE 1
Water Right 67-13142      File Number: 00063                                                                May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 92 of 193
                                                                                                    2004 MAY 06 PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND POR THE COUNTY OF TWIN FALLS



In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54 (b) FOR
case No. 39576
                                                  Water Right 67-13147




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM     TRIBUTARY: CRANE CREEK

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      T12N R03W S25            NWSENE         IInstream Ending Point}      Within Washington County
                                                  NENESE         (Instream Beginning Point)

PURPOSE ANO
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                          Within Washington County
                            Tl2N R03W S25            SENE                      NESE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  r.c. SECTION 42-1412{6}.


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54{b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the abov judgment or order shall be a final
judgment upon which execution may issue and an appeal may be takan as prov ed by the Idaho Appellate Rules.




                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54{b)                                                                    PAGE 1
Water Right 67-13147      File Number: 00063                                                                 May-06-2004
                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 93 of 193
                                                                                                     2004 MAY 06 P~ 02:00
                                                                                                     DISTRICT COURT - SRBA
                                                                                                     TWIN FALLS CO., IDAHO
                                                                                                     FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                         PARTIAL DECREE PURSUANT TO
                                                   I.R.C.P. 54{b) FOR
Case No. 39576
                                                    Water Right 67-13148




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM       TRIBUTARY: CRANE CREEK

QUANTITY:                 0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION,      T12N R03W S25             SENWNE         (Instream Beginning Point) Within Washington Counry
                                                   NENWNE         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                      PERIOD OF USE          QUANTITY
                         Stockwater                          01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stockwarer                                           Within Washington County
                            T12N R'.)3W S25           NWNE

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THI3 PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIEN'I'
                          ADMINI3~RATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  !.C. SECTION 42-1412(6).


                                                    RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct rhat the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr ided by the Idaho Appellate Rules.




                                                                              River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                     PAGE l
Water Right 67-13148      File Number: 00063                                                                  May-06-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 94 of 193
                                                                                                     2004 JUN 03 PM 02:00
                                                                                                     DISTRICT COURT - SRBA
                                                                                                     TWIN FALLS CO., IDAHO
                                                                                                     FILED
                                  IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                      STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54{b) FOR
Case No. 39576
                                                   Water Right 79-11372




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  SALMON RIVER     TRIBUTARY: SNAKE RIVER

QUANTITY:                  . 02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      T26N RQlE $34 LOT 1      (SENESE)        (Instream Ending Point)      Within Idaho County
                                       LOT 2      (SWSESE}        (Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                      PERIOD OF USE          QUANTITY
                         Stockwater                          01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stoc:kwater                                          Within Idaho County
                            T26N ROlE S34 LOT l      (NESE)           LOT 2    (SESE)

OTHER PROVISIONS NECESSA..~Y FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                                                                                                                             t
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6)


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P   that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr vided by the Idaho Appellate Rules.




                                                                                          Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b}                                                                     PAGE 1
water Right 79-11372      E<ile Number: 00013                                                                 Jun-03-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 95 of 193
                                                                                                    2004 JUN OJ PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO., IDAHO
                                                                                                    FILED _ _ _ _ _ _ __
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54(b} FOR
Case No. 39576
                                                   Water Right 79-11373




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  CHINA CREEK      TRIBUTARY: SALMON RIVER

QUANTITY;                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      T26N ROlE S34             SWSENE         (Instream Beginning Point) Within Idaho County
                                          LOT 1   {SENESE)        (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                      PERIOD OF USE          QUANTITY
                         Stockwater                          01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stockwater                                           Within Idaho County
                            T26N ROlE S34             SENE           LOT 1     (NESE)

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6)


                                                   RULE 54(bl CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the ab ve judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr ided by the Idaho Appellate Rules.




                                                                                         the
                                                                      Snake River Basin Adjudication




                                                                                                                            F




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                    PAGE 1
Water Right 79-11373      File Number, 00013                                                                 Jun-03-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 96 of 193
                                                                                                    2004 JUN 03  PM 02:00
                                                                                                    DISTRICT COURT - SRBA
                                                                                                    TWIN FALLS CO,, IDAHO
                                                                                                    FILED
                                 IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                     STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS


In Re SRBA                                        PARTIAL DECREE PURSUANT TO
                                                  I,R.C.P. 54(bl FOR
Case No. 39576
                                                   Water Right 79-11374




NAME AND ADDRESS :       USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE,                  LITTLE CHINA CREEK      TRIBUTARY: CHINA CREEK

QUANTITY:                 . 02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      T26N ROLE S28             SESWNE        ( Inst ream Ending Point l   Within Idaho County
                                                   NENENW        {Instream Beginning Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS


PLACE OF USE:            Stockwater                                          Within Idaho County
                            T26N ROlE S28            NWNE                      SWNE
                                                     NENW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412{6),


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule S4ib), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the ab e judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as pr ided by the Idaho Appellate Rules.




                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54{b)                                                                    PAGE 1
Water Right 79-11374      File Number: 00013                                                                 Jun-03-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 97 of 193
                                                                                                   2004 JUN 03 PM 02:00
                                                                                                   DISTRICT COURT* SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
Case No. 39576
                                                 Water Right 79-11376




NAME AND ADDRESS:        USDI BLM
                         IDAHO STATE OFFICE
                         1387 S VINNELL WAY
                         BOISE, ID 83709-1657

SOURCE:                  UNNAMED STREAM     TRIBUTARY, LITTLE CHINA CREEK

QUANTITY:                0.02   CFS

                             THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                          GALLONS PER DAY.

PRIORITY DATE:           06/28/1934

POINT OF DIVERSION:      T26N ROlE S28            SWNWNW         (Instream Beginning Point)   Within Idaho County
                                                  NENWNW         (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         01-01 TO 12-31         0.02 CFS



PLACE OF USE:            Stockwater                                          Within Idaho County
                            T26N ROlE S28            NWNW

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                             THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                          DETERMINATION OF HISTORICAL BENEFICIAL USE.
                             THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                          NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                          ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                          DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                          ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6)


                                                  RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b}, I.R.C.P., that the courc has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above judgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken asp vided by the Idaho Appellate Rules.




                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C P. 54(b)                                                                    PAGE 1
Water Right 79-11376      File Number: 00013                                                                 Jun-03-2004
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 98  of 193
                                                                     2004 JUN 03                                PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED _ _ _ _ _ _ __
                               IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                   STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS



In Re SRBA                                       PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
Case No. 39576
                                                 Water Right 79-11756




NAME AND ADDRESS:       USDI BLM
                        IDAHO STATE OFFICE
                        1387 S VINNELL WAY
                        BOISE, ID 83709-1657

SOURCE:                 UNNA.."1ED STREAM   TRIBUTARY: SALMON RIVER

QUANTITY:               0.02   CFS

                            THE QUANTITY OF WATER UNDER THIS RIGHT SKALL NOT EXCEED 13,000
                         GALLONS PER DAY.

PRIORITY DATE:          06/28/1934

POINT OF DIVERSION;     T26N ROlE S22             SWSESE         (Instream Beginning Point) Within Idaho County
                                     S23 LOT 7   (NWSWSW}        (Instream Ending Point)

PURPOSE AND
PERIOD OF USE:          PURPOSE OF USE                      PERIOD OF USE          QUANTITY
                        Stockwater                          01-01 TO 12-31         0.02 CFS



PLACE OF USE:           Stockwater                                           Within Idaho County
                           T26N ROlE S22             SESE
                                     S23 LOT 7      (SWSW)

OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:

                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE.  I.C. SECTION 42-1412(6)


                                                   RULE 54(b) CERTIFICATE

       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule S4(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above ·udgment or order shall be a final
judgment upon which execution may issue and an appeal may be taken as provi d by the Idaho Appellate Rules.




                                                                                           the
                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                    PAGE l
                          File Number: 00013                                                                 Jun-03-2004
Water Right 79-11756
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 99 of 193

                                                                                                   2000 NOV 10 PM 02:00
                                                                                                   DISTRICT COURT - SRBA
                                                                                                   TWIN FALLS CO., IDAHO
                                                                                                   FILED _ _ _ _ __
                               IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                   STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                      PARTIAL DECREE PURSUANT TO
                                                 I.R.C.P. 54(b) FOR
__________
                          )
Case No. 39576            )
                          )
                                                   Water Right 75-11102


NAME AND ADDRESS:        USDA FOREST SERVICE
                         550 WFORT ST, MSC 033
                         BOISE, ID 83724
SOURCE:                  TOWER CREEK, NORTH FORK             TRIBUTARY: TOWER CREEK
QUANTITY:                0.02 CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/01/1876
POINT OF DIVERSION:      T24N R22E S13             SESW         (lnstream Beginning Point) Within Lemhi County
                                   S33             NENE         (Instream Ending Point)
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                     PERIOD OF USE            QUANTITY
                         Stockwater                         06-01 TO 10-31           0.02 CFS

PLACE OF USE:            Stockwater                                          Within Lemhi County
                            T24N R22E S13           swsw                      SESW
                                      S14           NESW                      NWSW
                                                    SESW                      SWSE
                                                    SESE
                                         S15        SESW                      NESE
                                                    NWSE                      SWSE
                                         S22        NWNE                      SWNE
                                                    NENW                      SESW
                                                    NWSE                      SWSE
                                         S27        NENW                      SWNW
                                                    SENW                      NWSW
                                                    swsw
                                         S33        NENE
                                         S34        NWNW.
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                   PAGE 1
Water Right 75-11102                                                                                        Nov-08-2000
         Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 100 of 193




SRBA Partial Decree Pursuant to I.R.C.P. 54(b) (continued)




                                                 RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the       ju men                l be a final
judgment upon which execution may issue and an appeal may be taken a p     aed y t                ate Rules.



                                                                Barry Wood
                                                                Administrative District Judge
                                                                Presiding Judge of the
                                                                Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                             PAGE 2
Water Right 75-11102                                                                                  Nov-08-2000
           Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 101 of 193

                                                                                                      2000 NOV 10 PM 02:00
                                                                                                      DISTRICT COURT - SRBA
                                                                                                      TWIN FALLS co., IDAHO
                                                                                                      FILED               .
                                  IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                      STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                                          PARTIAL DECREE PURSUANT TO
                                                    l.R.C.P. 54(b) FOR
Case No. 39576
                                                    Water Right 75-13808


NAME AND ADDRESS:          USDA FOREST SERVICE
                           550 W FORT ST, MSC 033
                           BOISE, 10 83724
SOURCE:                    CHUTE GULCH SPRING                 TRIBUTARY: SINKS
QUANTITY:                  0.02   CFS
                              THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                           GALLONS PER DAY.
PRIORITY DATE:             06/01/1876
POINT OF DIVERSION:        T24N R22E 519             SWSE         Within Lemhi County
PURPOSE AND
PERIOD OF USE:             PURPOSE OF USE                    PERIOD OF USE           QUANTITY
                           Stockwater                        06-01 TO 08-31          0.02 CFS

PLACE OF USE:              Stockwater                                         Within Lemhi County
                              T24N R22E 519           SWSE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                              THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                           DETERMINATION OF HISTORICAL BENEFICIAL USE.
                              THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                           NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                           ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                           DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                           ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                     RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordanc~
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a:
final judgment and that the court has and does hereby direct that the abo e judgment or order shall be a final ·
i"'9••••    "'°" ,hi,h "'''"'''" ••Y ;,,,, ••d '" OpPML ~, be t,k,o •          ,,·   "'"'J~L••• R,L,,.

                                                                       Barry Wood                     -c::::::
                                                                       Administrative District Judge
                                                                       Presiding Judge of the
                                                                       snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                        PAGE 1
Water Right 75-13808                                                                                             Nov-08-2000
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 102 of 193

                                                                                                  2000 NOV 10 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FALLS CO., IDAH6
                                                                                                  FILED                .
                               IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                   STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                       PARTIAL DECREE PURSUANT TO

__________
Case No. 39576
                          )
                          )
                          )
                                                  I.R.C.P. 54(b) FOR
                                                  Water Right 75-13813


NAME AND ADDRESS:        USDA FOREST SERVICE
                         550 W FORT ST, MSC 033
                         BOISE, 10 83724
SOURCE:                  MAGPIE SPRING                      TRIBUTARY: SINKS
QUANTITY:                0.02 CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/01/1876
POINT OF DIVERSION:      T24N R22E S17             NESW         Within Lemhi County
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                    PERIOD OF USE           QUANTITY
                         Stockwater                        06-01 TO 08-31          0.02 CFS

PLACE OF USE:            Stockwater                                         Within Lemhi County
                            T24N R22E S17           NESW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                   RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of e
final judgment and that the court has and does hereby direct that the a     'udgment r order shall be a final
judgment upon which execution may issue and an appeal may be taken as rov· ed y th Idaho A llate Rules.



                                                                     Barry Wood
                                                                     Administrative District Judge
                                                                     Presiding Judge of the
                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                  PAGE 1
Water Right 75-13813                                                                                       Nov-08-2000
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 103 of 193

                                                                                                 2000 NOV 10 PM 02:00
                                                                                                 DISTRICT COURT - SRBA
                                                                                                 TWIN FALLS CO., IDAHO
                                                                                                 FILED
                                IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE           --------"-
                                    STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                      PARTIAL DECREE PURSUANT TO
                          )                      I.R.C.P. 54(b) FOR
__________
Case No. 39576            )
                          )
                                                 Water Right 75-13822


NAME AND ADDRESS:        USDA FOREST SERVICE
                         550 WFORT ST, MSC 033
                         BOISE, ID 83724
SOURCE:                  LOWER COTTONWOOD CREEK SPRING TRIBUTARY: SINKS
QUANTITY:                0.02   CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/01/1876
POINT OF DIVERSION:      T24N R22E S17            NESE         Within Lemhi County
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE          QUANTITY
                         Stockwater                       06-01 TO 10-31         0.02 CFS

PLACE OF USE:            Stockwater                                        Within Lemhi County
                            T24N R22E S17          NESE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct that the above 'udgment o order shall be a final
judgment upon which execution may issue and an appeal may be taken asp      e b~ the daho App ate Rules.



                                                                    Barry Wood
                                                                    Administrative District Judge
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                 PAGE 1
Water Right 75-13822                                                                                      Nov-08-2000
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 104 of 193

                                                                                                  2000 DEC 29 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FA~LS CO., IDAHO
                                                                                                  FILED_..._ _ _ __
                               IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                   STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                       PARTIAL DECREE PURSUANT TO
                                                  I.R.C.P. 54(b) FOR
__________
                          )
Case No. 39576            )
                          )
                                                  Water Right 75-13826


NAME AND ADDRESS:        USDA FOREST SERVICE
                         550 W FORT ST, MSC 033
                         BOISE, ID 83724
SOURCE:                  UPPER COTTONWOOO CREEK SPRING TRIBUTARY: SINKS
QUANTITY:                0.02 CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/01/1876
POINT OF DIVERSION:      T24N R22E S17             SENE        Within Lemhi County
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                    PERIOD OF USE           QUANTITY
                         Stockwater                        06·01 TO 10-31          0.02 CFS

PLACE OF USE:            Stockwater                                         Within Lemhi County
                            T24N R22E S17           SENE
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. J.C. SECTION 42-1412(6).

                                                   RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED,lin accordance
with Rule 54(b), J.R.C.P., that the court has determined that there is no just reason for delay of th;e entry of a
final judgment and that the court has and does hereby direct th       above judgment or order shall ea final
judgment upon which execution may issue and an appeal may bet en as      vided by t    daho Appellat Rules.

                                                                    )-~~->- ,_                           I          .
                                                                     Roger Bur · k
                                                                     Presiding Judge of the
                                                                     Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO I.R.C.P. 54(b)                                                                    PAGE 1
Water Right 75-13826                                                                                         Dec-17-2000
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 105 of 193

                                                                                                   2000 DEC 29 PM 02:00
                                                                                                   DISTRICT COURT· SRBA
                                                                                                   TWIN
                                                                                                   FILED FALLS
                                                                                                          _ _ CO.,
                                                                                                               ___ IDAHO
                                                                                                                      _
                               IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                   STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                       PARTIAL DECREE PURSUANT TO

__________
Case No. 39576
                          )
                          )
                          )
                                                  I.R.C.P. 54(b) FOR
                                                  Water Right 75·13899


NAME AND ADDRESS:        USDA FOREST SERVICE
                         550 W FORT ST, MSC 033
                         BOISE, ID 83724
SOURCE:                  UPPER SOUTH FORK KRILEY SPRING TRIBUTARY: SINKS
QUANTITY:                0.02 CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/01/1876
POINT OF DIVERSION:      T24N R22E S33             NWNW          Within Lemhi County
PURPOSE AND
PERIOO OF USE:           PURPOSE OF USE                     PERIOD OF USE          QUANTITY
                         Stockwater                         06-01 TO 08·31         0.02 CFS

PLACE OF USE:            Stockwater                                          Within Lemhi County
                            T24N R22E S33           NIJNW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE, l.C. SECTION 42-1412(6) ..

                                                   RULE 54Cb) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), l.R.C.P., that the court has determined that th e        ·ust reason for delay of the entry of a
final judgment and that the court has and does hereby direct that
judgment upon which execution may issue and an appeal may be taken Js
                                                                       le
                                                                      abov judgment        er shall beta final
                                                                         vided by the aho pella Rule.



                                                                      Roger Burdick
                                                                      Presiding Judge of the
                                                                      Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO l.R.C.P. 54(b)                                                                   PAGE 1
Water Right 75·13899                                                                                        Dec-17-2000
          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 106 of 193

                                                                                                  2000 DEC 29 PM 02:00
                                                                                                  DISTRICT COURT - SRBA
                                                                                                  TWIN FALLS CO,, IDAHO
                                                                                                  FILED _ _ _ _ __
                               IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
                                   STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

In Re SRBA                )                      PARTIAL DECREE PURSUANT TO

__________
Case No. 39576
                          )
                          )
                          )
                                                 I.R.C.P, 54(b) FOR
                                                 Water Right 75-13912


NAME AND ADDRESS:        USDA FOREST SERVICE
                         550 WFORT ST, MSC 033
                         BOISE, IO 83724
SOURCE:                  LOWER MAGPIE SPRING               TRIBUTARY: SINKS
QUANTITY:                0.02 CFS
                            THE QUANTITY OF WATER UNDER THIS RIGHT SHALL NOT EXCEED 13,000
                         GALLONS PER DAY.
PRIORITY DATE:           06/01/1876
POINT OF DIVERSION:      T24N R22E S20            NWNW         Within Lemhi County
PURPOSE AND
PERIOD OF USE:           PURPOSE OF USE                   PERIOD OF USE           QUANTITY
                         Stockwater                       06-01 TO 10-31          0.02 CFS

PLACE OF USE:            Stockwater                                        Within Leniif county
                            T24N R22E S20          NWNW
OTHER PROVISIONS NECESSARY FOR DEFINITION OR ADMINISTRATION OF THIS WATER RIGHT:
                            THE QUANTITY OF WATER DECREED FOR THIS WATER RIGHT IS NOT A
                         DETERMINATION OF HISTORICAL BENEFICIAL USE.
                            THIS PARTIAL DECREE IS SUBJECT TO SUCH GENERAL PROVISIONS
                         NECESSARY FOR THE DEFINITION OF THE RIGHTS OR FOR THE EFFICIENT
                         ADMINISTRATION OF THE WATER RIGHTS AS MAY BE ULTIMATELY
                         DETERMINED BY THE COURT AT A POINT IN TIME NO LATER THAN THE
                         ENTRY OF A FINAL UNIFIED DECREE. I.C. SECTION 42-1412(6).

                                                  RULE 54(b) CERTIFICATE
       With respect to the issues determined by the above judgment or order, it is hereby CERTIFIED, in accordance
with Rule 54(b), I.R.C.P., that the court has determined that there is no just reason for delay of the entry of a
final judgment and that the court has and does hereby direct thlj)4r--4fbove judgment or order shall be a final
Judgment -    ,h;,h ,x,,,tion ~Y ;,,,, ,od an ,pp&•l ~Yb, ta')•• pc vidod by t            ho App,ll•t• ,,,,,.



                                                                    Roger Bur · k
                                                                    Presiding Judge of the
                                                                    Snake River Basin Adjudication




SRBA PARTIAL DECREE PURSUANT TO l,R,C,P. 54(b)                                                                  PAGE 1
Water Right 75·13912                                                                                       Dec-17·2000
                        Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 107 of 193



I
--·=
                                                                  State of Idaho
                                                         Department of Water Resources


                                            WATER RIGHT LICENSE

       License No.            75-7279         Priority     02/25/1982           Amount          0.02           CFS          0.3            AF

             THIS IS TO CERTIFY, that               U.S. Dept. of Agri., Forest Service



       of          Ogden, Utah
                                                                                      , has complied with the terms and conditions of

       Permit No.       75-7279                 issued pursuant to Application for Permit dated              02/25/1982              ,and has
             .                                                                 03/29/1983
       submitted proof to the Department of Water Resources on                                             , that he has applied water to a

       beneficial use; and examination by the Department indicates that the works have a capacity for the                                         ··

             diversion of 0.02 cfs               ofwaterfrom                           Upper    S. Fork Kriley Spring
       tributary to          sinks
                                                                                                    , and that the permit holder has

       applied to a beneficial use and established a right to use water as follows:

       RATE OF DIVERSION                           VOLUME                       BENEFICIAL USE                         PERIOD OF USE

              0.02 cfs                           0.3 af                      Stockwater                               09/01 - 11/30




       Location of point of diversion:              NWNW, Sec. 33, Twp 24N, Rge 22E, Lemhi Co.

       Location of place of use:
                                                NE¼                    NW¼                  SW¼                   SE¼
         TWP.         AGE.     SEC.                                                                                                TOTALS
                                       NE¼ NW¼ SW¼ SE¼ NE¼ NW¼ SW¼ SE¼ NE¼ NW¾ SW¼ SE¼ NE¼ NW¼                      SW¼ SE¼

            24N       22E       33                                 X




                                                                                               To'tal number of acres irrigated




 I          Subject to all prior water rights.



I
             NOTE: Modifications to or variance from the use of water as shown on this license must be made in accordance with Sec-
       tion 42-222, Idaho Code, or the applicable Idaho law. This right may be forfeited by five years of non-use.
             The right to the use of the water hereby confirmed is restricted and appurtenant to the lands or place of use herein described, as
       provided by the laws of Idaho.                                                           $-1:L


Ii           Witness the seal and signature of the Director, affixed at Boise, Idaho this



                                                                        Actng for tr.i:l
                                                                                             L      day of      Jl.A....<.. Y       , 19   86 .
                               Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 108 of 193
                                                                                                   -
                                                                          State of Idaho
                                                                   Department of Water Resources


                                                             WATER RIGHT LICENSE
                                                                 WATBR RIGHT NO.           75-7288
    Priority:                     February 25, 1982                     Amount:             .02 CFS              .3 AF
    This is to certify, that U.S. DEPI'. OF AGRI.
             FORF.sT SERVICE
             FEDERAL BLDG.
             324 25TH ST.                                               .
       OGDEN, l11' 84401                       has conplied with the terms and conditions
    of the permit issued pursuant to Application for Permit dated February 25, 1982, and
    has subnitted proof to the Department of water Resources on March 29, 1983, that
    water has been applied to a beneficial use; an examination by the Department indicate
    that the works have a diversion capacity of .02 cfs of water from:
                                                                                    tributary to SDltS
     and that a water right has been established as follows:

                  BIH!:!'ICIALUSB                                    PBRI<D OF USE          BM'E OF DIVBRSIOi          VDU&!

     stockwater                                                      10/01 to 12/31                  .02   cfs                   .3 af
     LOCATI<li OF POINT OF DIVERSI<Ji( S):                                            NENW, Sec. 20, Township 24N, Range 22E
                                                                                                         Lemhi County
     PLACE OF USE:                                 stocltwater
     '1WN RGE SEC

     24N 22E 20                                        NEt-l'i

     <XH>ITiaE,jBEIIADS:

                             1. The right to the use of the water hereby confirmed is limited
                                to the amount which can actually be beneficially used and is
                                restricted and appurtenant to the lands or place of use and to
                                the purpose herein described, as provided by the laws of Idaho.
                             2. This right is subject to all prior water rights and may be forfeited
                                by five years of non-use.
                             3. Modifications to or variance from this license must be made within
                                the limits of Section 42-222, Idaho COde, or the applicable Idaho law.
                             4. This right, when considered with all other rights ccmoon to the
                                same grazing allotment, shall be limited to the quantity of water
                                beneficially used by the number of stock within the allotment.

             This license is issued pursuant to the provisions of Section 42-219, Idaho~-
             Wi tness the seal and signature of the Di rector, affixed at Boise, this cC>ZL.. day
             of    FcB.v,.,~             , 19~ .

                                                                    Act111g 1Jr      ~
                                                                                  theD1rectoi         ~C~tf'
870211

         ;
              ............   _----•---   .......   -                                                               - ·-· ·----   ·----~--
                    Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 109 of 193

                                                              State of'.'iaaho ..-..,-
                                                       Department of Water Resources
                                                                                                               ·-·
                                           WATER RIGHT LICENSE

     License No.             75-7335        Priority      12/22/1982          Amount            0.02         CFS                0.6            AF

           THIS IS TO CERTIFY, that               U.S. Dept. of Agri., Forest Service


     of
                  Ogden, Utah
                                                                                    , has complied with the terms and conditions of ··

     Permit No.       75-7335                 issued pursuant to Application for Permit dated               12/22/1982                 , and has
           .                                                                 02/24/1984
     submitted proof to the Department of Water Resources on                                             , that he has applied water to a

     beneficial use; and examination by the Department indicates that the works have a capacity for the

              diversion of 0.02 cfs             ofwaterfrom                          Lower Magpie Spring
     tributary to          sinks
                                                                                                  , and that the permit holder has

     applied to a beneficial use and established a right to use water as follows:

     RATE OF DIVERSION                           VOLUME                       BENEFICIAL USE                          PERIOD OF USE


              0.02 cfs                         0.6 af                      Stockwater                                 06/01 - 09/30




 ·    Location of point of diversion:               NWNW, Sec. 20, Twp 24N, Rge 22E, Lemhi Co.

      Location of place of use:
                                              NE¼                    NW¼                  SW¼                   SE¼
       TWP.         RGE.     SEC.                                                                                                     TOTALS
                                     NE¼   NW¼ SW¼ SE¼ NE¼ NW¼ SW¼          SE¼   NE¼ NW¼ SW¼     SE¼ NE¼ NW¼ SW¼ SE¼


          24N       22E       20                                 X




                                                                                            To·tal number of acres irrigated _ _ _ __




:I_       Subject to all prior water rights.                                                                 lYJ!;@fi(ftfJ[ffi
           NOTE: Modifications to or variance from the use of water as shown on this license must be made in accordance with Sec-
     tion 42-222, Idaho Code, or the applicable Idaho law. This right may be forfeited by five years of non-use.
           The right to the use of the water hereby confirmed is restricted and appurtenant to the lands or place of use herein described, as
                                                                                                                                                    =·



     provided by the laws of Idaho.                                                         . /l..t..:>
           Witness the seal and signature of the Director, affixed at Boise, Idaho this     DY         of    J   l,..L &.....   /       19_
                                                                                                                                           86




                                                                                                                                                         j
         Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 110 of 193




                                                         State of Idaho
                                                Department of Water Resources

                                         Water Right                                              License
                                               WATER RIGHT NO.                                       75-07672
Priority:    February 04, 2000                                                          Maximum Diversion Rate:                               0.02 CFS
                                                                                      Maximum Diversion Volume:                                  2.0AF

It is hereby certified that US DEPT OF INTERIOR
                            BUREAU OF LAND MANAGEMENT
                            SALMON DISTRICT
                            1206 S CHALLIS ST
                            SALMON ID 83467         has complied with the terms and
conditions of the permit, issued pursuant to Application for Permit dated February 04, 2000; and has
submitted Proof of Beneficial U~efoi;i:-November 06, 2001. An examination indicates that the works have
a diversion capacity of 0.02 cfs pf w~t~r; from:
                                 D   i·:,;.-· );,,
                                 ;-! {<·:.·
souRcE                              n Le:-)\·;;:>
SPRING                              l1        Hn{:l TJ~.~~tary:                     SINKS
and a water right has been est$_blls.ti'.eJ:f ~s follows~
                                   \.~ _.-~:!.)t:fhit?L.~               t)                                                            ANNUAL
BENEFICIAL USE                           P..ERIO □--OF-..USE              DIVERSION RATE                                         DIVERSION VOLUME
STOCKWATER                               01/0f?to';',. 12·,ar .. .,.. --·, .     0.02 CFS                                                 2.0AF
WILDLIFE                                 d1/01hjQ:/·12/3_~'"····t\               0.02 CFS                                                 2.0AF
                                         d      (:.::"'.:ii_--/:.:~J;   \.\_   \,
LOCATION OF POINT{S) OF DIVERSION:}          '·<,\___             ...   ; \
SPRING NE¼NW¼SE¼ Sec. 11f,:fTwp-23N~-~~~ 22~, s.rvr<::i,J:Ml::ifO~u'nty'l



p:::.0:~~SE: ST:CKW~t]1t:i>7;f
                      sw/i
                              "~"-~-\ )
               1 NE 1 NW 1 SW 1SE 1·;\NE \i;t.Jw 1                         SE: ( NE 1'Nw·rsw{se Lr.NE 1 NW 1 SW 1SE I
                                                                                                                                    SE        I
                                                                                                                                                  Totals



 ::: :: :: !                              1\:~{:~:L~o~'LROVA:\ ']!(-]                                                        i
                                                                                                                                          x   i
1.   Th is development is known as Gold\$t~t R:lp:~n~e :Project 3(,5155.
                                                        \)~::~.~:-~-! \_~---~~/       "\.-.. ,.·__:.: ..·. .~--·;   \ . ·.
2.   The issuance of this right does not grant any right-of-way or easement across the land of another.


3. This right, when considered with all other rights common to the same grazing allotment, is limited to
     the quantity of water beneficially used by the number of stock within the allotment.


This license is issued pursuant to the provisions of Section 42-219, Idaho Code. The water right
confirmed by this license is subject to all prior water rights and shall be used in accordance with Idaho
law and applicable rules of the Department of Water Resources.

Signed and sealed this23t!.day of              Sef+&,\b er                                , 2010.


                                                                                        1v
                                                                                          ~~4:~               Interim Director
                   Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 111 of 193
                                                                                                                                                                    75 4238
Form No. 243                                                                                                           Claim No.
7/78
                                               STATE OF IDAHO
                                       DEPARTMENT OF WATER RESOURCES

                                            CLAIM TO A WATER RIGHT
    . Under the provisions of Section 42-243, Idaho Code, any person using or claiming rights to the public waters of Idaho
established by diversion and application to a beneficial use must file a claim with the Department of W~.t_er. Res9,~rces on or
before June 30, 1983. Exempted from this filing are single family domestic uses as defined in Section _42;2·30(d), ldahq, Code.
Also exempted are rights represented by a permit, license, decree, adjudicated right, or a previously filed ql~irp\'::'·····•·-:=:-..{7 <--:;,
                                                                                                                            /",,~..:--        ,::- C        , ......... y . ~
                                                                                                                            • ~ - . "-.-...._      O;-"\...,           • '\';:,. -
          The filing of this claim does not confirm the water right claimed but failure to file may resuldn fo~feitu7e Qf:a wat~r right.
                                                                                                              •   .,:J ::: ::. 'o ~ ~
                                                                                                                        :   Ip~   :   ·--:                                             f
          Notice is hereby given that        United States of America - Forest Service :___ ·__:·-~- ~,~:~,,;                                                               ~= ·' §
                                                                                     (Name of Claimant)              ./~ · - -' - :::. ~ ·• ·'-"-¢"
                                                                                                                                                t.>
                                                                                                                                         . . . . . . . . .,..   -    t.   _.,..,,___



             324 25th Street, Federal Building, Ogden, Utah                                     84401       Telephone Nri.·,,- "(801Y 62"S-:CS360
                                       (Mailing Address)                                     (Zip Cod._~)    -            v

claims a right to the diversion and beneficial use of the surface or ground water. The extent and nature of said claim is as
follows:
(1)   Date of priority: (When was the water first applied to a beneficial use)         06/01/ /9'-9
                A claim is not acceptable on a ground water source with a priority later than March 25, 1963 or on a surface water
          source with a priority later than May 20, 1971. An exception is that a claim may be filed on single family domestic use from
          a ground water source.
(2)       Describe the source of water: (Name of stream, lake, spring, etc., or ground water)
             Browns Spring                                        tributary to _ _ _ _ _ _ _S_i_n_k_s____________
(3)       Describe the purpose for which the water has been used and the time during the year when you have used the right
          claimed:
                                                                                                                                      ( Both dates inclusive)
                           (cfs,gpd, AFA)           (Domestic, Irrigation. Stock, Etc.)                                (Mo., Day)                                     (Mo., Day)

          Quantity   , 02 cfs      Use    Livestock watering Period of Use From _..,,6'-'-/-=l.____ To                                                                    8/31
          Quantity _ _ _ _ _ _ _ _ Use                         Period of Use From _ _ _ _ _ To
          Quantity _ _ _ _ _ _ _ _ Use _ _ _ _ _ _ _ _ _ _ _ _ Period of Use From                   To
          Quantity                             Use                         Period of Use From                                                           To
          Quantity                             Use _ _ _ _ _ _ _ _ _ _ _ _ Period of Use From                                                           To
(4)          , 02 cfs                          TOTAL QUANTITY USED.
                     (cfs, gpd, AFA)
 (51      A) Point of diversion: (Location of point where water is diverted from its source)
            Sl-~ ¼      SE ¼, Sec. 30                      Twp.   24N         Rge.     22E      B.M., County of                   Lemhi
          Additional points of diversion:
                                              ----------------------------------
             018 - 019
          B) Describe mearas of diversion of water: (Pump and pipeline, well, diversion darn, reservoir, length of ditch and field,
          etc.). Give sizes and capacities: be as specific as possible. Describe any changes in the system and give the date of the
          change. - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
            Head box piped to a trough

(6)       A) Describe location of use by listing number of irrigated acres within each 40-acre tract in appropriate box. If use is
          not for irrigation, place an "X" in appropriate box to show location.


                                       NE¼                        NW¼    ,
                                                                             SW¼                                  SE¼
      T       R       SEC.                                                                                                                                            TOTAL
                              NE¼ NW¼ SW¼ SE¼          NE¼ NW¼ SW¼ SE¼ NE¼ NW¼ SW¼ SE¼                      NE¼ NW¼ SW¼ SE¼
  24N       22E       30                                                                                             X




               ,                                                                                                                No. of acres, _ _ _ __
              -:·,
          Bl !-.'-:water is used for other than irrigation, fully describe that use, being as specific as possible:

             Stock watering 86 head of cattle



          NOTE: Include here the type and number of stock watered:
          If you are claiming water as a member of an organization, list name of organization:
                                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 112 of 193
       (8)        Remarks
                                ----------------------------------------



         I
          I                                                                                                                                                                                                                         I



__;_~~'.
 ---r-             ~                                                                                                                                                                                                    ----1---
                                                                                                                                                                                                                                    1



      II•
                                                                                                                                                                                                                                    I


    ~      I
          II       ~~
                   ~?
                       61
                                                        ~~n
                                                                rr,.,-1,v1111,uJ<r-.

                                                                  Ulfi>HIIM
                                                                                        '-'r'S~~E:'.
                                                                                        ~                                                                                               --=
                                                                                                                                                                                  ,._...-.,,,.,,_
                                                                                                                                                                                    &91~~~1
                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                     II

 - -    -I- -               I                       l                     l:'.Z:l~~,.1---:=;;af.-L...:::.....~~t"""::""~=H-"'i--~ri-                                _,.,_,,,..,,..,7,                                     - - -, - - -
          I        \~-\~                 :        ~~                                                                                                                                                                                 I
          I
          I
                   \Jlfl/~                                                                                    ..__....._.,_.,.,                                                                                                      I
                                                                                                                                                                                                                                     I
1---t--.::_;";



 ---~-
          II
          I
                            r.s""'-,-v.,,....::         ;:;;~~,~~~~~t~~~~~~i11r~/1:tl~;                     15--"~7'9~~~                                                                                                __
                                                                                                                                                                                                                                     II
                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                   J __ _
          II       ~&#L.:;;~~~6~~~~¥~~iff'~-~-ll,f~~~~-~~~W;~~~~'/14~~~¥,,4~
                                                                ___                                                                                                                                                                  II
          I        ~~~~~•~,:-4~-,..~~~~~~-::,:,J~~~~'E.~~S-/~4~                                                                                                                                                                      I

        . I                                                                       ~=":''.frr?~                                                                                                                                       I
          I                                                                                                                                                                                                                          I

  - - -1-
          I                                         =~-                                                                                                                                                                              I
                                                                                                                                                                                                                          - - -i - - -
          I                                                                            . .c&dlii.::::11•                                                             i-1~..,...,.,2:;/;'?...,                                        I
          I                                                                                                                                 ~~~                                                                                      I
          I                                                                                                                                 IL"'-'..U;JI /-                                                                          I

           I                                                                  .t,.J.~~::...:,~~_::;:~:.;;:;~~~~,..;,,:;~~~"""'.wf--i:f':~~~'""'>~                                                                                     I
           1
           I                                                                   lk.JMSl"UJA
                                                                                       ~~~~                •~-~~            lfij::i(l[H9'-.;r,_                                                                                       I1
  --7'-   1
                                                                                                                                                                                                                           --1---
                                                                                                                                                                                                                             I   .
          I                                                                                                                                                                                                                          1
          I                                                                                                                                                                                                                          I

           I                                                                                                                                                                                                                             I
           I                                                                                                                                                                                                                             I
  - - -:- -        ~~:::iF++n"-,,!9~-f,i-,,~~~~r.➔-~~~~~~......;;;.:_:.~:~~--~.......,:-:__                                                                ~....;;.;,;;;;~..,....;;.-3-+r'--'--,~-;f,~._ - -                              ~-   -
             I                                                        ,                                                 ,         -                     -,_ '
                                                                                                                                            , ·,·, ,,~~-'-                                                          I'!                   I
                                                                                                                                                                                                                                          I
              I                                             I   ,_,                                                -.       .         - •     I     -           ~   - '   ', \'                                :    ~                     I


 Scale: 2 inches equal 1 mile.


              Map should show the location of the point of diversion and the place of use of the water by 40-acre subdivisions,
        section, township and range of the public land survey system.




        State of ~ Utah
                                                                              ) ss.
        County of --W1-ee:.lobM:e:.1r--------                                 )


              Be it known that the undersigned, being duly sworn, deposes and says that he, she, they subscribed the foregoing claim
        to a water right, together with all attached information, and that the matters atu:i--+lilC'ts therein are tru to the best of the
        affiant's knowledge. United States of America - Forest Ser ice
                                                                                                (for)




        My commission expires                            2-20-85


                                                                             FOR DEPARTMENT USE ONLY

                       by----'--:.-:---==--                               a(-,#S- Yil,. Exception filed by:                                       Fowarded to                                                  Date

             ere
                       eek by

        ~hedin .£\:!i::;c;.A<~:!.d~-!--...P1&,,,.::!=.:!~:!::!..=fr----
                                                                          2:/¾~                                                                   claimant by:


        ,~~s _.;,r
               __· _-1_____--"'_______.__..___---=---------~=,,,
       fl-,~
       ttl~
    [;g
                                                          I                                                                                                                                          l"f!.

                                                                                                                                                                                                    C-,.~ ki.
                                                                                                                                                                                                             t, •           ; ..   r..,..;.,
                                 Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 113 of 193


           Form No. 243                                                                                                                                                  Claim No.                    75-4241
           7/78
                                                                   STATE OF IDAHO
                                                           DEPARTMENT OF WATER RESOURCES
 ,.
...
                                                                CLAIM TO A WATER RIGHT
                  Under the provisions of Section 42-243, Idaho Code, any person using or claiming rights to the pu~l_i9:,w~.~~!~ of Idaho
           established by diversion and application to a beneficial use must file a claim with the Department of 0W_ate.r Resources,..on or
           before June 30, 1983. Exempted from this filing are single family domestic uses as defined in Secti~_n·"4i_2~~Jct)·;1~~o;c~de.
           Also exempted are rights represented by a permit, license, decree, adjudicated right, or a.previously filecF~im, ..v ~~ ,t ·-:'('" ~
                                                                                                                     - ":-     X - -- • ' •          -·
                                                                                                                    .! ; C ::_ t: ~~ ~ ~ 0-::
                  The filing of this claim does not confirm the water right claimed but failure to file may result:}ll-f:~rfajtur,;:oJ~a:_wa\er:r,igh_!.
                                                                                                                                                                             ;•           "",. ..:.-_, I~ ~ : : : ~ ¥;-..__ ~
                                                                                                                                                                              ... ..:::,..,"._ ~ . - 0 ..........:..,~-~-._;; ~
                      Notice is hereby given that __U_n_i_t_e._-d_S_t_a_t_e_s_o_f_Ame
                                                                                   __r_i_c_a_-_F_o_r_e_s_t__                                                                .....,'---=--_·---=-~·....:---_.,;:.,.:.·;..._-
                                                                                                           S.,;..e_r_v_i_c_e__··.,.,._,,. : . .-. .:;·,. . .· -..,....--i.....,c
                                                                                        (Name of Claimant)                       ·-                                                 "r ~-,_:---· .--· ':"-' ,-- -
                      324 25th Street, Federal Bui~ding, Ogden. Utah 84401                                         Telephone No:-::'('801) 625-5360
                                              {Mailing Address)                              - (Zip Code)
           claims a right to the diversion and beneficial use of the surface or ground water. The extent and nature of said claim is as
           follows:
           (1)   Date of priority: (When was the water first applied to a beneficial use) _ _ _ _0=6.L../-"'O=l"'-/.,_/-'-' f'""7:...__ _ _ _ _ _ __
                            A claim is not acceptable on a ground water source with a priority later than March 25, 1963 or on a surface water
                      source with a priority later than May 20, 1971.An exception is that a claim may be filed on single family domestic use from
                      a ground water source.                                                                   ·
           (2)        Describe the source of water: (Name of stream, lake, spring, etc., or ground water)
                             Old Kriley Spring                               tributary to _ _ _ _ _ _. .cSc..:i==n=k:=.:s=-----._ _ _ _ _ _ _ _ __
           (3)        Describe the purpose for which the water has been used and the time during the year when you have used the right
                      claimed:
                                                                                                                                                                                    (Both dates inclusivel
                                          ·(cfs, gpd, AFA)                       (Domestic, Irrigation, Stock, Etc.)                                                     (Mo.; Day)                           (Mo., Day)

                      Quantity --"'.....0=2..---.cc=f=s~--- Use Livestock watering                 Period of                                         Use            6/1
                                                                                                                                                            From _ ___,~--                       To           8/31
                      Quantity                              Use _ _ _ _ _ _ _ _ _ __               Periodof                                          Use    From _ _ _ __                        To
                      Quantity                                           Use - - - ~ - - - - - - - Period of                                         Use    From _ _ _ __                        To
                      Quantity                                           Use _ _ _ _ _ _ _ _ _ __  Period of                                         Use    From _ _ _ __                        To
                      Quantity                                           Use _ _ _ _ _ _ _ _ _ __  Period of                                         Use    From _ _ _ __                        To
           (4)                  • 02 cfs                                 TOTAL QUANTITY USED.
                                    (cfs, gpd, AFA!
      l)    (5)       A) Point of diversion: (Location of point where water is diverted from its source)                                                                                                                          l
                        NE    ¼      NE ¼, Sec.       31      Twp. 24N          Rge.    22E 8.M., County of Lemhi     1
                      Additional points of diversion: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                                                                                             t
                         018-020
                      BJ Describe means of diversion of water: (Pump and pipeline, well, diversion dam, reservoir, length of ditch and field,
                      etc.). Give sizes and capacities: be as specific as possible. Describe any changes in the system and give the date of the
                      change.-----------------------------------------
                           Head box piped to a trough

            16)       Al Describe location of use by listing number ohrrigated acres within each 40-acre tract in appropriate box. If use is
                      not for irrigation, place an "X" in appropriate box to show location.


                                                             NE¼                                  NW¼      SW¼                                                        SE¼
                  T         R        SEC.                                                                                                                                                                    TOTAL
                                                NE¼ NW¼ SW¼ SE¼                      NE¼ NW¼ SW¼ SE¼ NE¼ NW¼ SW¼ SE¼                                            NE¼ NW¼ SW¼ SE¼
              24N 22E                  31        X




                                                                        ..




                                                                                                                                                                                  No. of acres _ _ _......__

                      Bl If water is used for other than irrigation, fully describe that use, being as specific as possible: - - - - - - - " - -

                  ~        tock watering 86 head of cattle



           ~DTE: Include here the type and number of stock watered:
           {!j: y_ou are claiming water as a member of an organization, list name of organization:
                                               Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 114 of 193
                   (8)     Remarks
                                              -----------------;-------------------------


                                                                  i                                          1                     J
                                                                                                                                                                                                                                    '
                                                              r                                                                BIRD CREEK Q'LJADRANGLE                                                        ,.-
                                                                                                                                                                                                                                    "'',i
                                                                                                                                                                                                                                ,fr...~
                                                                                                                                     IDAHO-LEMHI CO.                                                                          ~~•
                                                                                                                             7.5 MINUTE SERIES (TOPOGRAPHIC),·                                                            -f?
                                                                                                                                                                                                                              -i~
                                                                                                                                                                                                          0
                                                                                                                                                                                                              5~'30"
'cl\""""IN'~'""7'~'7"'~,;,::;,:~c'!V.~"'771'-=,~?fiITT!Vil--~,,-;;:=,~r-z;;~p,K;:!:::"?>;;;;?~~:;z;,:;m,:-:~-:::_,;~::-::-;:rn;'777l'Wf,n'.J:~~::;?~-,, 45° 22'30"




                                                                                                                                                                                                                    28
                                                                                                                                                                                                                    350000
                                                                                                                                                                                                                    EET




r.
 ,       I




!. '•
~~
                                                                                                                                                                                                                    V

     '                                                                                                                                                                                                              .24N .

                                                                                                                                                                                                                    . 23N .




                                                                                                                                                            .~


                                                                                                                                                             '   --.           J
                                                                                                                                                                                                                          }:..
                                                                                                                                                                                                                          •   t·
                                                                                                              • -\            -------=•            \:)/          ~I      (!;                                         6 'r,
                                                                                                                                                   ..)            \\, 'it
                                                                                            •
                                                                                                 . ~~
                                                                                                    /
                                                                                                                        .•                ~\\ \
                                                                                                                                               ~·~·
                                                                                                                                                  J ·'1
                                                                                                                                                   c:::i,                 .~
                                                                                                                                                                                   },i ;, -·-··· .
                                                                                                                                                                                   I\ \
                                 •   ,....- --.....
                                                      1 ---
                                                                                          -- I      /,
                                                                                           - - - 1 :,.,. .               '                f"   -            :..--,..--::--:, 1.l I• l l I -._..............:;:i
                                                                                                                                                                           \~




             Scale: 2 inches equal 1 mile.

                         Map should show 1he location of the point of diversion and th_e place of use of the water by 40-acre subdivisions,
                   section, township and range of the public land survey system.



                   State of   mJX                     Utah
                                                        ) ss.
                   County of _ _ _W_e_b_e_r_ _ _ _ _ __ )




                           Sworn to before me this _ _l_O_ day of




                   My commission expires                              2-20-85


                                                                                     FOR DEPARTMENT USE ONL V
                                by    e..,.J)                            Date ,::,7-.:;?S-.f.J..             Exception filed by:           Fowarded to                                          Date
                              kby               K._~                     Date J.-c,S--f"L                                                  claimant by:
                             rec!::~ by_ a;J                             Date 6-1/('-f;t,
                   P        in ~4/2 Jii}                              iilRJ
                                                                         II -f £
                   De_•~~~-/_..:::£:....·_V-!..-..!::-f'_-i'-=-=2.....=-_ ___.:4/~d-e;;)...:::::3?=+--




                                                                         -•
               ~
               G§
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 115 of 193




         EXHIBIT B
                              to
        First Amended Complaint for
      Declaratory and Injunctive Relief
       (Case No. 1:22-cv-00236-DKG)


     Copy of SRBA Final Unified Decree
        (excluding “Attachments”)
   '-'                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 116 of 193
   •
  •"'                                                                                           ORIGINAL
           -....   IDWR Document Depository
                   PO Box 83720
                   Boise, ID 83720-0098
                                                                                      DISTRICT COURT - SABA
                                                                                         Fifth Judicial District


            --
                                                                                  County of Twin Falla - State of Idaho
                   Chief Natural Resources Division
                   Office of the Attorney General                                            AUG 2 6 ·2014

        --         PO Box 44449
                   Boise, ID 83 711-4449
                                                                                 By~----------------

         -.-.
                                                                                                  Clarlc
                   United States Department of Justice
                   Environment & Natural Resources Div.
                   550 West Fort Street, MSC 033



        -...
                   Boise, ID 83 724




      ..
      ---                       IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT




      .
                         OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS




    -•..,          In Re SRBA


                   Case No. 39576
                                                  )
                                                  )
                                                  )
                                                  )
                                                          FINAL UNIFIED DECREE




  --.
                                                  )
•                  ~~~~~~~~~~~)

                                                         I. PROCEDURE



 .-...
                          On June 17, 1987, the State ofldaho, ex rel. A. Kenneth Dunn in his official capacity

                   as Director of the Idaho Department of Water Resources, filed a petition in the above-entitled


 ....              Court seeking commencement of a "general adjudication inter se of all rights arising under




.-
                   state or federal law to the use of surface and ground waters from the Snake River basin water

             ..
 -
                   system and for the administration of such rights." Petition at 2. On November 19, 1987, this

                   Court issued its Commencement Order thereby initiating the above-entitled general stream

                   adjudication of all rights to the use of the waters of the Snake River Basin within the State of



                   FINAL UNIFIED DECREE                                                                 Page 1
 ...
 \....         Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 117 of 193



 ...       Idaho pursuant to Idaho Code § 42-1406A (Supp. 1987). 1


  -...
                                                                                      The Commencement Order
"'         adopted by reference this Court's October 14, 1987, Memorandum                               Opinion on
...        Commencement ofAdjudication as "further findings of fact and further conclusions of law as

  .....,   permitted by I.R.C.P. 52(a)." Commencement Order at 4 .



--...              As set forth in the Memorandum Opinion on Commencement of Adjudication, Idaho

           Code § 42- l 406A (Supp. 1987) required that the adjudication be commenced within the


.,...
           terms of the McCarran Amendment, 43 U.S.C. § 666. This Court determined that for the


...        adjudication to come within the terms of the McCarran Amendment the entire Snake River



...   -    Basin water system within the State of Idaho had to be adjudicated. This Court defined the



     .-
           entire Snake River Basin water system within Idaho as follows:

      ..
    --
                   Beginning at the point where the southern boundary line of the state of Idaho
                   meets the western boundary line of the state of Idaho, then following the
                   western boundary of the state north to the northern boundary of the Clearwater


   -...            Basin, in Idaho, in section 36, T. 36 N., R. 6 W., B.M., then following the
                   northern watershed divide of the Clearwater River Basin north and east to the



  --
                   eastern boundary of the state of Idaho in section 4, T. 42 N., R. 11 E., B.M.,
                   then following the eastern boundary of the state southeast to the northern
                   boundary of the Bear River Basin in section 35, T. 10 S., R. 46 E., B.M., then
                   following the northern watershed divide of the Bear River Basin, in Idaho,



--...
•                  southwest to the southern boundary of the state of Idaho in section 26, T. 16
                   S., R. 28 E., B.M., then following the southern boundary line of the state of
                   Idaho west to the point of beginning.




 -
           Commencement Order at 5. A map showing the boundaries of the Snake River Basin water

           system is attached for illustrative purposes as Attachment 1, as required by Idaho Code § 42-

           1413 (2003 ). The following counties are wholly located within the boundaries of the Snake

.,         River Basin water system:

.,                 Ada                  Canyon             Idaho               Owyhee
                   Adams                Clark              Jefferson           Payette
•
           1
            Idaho Code § 42- l 406A was added by section 1 of chapter 18, 1985 Idaho Sess. L. at 28. Section 42- l 406A
           was subsequently amended by section 11 of chapter 454, 1994 Idaho Sess. L. at 1452-53, and now appears as an
           uncodified law in the 1994 Idaho Session Laws.


           FINAL UNIFIED DECREE                                                                            Page 2
    .
  --...            Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 118 of 193




 ..                         Bingham         Clearwater       Jerome          Teton


 .
                            Blaine          Custer           Lemhi           Twin Falls
                            Boise           Elmore           Lewis           Valley


 ..                         Bonneville      Fremont          Lincoln         Washington



           --
                            Butte           Gem              Madison
                            Camas           Gooding          Minidoka




         ---
                Commencement Order at 5. The following counties are partly located within the boundaries

                of the Snake River Basin water system:




       ---                  Bannock
                            Caribou
                            Cassia
                            Latah
                                                 Nez Perce
                                                 Oneida
                                                 Power
                                                 Shoshone



     ---        Id. at 6.

                            The Commencement Order also determined that "all classes of water uses ... within


    --          the water system [must] be adjudicated as part of the Snake River Basin adjudication." Id.



   .-.
                At 6. On January 17, 1989, however, this Court entered its Findings of Fact, Conclusions of




   -            Law, and Order Establishing Procedures for Adjudication of Domestic and Stock Water Uses




 --.
                that allowed claimants of de minimis domestic and stock water rights, as defined in Idaho
•               Code § 42-1401A(5) and (12) (Supp. 1988), to elect to defer adjudication of their claims;




 -.
                provided, all such claimants "shall be joined as parties in this proceeding and will be bound

                by all decrees entered in this case, including the final decree." Findings of Fact at 3.


•..                         The Commencement Order directed the Director of the Idaho Department of Water



-..             Resources ("Director"): 1) to investigate the water system as provided in Idaho Code § 42-

                1410 (Supp. 1987); 2) to prepare the notice of order commencing a general adjudication

                containing that information required by Idaho Code § 42-1408A(l) (Supp. 1987); 3) to serve
•
•
.,
                notice of the order commencing a general adjudication in accordance with chapter 14, title



-..,
..,
                42, Idaho Code; and 4) to file with this Court affidavits and other documents stating the




•               FINAL UNIFIED DECREE                                                                  Page 3
   ...
   .
                         Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 119 of 193




  -.
              --
                    persons served with a notice of order commencing the adjudication. Commencement Order

                    at 7-8.



            --...             Based upon the claims submitted; the files and records of the Idaho Department of

                    Water Resources and the Court; the examination of the ditches, diversions, lands irrigated,



          -....     and other uses of water within the water system; the Director's Reports and evidence herein,

                    this Court enters the following findings of fact and conclusions of law:

         ..
        .-...                                          II. FINDINGS OF FACT



        .           1.        All requirements for joinder of the United States as a party under state and federal



       -..•         law, including but not limited to 43 U.S.C. § 666, have been satisfied.

                    2.        The Nez Perce Tribe participated in this proceeding by filing notices of claim for



     ...-.
                    water rights reserved under federal law and by filing a general notice of appearance with the

                    Court. Notice of Claim to a Water Right Reserved Under Federal Law (filed with Dept. of



     -...,          Water Res. March 25, 1993); Notice ofAppearance (March 18, 1993).

                    3.        The Northwestern Band of the Shoshoni Nation participated in this proceeding by



   --•              filing notices of claim for water rights reserved under federal law and by filing a general

                    notice of appearance with the Court. Partial Protective Filing by the Northwestern Band of


   ...              the Shoshoni Nation of Notices of Claim for Water Rights Reserved Under Federal Law


   ..               (filed with Dept. of Water Res. March 25, 1993); Notice of Appearance on Behalf of the



 -.-.               Northwestern Band of the Shoshoni Nation (March 22, 1993).

                    4.        The Shoshone-Bannock Tribes sought and were granted intervention in this

 ....               proceeding.      Order Granting Permissive Intervention by the Shoshone-Bannock Tribes



...-.
                    (April 12, 1993).




....                FINAL UNIFIED DECREE                                                                  Page4
 "'"'             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 120 of 193



       -"'
     --"'
             5.      The Shoshone-Paiute Tribes of the Duck Valley Indian Reservation sought and were
 •           granted intervention in this proceeding.    Motion to Intervene and Request for Expedited

             Hearing (SRBA Consolidated Subcase No. 51-12756, Jan. 12, 1999); Order Granting

     ...     Tribes' Motion to Intervene, Order Requiring Written Status Reports and Order for




 "'  -
     •       Scheduling Conference Reports (SRBA Subcases Nos. 51-12756 et al., Dec. 6, 1999).

             6.      The Director served notice of the commencement of the Snake River Basin

 "'
   ---       Adjudication ("SRBA") in accordance with chapter 14, title 42, Idaho Code and the orders of

             this Court. This included service of the notice of commencement on the State of Idaho and



 ---         the United States; service of the notice of commencement on all other persons by publication;

             service of the notice of commencement by posting in each county courthouse, county


 -"'         recorder's office and county assessor's office in which any part of the water system is



 .
"'           located; service of the notice of commencement by mail on each person listed as owning real




-....        property on the real property assessment roll within the boundaries of the Snake River Basin

             water system; and filing of a copy of the notice of commencement in the office of the county

             recorder in each county in which any part of the water system is located .


•"'
....         7.      In addition to the steps taken in paragraph 6, the Idaho Department of Water

             Resources also served notices of commencement on persons who may have used water



....
..,          within the water system, but were not listed as owners of real property. The sources of




....,
             information the Idaho Department of Water Resources reviewed for this purpose were:

             1) water right records of the Idaho Department of Water Resources for each basin wholly or


....         partly within the water system; 2) cooperating farm/ranch operator records of the United

             States Department of Agriculture, Agricultural Stabilization and Conservation Service for
..,          each basin wholly or partly within the water system; and 3) mining claim records on federal
•
..••         FINAL UNIFIED DECREE                                                              Page 5
.....
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 121 of 193




        land of the United States Department oflnterior, Bureau of Land Management for each basin

        wholly or partly within the water system.

        8.      The Director has completed an examination of the Snake River Basin water system

        and submitted Director's Reports to this Court in conformance with the requirements of

        chapter 14, title 42, Idaho Code and the orders of this Court.

        9.      As required by title 42, chapter 14, Idaho Code and this Court's orders, claims to

        water rights arising under state or federal law to the use of the surface and ground waters

        from the Snake River Basin water system have been adjudicated resulting in the issuance of

        partial decrees that have been certified as final pursuant to l.R.C.P. 54(b). 2

        10.     Idaho Code § 42-1412(8) (2003) provides that: "Upon resolution of all objections to

        water rights acquired under state law, to water rights established under federal law, and to

        general provisions, and after entry of partial decree(s), the district court shall combine all

        partial decrees and the general provisions into a final decree." The Court finds that the

        conditions of Idaho Code§ 42-1412(8) (2003) have been met with respect to the water rights

        identified in Attachments 2, 4, 5 and 6 and the general provisions in Attachment 3, enabling



   --   the Court to issue this Final Unified Decree.




  --
  --
                                            III. CONCLUSIONS OF LAW

        1.      The SRBA is a general stream adjudication inter se of all water rights arising under



 --     state or federal law to the use of surface and ground waters from the Snake River Basin water



 -      system and for the administration of such rights.




-...
                The State of Idaho is a party to this proceeding.
•       2.

        2
         At the time of entry of this Final Unified Decree there are a total of 103 subcases pending final resolution. A
        separate Order Regarding Subcases Pending Upon Entry of Final Unified Decree is being entered

•       contemporaneously herewith, which provides for the continued processing of the subcases listed therein .

•
•
 -
        FINAL UNIFIED DECREE                                                                                 Page 6
  ...                    Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 122 of 193
  ...
  ...
  ...
  ..,...
                    3.      The Director was withdrawn as a party to this proceeding in 1994. Idaho Code§ 42-




             -...   1401B (2003); State of Idaho, ex rel. Higginson v. United States, 128 Idaho 246, 256-57, 912

                    P.2d 614, 624-25 (1995) .




           --...    4.

                    5.
                            The United States is a party to this proceeding under 43 U.S.C. § 666.

                            This Final Unified Decree is conclusive as to the nature and extent of all rights of the


           ...
          ....
                    United States to the use of the waters of the Snake River Basin water system within the State

                    of Idaho with a priority date before November 19, 1987, including, but not limited to, water



          -......   rights held by the United States in trust for any Indian tribe, except for those water rights

                    expressly exempted by Idaho Code§ 42-1420 (2003) or by order of this Court .



         -.....     6.      The Nez Perce Tribe, the Northwestern Band of the Shoshoni Nation, the Shoshone-

                    Bannock Tribes, and the Shoshone-Paiute Tribes of the Duck Valley Indian Reservation are


         ...        parties to this proceeding .


        -...        7.      The Consent Decree Approving Entry of Partial Final Decrees Determining the



      --•           Rights of the United States as Trustee for the Benefit of the Nez Perce Tribe and the Nez

                    Perce Tribe to the Use of Water in the Snake River Basin within Idaho and Partial Final



     -..            Decrees Determining Minimum Stream Flow Water Rights Held by the Idaho Water




   --               Resources Board with its six attachments dated January 30, 2007 ("Nez Perce Consent




   ---
                    Decree"), is included in Attachment 4 and is hereby incorporated into this Final Unified

                    Decree by reference. The Nez Perce Consent Decree is conclusive as to the nature and




    -
                    extent of all rights of the Nez Perce Tribe to the use of the waters of the Snake River Basin

                    water system within the State ofldaho with a priority date before November 19, 1987, except
•
 ---                for those water rights expressly exempted by Idaho Code § 42-1420 (2003) or by order of

                    this Court.




-..
•

•
                    FINAL UNIFIED DECREE                                                                 Page 7
                 --          Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 123 of 193



                --
               --
                       8.       The Revised Partial Final Consent Decree Determining the Rights of the Shoshone-

                  "'   Bannock Tribes to the Use of Water in the Upper Snake River Basin, dated August 13, 2014



              .-.      ("Shoshone-Bannock Consent Decree"), is included in Attachment 4 and is hereby




            --         incorporated into this Final Unified Decree by reference. The Shoshone-Bannock Consent




            --...
                       Decree is conclusive as to the nature and extent of all rights of the Shoshone-Bannock Tribes

                       to the use of the waters of the Snake River Basin water system within the State of Idaho with




           --
                       a priority date before November 19, 1987, except for those water rights expressly exempted

                       by Idaho Code§ 42-1420 (2003) or by order of this Court.



         --..          9.       The Revised Consent Decree Approving Entry of Partial Decrees Determining the

                       Rights of the United States as Trustee for the benefit of the Shoshone-Paiute Tribes to the




        -.
                       Use of Water in the Snake River Basin within Idaho with its three attachments, dated
            "'         December 12, 2006 ("Shoshone-Paiute Consent Decree"), is included in Attachment 4 and is


       --              hereby incorporated into this Final Unified Decree by reference.          The Shoshone-Paiute



      ...-.            Consent Decree is conclusive as to the nature and extent of all rights of the Shoshone-Paiute

                       Tribes of the Duck Valley Indian Reservation to the use of the waters of the Snake River



     --                Basin water system within the State of Idaho with a priority date before November 19, 1987,




    --                 except for those water rights expressly exempted by Idaho Code § 42-1420 (2003) or by




  ---
                       order of this Court.

                       10.      This Final Unified Decree is conclusive as to the nature and extent of all rights of the




   --
                       Northwestern Band of the Shoshoni Nation to the use of the waters of the Snake River Basin

                       water system within the State of Idaho with a priority date before November 19, 1987, except



 --                    for those water rights expressly exempted by Idaho Code § 42-1420 (2003) or by order of

                       this Court .



--...
•


  -
                       FINAL UNIFIED DECREE                                                                  Page 8
      Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 124 of 193




11.      Claimants in each of the SRBA basins received notice of the commencement of the

SRBA in accordance with chapter 14, title 42, Idaho Code and orders of this Court. These

notice procedures satisfy constitutional due process requirements. LU Ranching Co. v. US.,

138 Idaho 606 (2003).



                                         IV. ORDER

NOW THEREFORE this Court ORDERS, ADJUDGES AND DECREES as follows:

1.       This Final Unified Decree is conclusive as to the nature and extent of all water rights

within the Snake River Basin within the State of Idaho with a priority date prior to

November 19, 1987, except the following described water rights shall not be lost by failure to

file a notice of claim, as provided in Idaho Code§ 42-1420 (2003):

         a.     Any domestic and stock water right, as defined in Idaho Code § 42-111

                (1990), Idaho Code § 42-1401A(5) (1990), and Idaho Code § 42-1401A(l2)

                (1990), the adjudication of which was deferred in accordance with this Court's

                June 28, 2012, Order Governing Procedures in the SRBA for Adjudication of

                Deferred De Minimis Domestic and Stock Water Claims;

         b.     A water right application for permit filed under chapters 2 or 15, title 42,

                Idaho Code;

         c.     A water right permit issued under chapters 2 or 15, title 42, Idaho Code,

                unless the Director required the permit holder to file a notice of claim in

                accordance with subsection (7) of section 42-1409, Idaho Code;

         d.     A water right license issued under chapters 2 or 15, title 42, Idaho Code, if

                proof of beneficial use was not filed with the Department of Water Resources




FINAL UNIFIED DECREE                                                                  Page 9
     Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 125 of 193




                before November 19, 1987, unless the Director required the license holder to

                file a notice of claim in accordance with subsection (7) of section 42-1409,

                Idaho Code; and

         e.     A claim to a water right under federal law, if the priority of the right claimed

                is later than November 18, 1987.

All other water rights with a priority before November 19, 1987, not expressly set forth in

this Final Unified Decree are hereby decreed as disallowed. 3 Any water rights with a priority

date subsequent to November 18, 1987, were not required to be claimed in the SRBA, but to

the extent any such water rights were claimed in the SRBA and a partial decree issued, the

partial decree is conclusive as to the nature and extent of the right.

2.       All partial decrees issued by this Court are set forth in Attachments 2 and 4 to this

Final Unified Decree and are incorporated herein by reference.

3.       Attachment 2 consists of a name index and a copy of all partial decrees issued by this

Court.

4.       General provisions decreed by this Court are set forth in Attachment 3 to this Final

Unified Decree and are incorporated herein by reference.

5.       Attachment 4 consists of the federal and tribal reserved water rights partially decreed

and/or otherwise memorialized in a consent decree issued in conjunction with the approval of

a federal reserved water right settlement, including all consent decrees and all attachments

thereto; all partial decrees issued by this Court as part of the respective settlements; and all

Federal, State and/or Tribal legislation necessary to enact and approve the water right

settlements. In the case of any conflict between this Final Unified Decree and the partial


3
 Excepting those claim numbers listed in the Order Regarding Subcases Pending Upon Entry of Final Unified
Decree entered contemporaneously herewith.


FINAL UNIFIED DECREE                                                                         Page 10
     Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 126 of 193



consent decrees approving reserved water right settlements, the partial consent decrees

approving the reserved water right settlements as set forth in Attachment 4 shall control.

6.      All claims to water rights filed in this proceeding that were decreed disallowed by this

Court are set forth in Attachment 5 to this Final Unified Decree and are incorporated herein

by reference.

7.      The water right numbers for those water rights of record with the Idaho Department

of Water Resources that were required to be claimed but were not claimed in this proceeding

and therefore were decreed disallowed by this Court are set forth in Attachment 6 and are

incorporated herein by reference.     The portion of any disallowed water right that was

deferrable pursuant to this Court's June 28, 2012, Order Governing Procedures in the SRBA

for Adjudication of Deferred De Minimis Domestic and Stock Water Claims is not affected

by this paragraph.

8.      This Final Unified Decree is binding against all persons including any persons that

deferred filing of domestic and/or stock water claims pursuant to this Court's June 28, 2012,

Order Governing Procedures in the SRBA for Adjudication of Deferred De Minimis

Domestic and Stock Water Claims, which is set forth in Attachment 7 to this Final Unified

Decree and is incorporated herein by reference.

9.      The adjudication of deferred domestic and stock water claims and the administration

of such rights prior to their adjudication shall be governed by this Court's June 28, 2012,

Order Governing Procedures in the SRBA for Adjudication of Deferred De Minimis

Domestic and Stock Water Claims and applicable state law.

10.     All water rights based on beneficial uses, licenses, permits, posted notices, and

statutory claims required to be claimed in this proceeding are superseded by this Final




FINAL UNIFIED DECREE                                                                Page 11
   Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 127 of 193



Unified Decree. Provided, however, this Final Unified Decree does not supercede the third-

party beneficiary contractual rights conferred on certain classes of water rights pursuant to

the "Contract to Implement Chapter 259, Sess. Law 1983" as authorized by 1983 Idaho Sess.

Laws 689 and codified as Idaho Code § 61-540 (2002).                 The scope of third-party

beneficiaries and contract rights are defined in this Court's Order on State of Idaho's Motion

for Partial Summary Judgment on Issue No. 2. Subcase No. 00-91013 (Basin-Wide Issue 13)

(July 12, 2011) included as Attachment 9.

11.    All prior water right decrees and general provisions within the Snake River Basin

water system are superseded by this Final Unified Decree except as expressly provided

otherwise by partial decree or general provisions of this Court.

12.    This Final Unified Decree shall not be construed to define, limit or otherwise affect

the apportionment of benefits to lands within an irrigation district pursuant to chapter 7,

title 43, Idaho Code.

13.    This Final Unified Decree shall not be construed to supersede or affect otherwise the

following: 1) any administrative changes to the elements of a water right completed after the

entry of a partial decree but prior to the entry of this Final Unified Decree; or 2) elements of

a water right defined by a license where, in accordance with Idaho Code § 42-1421(3)

(2003 ), a partial decree was issued based on a permit prior to the issuance of the license.

14.    The time period for determining forfeiture of a partial decree based upon state law

shall be measured from the date of issuance of the partial decree by this Court and not from

the date of this Final Unified Decree. State law regarding forfeiture does not apply to partial

decrees based upon federal law.




FINAL UNIFIED DECREE                                                                 Page 12
 ....             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 128 of 193


 •
 .....,
       -
                15.    The decreed water rights shall be administered in the Snake River Basin water system

                in accordance with this Final Unified Decree and applicable federal, state and tribal law,
 ...,..
      -..,..,
                including the administrative provisions set forth in the federal reserved water right settlement

                agreements in Attachment 4 .




     -..
                16.    Nothing in this Final Unified Decree shall be interpreted or construed as exempting


..,             the holder of a decreed water right based on state law from exercising or changing such right

                in compliance with applicable Idaho law .



     -"         17.    This Court retains jurisdiction of this proceeding to: a) resolve any issues related to


•
    --
                the Final Unified Decree that are not reviewable under the Idaho Administrative Procedures

                Act and/or the rules of the Idaho Department of Water Resources; b) adjudicate any domestic


     --         or stock water rights deferred under this Court's June 28, 2012, Order Governing Procedures



    --          in the SRBA for Adjudication of Deferred De Minimis Domestic and Stock Water Claims;




  -.-.          and c) enter partial decrees, orders of disallowance, or other final determination for the

                pending subcases listed in the Order Regarding Subcases Pending Upon Entry of Final




 --             Unified Decree entered contemporaneously herewith. Any order amending or modifying this




--
                Final Unified Decree, including the attachments hereto, will be entered on the register of

                action for Civil Case No. 39576 in the District Court of the Fifth Judicial District of the State




  -
                of Idaho, in and for the County of Twin Falls, and will be filed with the Idaho Department of
•
                Water Resources in lieu of issuing an Amended Final Unified Decree.               Attachment 8
•
..
•               contains instructions on how to access any orders amending this Final Unified Decree .



-
..,
..,
                18.    The incorporation by reference of partial decrees and orders of this Court contained in

                the Attachments to this Final Unified Decree does not constitute a reissuance of such partial



-
•
•
                decrees and orders.




-
•               FINAL UNIFIED DECREE                                                                 Page 13
 "'"'            Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 129 of 193



         --   19.    This Final Unified Decree, including the entirety of Attachments 1 through 10 listed


        --
         "'   below, shall be entered in the records of the clerk of the District Court for the Fifth Judicial




       --
              District of the State ofldaho, in and for the County of Twin Falls.
 "'                  Attachment 1                   Snake River Basin Water System Map.



 ..,   -             Attachment 2                   Partially Decreed Water Rights, including a name
                                                    index, consisting of 770 pages .


     --"'            Attachment 3

                     Attachment 4
                                                    General Provisions, consisting of 113 pages.




     --
                                                    Federal and Tribal Reserved Water Right Settlements,
                                                    including all Consent Decrees and all Attachments
                                                    thereto, all Partial Decrees issued by this Court as part



    --
                                                    of the Respective Settlements, and all Federal, State
                                                    and/or Tribal Legislation Necessary to Enact and
                                                    Approve the Water Right Settlements consisting of


   --                                               2,857 pages.




   --
                     Attachment 5                   List of Water Right Numbers for Filed Water Right
                                                    Claims Decreed as Disallowed consisting of 66 pages.




   --                Attachment 6                   List of Water Right Numbers for Unclaimed Water
                                                    Rights Decreed as Disallowed consisting of 24 pages.



  --                 Attachment 7                   June 28, 2012, Order Governing Procedures in the
                                                    SRBA for Adjudication of Deferred De Minimis



 -.,•
                                                    Domestic and Stock Water Claims consisting of 6
                                                    pages.

                     Attachment 8                   Instructions on Searching the Final Unified Decree



 -
                                                    consisting of 5 pages .

.,                   Attachment 9                   Order on State of Idaho's Motion for Partial Summary
                                                    Judgment on Issue No. 2. Subcase No. 00-91013
.,                                                  (Basin-Wide Issue 13) (July 12, 2011) .
.,
.,                                                  Register of Actions, Twin Falls County Case No. 39576


 -
                     Attachment 10
                                                    (i.e., SRBA Main Case).

.,
--
              20 .   A certified paper and electronic copy of the entire Final Unified Decree shall be

              provided to the Director. The Director shall record the Final Unified Decree excluding all




              FINAL UNIFIED DECREE                                                                 Page 14
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 130 of 193




          Attachments other than Attachments 7 and 8 in the office of the county recorder of each

          county in which the place of use or point of diversion of any individual decreed water right in

          the Final Unified Decree is located. The Director shall maintain a copy of the Final Unified

          Decree for public inspection.

          DATED this 25th day of August, 2014.



                                                                        ~/1_,tr:_   \   i   !Jdl~
                                                                      ERIC J. WI
                                                                      Presiding udge
                                                                      Snake River Basin Adjudication




   -.-.
 -.-.
 ..
...-.     FINAL UNIFIED DECREE                                                               Page 15
       Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 131 of 193




:          ATTACHMENT 1
      SNAKE RIVER BASIN WATER
      SYSTEM MAP consisting of 1 page .




•
•
•
 --
•
•
--
•

•
 -
           Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 132 of 193




               ATTACHMENT 2
      PARTIALLY DECREED WATER
      RIGHTS, INCLUDING A NAME
      INDEX AND A WATER RIGHT
      NUMBER INDEX
      (water right number index in electronic
      copy only).

                               TABLE OF CONTENTS

      1.      NAME INDEX                                    Pages 1 to 770
      2.      WATER RIGHT NO. INDEX (electronic copy only)

      3.      PARTIAL DECREES                          Beginning Page 771

•
•
•
.,•
.,
-
.,
•
•
             Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 133 of 193




                    ATTACHMENT 3
"'      -       GENERAL PROVISIONS
•
      -.-.      consisting of 113 pages.

        .
     --
   -.-.
   ..
•
  -..
•
  -
--..
•

•
-
-
•

-
•
•
..
•
.....
          --     Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 134 of 193



       --...,.
                        ATTACHMENT 4
 •
      --
 •
     --             FEDERAL AND TRIBAL

   --•              RESERVED WATER RIGHT
                    SETTLEMENTS, INCLUDING
                    ALL CONSENT DECREES AND
•
  --                ALL ATTACHMENTS THERETO,
•-.                 ALL PARTIAL DECREES
                    ISSUED BY THIS COURT AS
--
.,
                    PART OF THE RESPECTIVE

- .•.               SETTLEMENTS, AND ALL
                    FEDERAL, STATE AND/OR
  •                 TRIBAL LEGISLATION
  ..•               NECESSARY TO ENACT AND
-.-.                APPROVE THE WATER RIGHT
                    SETTLEMENTS CONSISTING OF
....•               2,857 PAGES .
....
--
-
-
•
    .
  ..-
                 Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 135 of 193




  .,
  ..•                          TABLE OF CONTENTS FOR ATTACHMENT 4



 ..           Revised Partial Final Consent Decree Determining the Rights of the
              Shoshone-Bannock Tribes to the Use of Water in the Upper Snake
                                                                                      Page




         --
              River Basin, dated August 13, 2014.                                        1

              The 1990 Fort Hall Indian Water Rights Agreement by and between



 .,     -.    the Shoshone Bannock Tribes of the Fort Hall Indian Reservation,
              the State of Idaho, the United States, and Certain Idaho Water Users,
              dated July 5, 1990.                                                      211




       .-
              Public Law 101-602, 104 Stat. 3059 (November 16, 1990) .                 288

          ,
       ....   Chapter 228, 1991 Idaho Sess. L. 547.

              H C.R. No. 16, 1985 Idaho Sess. L. 745.
                                                                                       293

                                                                                       294



 •    -.      Resolutions of the Business Council of the Shoshone-Bannock
              Tribes, dated June 15, 1990; July 5, 1990; and June 14, 1991.            295




.,
     --       Revised Consent Decree Approving Entry of Partial Decrees
              Determining the Rights of the United States as Trustee for the
              Benefit of the Shoshone-Paiute Tribes to the Use of Water in the
              Snake River Basin within Idaho, dated December 12, 2006.                 300



    .-.       Consent Decree Approving Entry of Partial Final Decrees



  -.-,
              Determining the Rights of the United States as Trustee for the
              Benefit of the Nez Perce Tribe and the Nez Perce Tribe to the Use
              of Water in the Snake River Basin within Idaho and Partial Final
              Decrees Determining Minimum Stream Flow Water Rights



 --
              Held by the Idaho Water Resources Board, dated January 30, 2007.         669

              Snake River Water Rights Act o/2004, Pub. L. 108-447, Division J,
              Title X(December 8, 2004).                                              2523
.,            Chapter 148, 2005 Idaho Sess. L. 461.                                   2534


 -
 •
.,•
              Chapter 149, 2005 Idaho Sess. L. 462-465.                               2535



..            Chapter 150, 2005 Idaho Sess. L. 465-466.                               2539




--            Nez Perce Tribal Resolution No. 05-210 (March 29, 2005).                2541




..
•
-.
         Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 136 of 193




      Water Rights Agreement Between the State of Idaho and the
      United States for the Craters of the Moon National Monument
      (May 13, 1992); Orders of Partial Decree entered Dec. 1, 1998
      (Subcase Nos. 34-12383, 34-12384, 34-12385, 34-12386,
      34-12387, 34-12388, and 34-12389).                                   2545

      Water Rights Agreement Between the State of Idaho and the United
      States for the United States Department of Energy (July 20, 1990);
      Order of Partial Decree entered nunc pro tune June 20, 2003
      (Subcase No. 34-10901).                                              2600

      Order Approving Stipulation and Entry of Basin 79 Partial Decrees
      (Subcase No. 79-13597, Hells Canyon National Recreation Area
      Act Claims, Nov. 16, 2004).                                          2643

      Order Approving Entry of Basin 78 Partial Decrees, dated May 2,
      2005 (Consolidated Subcase No. 79-13597 Hells Canyon National
      Recreation Area Act Claims (Encompassing Subcases 79-14054
      through 79-14079 and Subcases 78-12200 through 78-12205).            2753

      Amended Order Approving Stipulation and Entry of Partial Decrees
      (Consolidated Subcase No. 75-13316 (Wild & Scenic Rivers Act
      Claims, Nov. 17, 2004).                                              2781

      Order of Partial Decree on Uncontested Federal Water Right Claims,
      dated February 28, 2012 (Water Rights Agreement Between the State
      ofldaho and the United States for Yellowstone National Park).        2822




•-
•
 -
-..
•
•
-
               -..,      Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 137 of 193



             --.
             ...                    ATTACHMENT 5
             -..,
            --
            --                   LIST OF WATER RIGHT
           --                    NUMBERS FOR FILED WATER
         -..                     RIGHT CLAIMS DECREED AS
                                 DISALLOWED consisting of
         --                      66 pages.
        --
        --                   The disallowed water right numbers listed in Attachment 5 fall into two categories:




 .,
 ..,
       --             (1) water right numbers where the actual claimed use of water was adjudicated to be
                      disallowed; and (2) water right numbers where the water right was split subsequent to the
                      filing of the director's report, with the claimed use of water being decreed under the water
                      right numbers for the "children" rights, and the number for the "parent" right having been

 ..,                  decreed disallowed for purposes of closing the subcase number in the court's register of


      --              action. Please consult the Idaho Department of Water Resources for further inquiry



    ---
                      regarding any of the disallowed water right numbers listed in Attachment 5.




  ---
-.-..
-
•
           ---   Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 138 of 193




          --
  "'      .              ATTACHMENT 6
 •         "'
         --
          "'           LIST OF WATER RIGHT
       ---             NUMBERS FOR UNCLAIMED

     --•               WATER RIGHTS DECREED AS
                       DISALLOWED consisting of
   --...               24 pages.

•  -
•
  --
•
•-.
 ..
...-.
...•
..
-
  •
                --   Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 139 of 193




              --•            ATTACHMENT 7
             -•
  ....
             -...
            --             June 28, 2012, Order Governing

           --              Procedures in the SRBA for

         --                Adjudication ofDeferred De
                           Minimis Domestic and Stock
         --...             Water Claims consisting of

        --                 6 pages .

       --
     --"'
    -...
  --...
 -....
--
                 -•    Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 140 of 193



               --
               ---             ATTACHMENT 8
              .-....
           --                INSTRUCTIONS ON
            ---              SEARCHING THE FINAL
                             UNIFIED DECREE consisting of
         ..-.
           •
                             5 pages.

        --
       •-
      --
    -•-
    ..
  --
  --..
  --
 --
 ..
.,

--
   -
  "'                Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 141 of 193

 "
 ..
 "
            -"'-.       ATTACHMENT 9
          ---
         .-          Order on State ofIdaho's Motion for
       ---           Partial Summary Judgment on Issue

     --..,           No. 2. Subcase No. 00-91013 (Basin-
                     Wide Issue 13) (July 12, 2011)

      --
       "'
    --
    -"'
  --"'
 --
--
"'

-
•
..
-•
w
           Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 142 of 193




:            ATTACHMENT 10
"'
     -"'
   -••"    Register ofActions, Twin Falls Case

 -•"'      No. 39576 (i.e., SRBA Main Case)


 --"'
-..,
..,

"'"'
  ..
--..,
..•
 .
 -...
.-.
.-.
---
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 143 of 193




         EXHIBIT C
                              to
        First Amended Complaint for
      Declaratory and Injunctive Relief
       (Case No. 1:22-cv-00236-DKG)


Copy of 2017 Idaho Senate Bill No. 1111
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 144 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 145 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 146 of 193




        EXHIBIT D
                              to
        First Amended Complaint for
      Declaratory and Injunctive Relief
       (Case No. 1:22-cv-00236-DKG)


 Copy of 2022 Idaho House Bill No. 608
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 147 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 148 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 149 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 150 of 193




         EXHIBIT E
                              to
        First Amended Complaint for
      Declaratory and Injunctive Relief
       (Case No. 1:22-cv-00236-DKG)


 Copy of 2018 Idaho House Bill No. 718
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 151 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 152 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 153 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 154 of 193




         EXHIBIT F
                              to
        First Amended Complaint for
      Declaratory and Injunctive Relief
       (Case No. 1:22-cv-00236-DKG)


Copy of 2018 Idaho Senate Bill No. 1305
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 155 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 156 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 157 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 158 of 193




        EXHIBIT G
                              to
        First Amended Complaint for
      Declaratory and Injunctive Relief
       (Case No. 1:22-cv-00236-DKG)


 Copy of 2020 Idaho House Bill No. 592
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 159 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 160 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 161 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 162 of 193




        EXHIBIT H
                              to
        First Amended Complaint for
      Declaratory and Injunctive Relief
       (Case No. 1:22-cv-00236-DKG)


   Copies of SRBA Partial Decrees for
  Federal Law-Based Stockwater Rights
      (“Federal Reserved Rights”)
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 163 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 164 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 165 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 166 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 167 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 168 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 169 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 170 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 171 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 172 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 173 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 174 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 175 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 176 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 177 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 178 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 179 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 180 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 181 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 182 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 183 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 184 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 185 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 186 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 187 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 188 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 189 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 190 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 191 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 192 of 193
Case 1:22-cv-00236-DCN Document 13 Filed 07/29/22 Page 193 of 193
